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  EXHIBIT 61
   Plaintiff’s
  Responses to
  Second Set of
  Requests for
   Admissions
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                       UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DIRSTRICT OF PENNSYLVANIA

                                              :
LISA BARBOUNIS                                :       CIVIL ACTION
                       Plaintiff,             :       NO. 2:19-cv-05030-JDW
-vs-                                          :
                                              :
THE MIDDLE EAST FORUM, et al.                 :
                                              :
                       Defendants.            :


                 PLAINTIFF LISA BARBOUNIS’S RESPONSES
         TO DEFENDANTS’ SECOND SET TO REQUESTS FOR ADMISSIONS


1.      REQUEST FOR ADMISSION NO. 1: Admit that you left your hotel in Washington, DC
to attend dinner at Cuba Libre Restaurant in Washington, DC with Gregg Roman and Matthew
Bennett on March 4, 2018.

RESPONSE:

It is admitted that Plaintiff, Lisa Barbounis was in Washington D.C. for the AIPAC Conference
in March 2018. It is admitted that Plaintiff, Lisa Barbounis was required to attend AIPAC
Conference events as part of her job responsibilities for MEF. One of these events was an MEF
sponsored dinner at the Cuba Libre Restaurant in Washington D.C. There were between thirty
(30) to fifty (50) people in attendance including donors to the MEF sponsored event and Plaintiff
was one of these individuals. Plaintiff was required to attend and worked that evening
entertaining and greeting donors. Plaintiff was tasked with giving donors one-on-one time.
There were about six tables booked for the event and Plaintiff sat at one of these tables. Plaintiff
did not sit with Greg Roman or Matthew Bennett.

2.     REQUEST FOR ADMISSION NO. 2: Admit that you drank alcoholic beverages at Cuba
Libre Restaurant in Washington, DC with Gregg Roman and Matthew Bennett on March 4,
2018.

RESPONSE:

Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
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Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants Requests seeks only to
embarrass, harass, and intimidate. Moreover, Defendants’ Request is not confined to the scope
of Rule 26(b)(1).


The MEF sponsored dinner was held at a restaurant that served alcohol. Plaintiff had a drink
with dinner. The entire event was paid for by The Middle East Forum.



3.      REQUEST FOR ADMISSION NO. 3: Admit that at some point after dinner you went to
the hotel bar at the Henley Park Hotel in Washington, DC with Gregg Roman and Matthew
Bennett on March 4, 2018.

RESPONSE:


Admitted in part. It is admitted that after the MEF sponsored dinner during the AIPAC
Conference, Plaintiff, Lisa Barbounis attended an AIPAC event at the Henley Park Hotel. There
was hundreds of attendees present and Plaintiff was required to attend the event as part of her job
responsibilities for MEF. Matthew Bennett and Greg Roman also attended the event.


4.      REQUEST FOR ADMISSION NO. 4: Admit that you drank alcoholic beverages at the
hotel bar at the Henley Park Hotel in Washington, DC with Gregg Roman and Matthew Bennett
on March 4, 2018.

RESPONSE:

Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants Requests seeks only to
embarrass, harass, and intimidate. Moreover, Defendants’ Request is not confined to the scope
of Rule 26(b)(1).


It is admitted that alcohol was served at the AIPAC event at the Henley Park Hotel. Plaintiff
may have had one drink if any.
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5.      REQUEST FOR ADMISSION NO. 5: Admit that sometime between 12am and 1am,
after the Henley Park Hotel, you went to Penn Social bar in Washington, DC with Gregg Roman
and Matthew Bennett on March 5, 2018.

RESPONSE:

It is admitted that Plaintiff attended two AIPAC events after the MEF sponsored dinner as part of
her job responsibilities for MEF. Plaintiff was required to attend these events as part of her job
responsibilities for MEF. There were over a hundred people at the second event. It is admitted
that Plaintiff, Lisa Barbounis may have had a drink at the second event. Alcohol was served at
the event. Plaintiff Lisa Barbounis was working during the event talking with grantees and
fellows.


6.     REQUEST FOR ADMISSION NO. 6: Admit that you drank alcoholic beverages at Penn
Social bar in Washington, DC with Gregg Roman and Matthew Bennett on March 5, 2018

RESPONSE:

Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants Requests seeks only to
embarrass, harass, and intimidate. Moreover, Defendants’ Request is not confined to the scope
of Rule 26(b)(1).


See Plaintiff’s Response to Request for Admission Number 5, above. Plaintiff attended the event
as part of her job responsibilities for MEF. Plaintiff does not recall having drinks with Matthew
Bennett and Greg Roman, however, the MEF staff attended the event and alcohol was served.
Plaintiff did not spend time with Greg Roman and Matthew Bennett at the second event as
Plaintiff spoke with an MEF fellow she was introduced to that evening.
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7.     REQUEST FOR ADMISSION NO. 7: Admit that at some point after Penn Social bar
you went to the back to the AirBNB in Washington, DC with Gregg Roman and Matthew
Bennett on March 5, 2018.

RESPONSE:

It is admitted that Plaintiff, Lisa Barbounis, Patricia McNulty , Marnie Meyer, three guests from
Pinskey, Raheem Kasam, and another individual were ordered back to an AirBnB by Director of
the Middle East Forum, Greg Roman. Plaintiff, Lisa Barbounis informed Defendant, Greg
Roman that Plaintiff, Lisa Barbounis was going to go back to her hotel room. Defendant, Greg
Roman aggressively ordered Plaintiff, Lisa Barbounis to get in an Uber which was driven to
Defendant, Greg Roman’s Airbnb. It was at this Airbnb that Director of the Middle East Forum,
Defendant, Greg Roman sexually assaulted Plaintiff’s coworker, Patricia McNulty. Plaintiff,
Lisa Barbounis was seated on the sofa next to Defendant, Greg Roman when he put his hands
underneath Patricia McNulty and dragged her onto his lap and began whispering in her ear.
Defendant, Greg Roman also put his hands on Plaintiff, Lisa Barbounis, which was an
unwelcome and inappropriate touching of Plaintiff, Lisa Barbounis.


8.    REQUEST FOR ADMISSION NO. 8: Admit that you drank alcoholic beverages at the
same AirBNB in Washington, DC with Gregg Roman and Matthew Bennett on March 5, 2018.

RESPONSE:

Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants Requests seeks only to
embarrass, harass, and intimidate. Moreover, Defendants’ Request is not confined to the scope
of Rule 26(b)(1).


Denied. Defendant, Greg Roman tried to get everyone present to smoke illegal drugs, to wit,
marijuana while at the Airbnb. Defendant, Greg Roman pulled out a box filled with different
types of an illicit, illegal drug and offered it to Plaintiff, Lisa Barbounis and others. Plaintiff Lisa
Barbounis declined and did not drink either.
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9.   REQUEST FOR ADMISSION NO. 9: Admit that Marnie Meyer was at the same
AirBNB in Washington, DC with Gregg Roman and Matthew Bennett on March 5, 2018.

RESPONSE:

See Plaintiff’s Response to Request for Admissions Number 7, above.



10.   REQUEST FOR ADMISSION NO. 10: Admit that you slept at the same AirBNB in
Washington, DC that Gregg Roman and Matthew Bennett slept at on March 5, 2018.

RESPONSE:

Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants Requests seeks only to
embarrass, harass, and intimidate. Moreover, Defendants’ Request is not confined to the scope
of Rule 26(b)(1).


It is admitted that Plaintiff, Lisa Barbounis fell asleep on the couch at the Airbnb.


11.   REQUEST FOR ADMISSION NO. 11: Admit that while you were employed by The
Forum you made inappropriate sexual comments regarding Gregg Roman while you were
working on the job.

RESPONSE:

Denied.


12.  REQUEST FOR ADMISSION NO. 12: Admit that on March 8, 2019, you asked Gregg
Roman, to return to work with you directly as Director of The Forum.

RESPONSE:

Plaintiff, Lisa Barbounis does not understand the Request for Admission presented. Specifically,
Plaintiff, Lisa Barbounis does not understand what is meant by the phrase: “directly as Director
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of The Forum.” Accordingly this Request is denied as stated. It is admitted that Plaintiff, Lisa
Barbounis spoke to Daniel Pipes about Defendant Greg Roman’s return to work at Director of
The Middle East Forum. Plaintiff, Lisa Barbounis expressed reservations about Defendant, Greg
Roman’s return and Daniel Pipes agreed to allow Defendant, Greg Roman to return with strict
safeguards for the safety of the female staff. Unfortunately, Daniel Pipes did not adhere to the
agreed to safeguards and Defendant, Greg Roman continued his campaign of retaliation post
return.



13.   REQUEST FOR ADMISSION NO. 13: Admit that you did not have a contract to be
employed with The Forum for any length of time.


RESPONSE:

Defendant seeks Plaintiff to admit to a legal conclusion that Plaintiff, Lisa Barbounis was an at-
will employee. Plaintiff objects to a Request for Admission that seeks a pure legal conclusion.


14.   REQUEST FOR ADMISSION NO. 14: Admit that you were employed as an at-will
employee with The Forum.

RESPONSE:

Defendant seeks Plaintiff to admit to a legal conclusion that Plaintiff, Lisa Barbounis was an at-
will employee. Plaintiff objects to a Request for Admission that seeks a pure legal conclusion.


15.    REQUEST FOR ADMISSION NO. 15: Admit that The Forum did not fire you.

RESPONSE:

Denied. Plaintiff’s unlawful discharge from The Middle East Forum was not voluntary.
Plaintiff was constructively discharged from her employment because the work conditions were
so abusive, onerous, and hostile that no reasonable person in Plaintiff’s position would have been
expected to continue working such that Plaintiff’s resignation was void of free will.



16.    REQUEST FOR ADMISSION NO. 16: Admit that you voluntarily resigned from The
Forum.

RESPONSE:

See Plaintiff’s Response to Request for Admissions Number 15, above.
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17.     REQUEST FOR ADMISSION NO. 17: Admit that one reason you resigned from The
Forum was your political activity, which caused The Forum to place limits on your public
participation in overseas electoral activity.

RESPONSE:

Denied. Plaintiff was constructively discharged from The Middle East Forum. See Plaintiff’s
Response to Request for Admissions Number 15, above.




18.   REQUEST FOR ADMISSION NO. 18: Admit that prior to the time you left The Forum,
Defendant spoke with you several times about your unsanctioned political activity in the United
Kingdom.

RESPONSE:

Admitted in part. It is admitted that Plaintiff, Lisa Barbounis requested permission from The
Middle East Forum to work with in individual named Tommy Robinson. Daniel Pipes and
Defendant, Greg Roman both approved Plaintiff’s request. Plaintiff, Lisa Barbounis was
introduced to Tommy Robinson as part of Plaintiff’s job responsibilities for The Middle East
Forum. It is admitted that The Middle East Forum had no problem with Plaintiff, Lisa
Barbounis’s work with Tommy Robinson until after Plaintiff, Lisa Barbounis reported
Defendant, Greg Roman’s sexual assault and severe and pervasive discrimination and
harassment in the workplace. One of the times when Plaintiff reported Defendant, Greg
Roman’s sexual harassment was in November 2018.


19.     REQUEST FOR ADMISSION NO. 19: Admit that The Forum asked you not to
participate in political campaigns because of the threat to The Forum’s non-profit status.

RESPONSE:

It is admitted that Defendant, The Middle East Forum and specifically Daniel Pipes admonished
Plaintiff’s public exposure in working with Tommy Robinson. Notwithstanding, Defendants
provided approval for Plaintiff to work with Tommy Robinson as long as Plaintiff did it on her
own time. Daniel Pipe’s admonishment came after Plaintiff reported Defendant, Greg Roman’s
sexual assault and discrimination and harassment in the workplace. Daniel Pipes made
inappropriate comments to Plaintiff, Lisa Barbounis about her appearance.
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20.     REQUEST FOR ADMISSION NO. 20: Admit that participating in political activity can
threaten The Form’s status as a 501(c)(3) entity.

RESPONSE:

Objection. Defendants Request seeks a pure legal conclusion.



21.   REQUEST FOR ADMISSION NO. 21: Admit that prior to the time you left The Forum,
you were looking for apartments in Washington DC.

RESPONSE:

Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants Requests seeks only to
embarrass, harass, and intimidate. Moreover, Defendants’ Request is not confined to the scope
of Rule 26(b)(1).


Plaintiff does not recall whether she began looking for an apartment in Washington D.C., before
she left The Middle East Forum. Plaintiff had a job in Washington D.C., and had to find a place
to stay while Plaintiff was in Washington D.C., doing her job. Plaintiff began looking for an
apartment sometime around the time when Plaintiff was constructively discharged from her
employment.



22.     REQUEST FOR ADMISSION NO. 22: Admit that you searched for new employment
prior to filing your Complaint against Defendants.


RESPONSE:

Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
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entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants Requests seeks only to
embarrass, harass, and intimidate. Moreover, Defendants’ Request is not confined to the scope
of Rule 26(b)(1).

The Complaint speaks for itself and was filed in October 2019. At the time Plaintiff filed her
Complaint, Plaintiff was working in Washington D.C. for Congressman Weber.



23.    REQUEST FOR ADMISSION NO. 23: Admit that you shared and/or provided
information about your Complaint with your current employer.

RESPONSE:

Denied as stated. Plaintiff did not mention her complaint until Defendants served Plaintiff at her
place of business in front of Plaintiff’s coworkers and supervisors. Plaintiff shared as little
information as possible in order to explain the interruption from work. Importantly, Defendants
had already effected service when Defendants chose to serve Plaintiff a second time in
Washington D.C., at Plaintiff’s place of business.


24.    REQUEST FOR ADMISSION NO. 24: Admit that you have never been a confidential
informant or paid by the FBI.

RESPONSE:

Objection. Plaintiff is not going to respond to Requests that are designed to embarrass and
harass.


25.     REQUEST FOR ADMISSION NO. 25: Admit that you do not believe it is inappropriate
to date married men.

RESPONSE:

Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
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Requests for Admissions. By way of further answer, Defendants Requests seeks only to
embarrass, harass, and intimidate. Moreover, Defendants’ Request is not confined to the scope
of Rule 26(b)(1).



26.    REQUEST FOR ADMISSION NO. 26: Admit that you have dated at least one married
man in the last five (5) years.

RESPONSE:

Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants Requests seeks only to
embarrass, harass, and intimidate. Moreover, Defendants’ Request is not confined to the scope
of Rule 26(b)(1).


27.     REQUEST FOR ADMISSION NO. 27: Admit that you were involved in an extramarital
affair between 2018-2019.

RESPONSE:

Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants Requests seeks only to
embarrass, harass, and intimidate. Moreover, Defendants’ Request is not confined to the scope
of Rule 26(b)(1).
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28.    REQUEST FOR ADMISSION NO. 28: Admit that you shared information about your
extramarital affair with other employees and/or contractors of The Forum.

RESPONSE:

Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants Requests seeks only to
embarrass, harass, and intimidate. Moreover, Defendants’ Request is not confined to the scope
of Rule 26(b)(1).


29.    REQUEST FOR ADMISSION NO. 29: Admit that you sustained a contusion around
your eye while engaged in an extramarital encounter in Europe.

RESPONSE:

Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants Requests seeks only to
embarrass, harass, and intimidate. Moreover, Defendants’ Request is not confined to the scope
of Rule 26(b)(1).
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30.     REQUEST FOR ADMISSION NO. 30: Admit that you were involved in an extramarital
affair with Daniel Thomas, also known as Danny Tommo.

RESPONSE:

Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants Requests seeks only to
embarrass, harass, and intimidate. Moreover, Defendants’ Request is not confined to the scope
of Rule 26(b)(1).



31.   REQUEST FOR ADMISSION NO. 31: Admit that you oversaw a $25,000 grant from
The Forum’s philanthropic fund to Daniel Thomas, and requested additional funds for him.

RESPONSE:


Denied as stated. Plaintiff oversaw a project where The Middle East Forum provided a grant to
Daniel Thomas for an ideological demonstration to free an individual with whom the Forum
wanted to help named Tommy Robinson. This was the first time that Plaintiff had occasion to
know about Tommy Robinson. Plaintiff was put in charge of this assignment and reported to
Defendant, Greg Roman about Plaintiff’s progress. Defendant, Greg Roman actually oversaw
the project as Plaintiff reported to Defendant, Greg Roman. Plaintiff made no decisions without
Defendant, Greg Roman’s approval and any recommendation that Plaintiff made was in the
interest of objectives provided to Plaintiff by Defendant, Greg Roman and The Middle East
Forum. Plaintiff believes that The Middle East Forum ended up making a grant of $32,000.00.
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32.  REQUEST FOR ADMISSION NO. 32: Admit that you served as Director of
Communications for Tommy Robinson.

RESPONSE:

Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants Requests seeks only to
embarrass, harass, and intimidate. Moreover, Defendants’ Request is not confined to the scope
of Rule 26(b)(1).


Admitted in part. Plaintiff was asked to volunteer and help Tommy Robinson and held herself
out as his Director of Communications. Plaintiff sought and received approval from Daniel
Pipes and Defendant, Greg Roman prior to working with Tommy Robinson. Defendants
provided their approval on the condition that Plaintiff work with Tommy Robinson on her own
time.



33.     REQUEST FOR ADMISSION NO. 33: Admit that you used The Forum’s resources that
you had access to as Director of Communications to assist Tommy Robinson’s May 2019
election campaign to be a Member of European Parliament.

RESPONSE:

Denied.


34.   REQUEST FOR ADMISSION NO. 34: Admit that you discussed with others the money
you were going to make from this lawsuit.

RESPONSE:

Denied.
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35.     REQUEST FOR ADMISSION NO. 35: Admit that you discussed with others that you
did not have much of a case but you knew The Forum always settles lawsuits.

RESPONSE:


Denied.


36.   REQUEST FOR ADMISSION NO. 36: Admit that you are not seeking to recover future
medical expenses in this lawsuit.

RESPONSE:


Denied.


37.     REQUEST FOR ADMISSION NO. 37: Admit that you have received payment from a
health insurance carrier for all of the past medical expenses for which you seek recovery in this
lawsuit.


RESPONSE:

Denied.


38.     REQUEST FOR ADMISSION NO. 38: Admit that you are not pleading a cause of action
for intentional infliction of mental distress in this lawsuit.

RESPONSE:

Objection. The Complaint speaks for itself. Moreover this Request seeks a legal conclusion.


39.     REQUEST FOR ADMISSION NO. 39: Admit that you are not pleading a cause of action
for libel in this lawsuit.

RESPONSE:


Objection. The Complaint speaks for itself. Moreover this Request seeks a legal conclusion.
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40.     REQUEST FOR ADMISSION NO. 40: Admit that you are not pleading a cause of action
for defamation in this lawsuit.


RESPONSE:

Objection. The Complaint speaks for itself. Moreover this Request seeks a legal conclusion.




41.     REQUEST FOR ADMISSION NO. 41: Admit that you are not pleading a cause of action
for slander in this lawsuit.

RESPONSE:

Objection. The Complaint speaks for itself. Moreover this Request seeks a legal conclusion.




                                                   DEREK SMITH LAW GROUP, PLLC



                                                By:______/s/ Seth D. Carson___________
                                                         SETH D. CARSON
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                                                         Attorneys for Plaintiff
                                                         Lisa Barbounis




DATED: April 7, 2020
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                               CERTIFICATE OF SERVICE


       I hereby certify that on this date that I caused a true and correct copy of Plaintiff’s

Responses to Defendants’ Requests for Admissions t o be served via email to:

                                 David J. Walton (PA # 86019)
                                 Leigh Ann Benson (PA #319406)
                                 Cozen O'Connor
                                 1650 Market Street, Suite 2800
                                 Philadelphia, PA 19103
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                                 lbenson@cozen.com


                                           DEREK SMITH LAW GROUP, PLLC


                                           BY:__/s/_Seth D. Carson_____________
                                                 SETH D. CARSON




DATED: April 7, 2020
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 EXHIBIT 62
   Message
  Confirming
Promotion of P.
   McNulty
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Re: Bennett speaking for MEF March 24
Tricia McNulty <McNulty@meforum.org>
Tue 3/5/2019 3:18 PM
To: EJ Kimball <Kimball@meforum.org>; Lisa Barbounis <Barbounis@meforum.org>
EJ,

I will be away from March 17-24 and our Development team is now down to two (just me and
Caitriona) so please be aware that you and others are really going to need to pick up a lot of
responsibility to make this happen. We are heavy into Gala planning and I am now taking over as
acting director of development in Matt's absence. We are stretched beyond thin.

I will start looking into a venue space. Please be as detailed as possible with what you are looking to
have. Is this theatre style? Two podiums at the front with microphones, or will they be seated? Note
that chairs like what we had at Qatar were rented furniture brought in and costly.

You want just a cheese board displayed for 100 people for the food? Wine passed or a stationary bar
serving just wine?

I will need a topic title and blurb drafted for what Bennett will be talking about that evening and a
better outline of what the evening will look like in order to draft an invitation.

Tricia McNulty
Program Manager
Middle East Forum
Phone: (215) 546-5406 ext. 110
Email:McNulty@MEForum.org
Fax: (215) 546-5409
www.MEForum.org

The Middle East Forum is a publicly supported, 501(c)3 nonprofit organization, working
to promote American interests and protect Western values. Your support helps us further our
mission of educating Americans about the Middle East and influencing U.S. policy towards that
region.


From: EJ Kimball
Sent: Tuesday, March 5, 2019 2:48 PM
To: Tricia McNulty; Lisa Barbounis
Subject: Bennett speaking for MEF March 24

Hi, Gregg conﬁrmed to me that Naftali Bennett will speak for 30 minutes at a MEF event
around the AIPAC conference.
Gregg is going over some details with Bennett's people in Israel but the basic idea is as
follows:

Event from 6-730pm, Bennett will speak for 30 minutes in a format that we can decide
(perhaps a guided discussion w/ DP?). I will invite Members of the CIVC, if they are in town,
to speak as well before Bennett.
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We will serve wine and cheese and aim for about 100 people. Filling space should be no
problem with the # of VIPs in town for the conference.

We will need to secure a venue that is near the Convention Center. I'm not familiar with the
venues nearby. Tricia, do you have the bandwidth to look into it? I'm thinking of a conference
room in a hotel or something that can accommodate seating for 100 people.

I'm not sure the full budget for this, and I'm sure the venue will drive that discussion. Lisa, are
you familiar with any places near the Convention Center?

EJ Kimball
Director, Israel Victory Project
Middle East Forum
202-821-6091
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 EXHIBIT 63
Email to Plaintiff
 from M. Fink
           Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 22 of 446

Meeting Summary; Moving Forward
Marc Fink <fink@meforum.org>
Sun 3/10/2019 1:58 PM
To: Lisa Barbounis <Barbounis@meforum.org>
Cc: Daniel Pipes <pipes@meforum.org>
Hi Lisa,

Thank you for attending the meeting Saturday, and expressing your opinions on how best to move
forward as an organization.

Would you please send me by COB Monday: (i) a summary of the understandings you feel we reached
during the meeting; (ii) your proposal for when, and under what circumstances, Gregg would
access/use the office moving forward; (iii) your proposal for when, and under what circumstances,
you would interact with Gregg on Forum business outside the office (days, times, means of
communication, etc.).

Thank you,

Marc
             Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 23 of 446

Meeting Summary and Moving Forward
Marc Fink <fink@meforum.org>
Sun 3/10/2019 1:56 PM
To: Tricia McNulty <McNulty@meforum.org>
Cc: Daniel Pipes <pipes@meforum.org>
Hi Tricia,

Thank you for attending the meeting Saturday, and expressing your opinions on how best to move
forward as an organization.

Would you please send me by COB Monday: (i) a summary of the understandings you feel we reached
during the meeting; (ii) your proposal for when, and under what circumstances, Gregg would
access/use the office moving forward; (iii) your proposal for when, and under what circumstances,
you would interact with Gregg on Forum business outside the office (days, times, means of
communication, etc.).

Thank you,

Marc
        Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 24 of 446


                   Barbounis Response to Fink E-mail – 3-11-2019


From: Lisa Barbounis
Sent: Monday, March 11, 2019 6:38 PM
To: Marc Fink
Cc: Daniel Pipes
Subject: Re: Meeting Summary; Moving Forward

(i)

Gregg Roman will be reinstated as Director of MEF. He will maintain responsibility for Projects,
Development and Communications - anything content/production related. He will have no
oversight of finance operations.
His position as director will remain probationary for at least the first year until Dr. Pipes regains
confidence in his behavior.

(ii)

Gregg will be able to access the office when Dr, Pipes is present or when he is invited to a
meeting. Should he wish to work from the office he will have to give staff prior notice.

(iii)

I will resume full communication with Gregg Roman via email, phone and telegram during
normal business hours. After hours and via email or telegram reserved for urgent matters.
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                    McNulty Response to Fink E-mail – 3-11-2019


From: Tricia McNulty
Sent: Monday, March 11, 2019 5:15 PM
To: Marc Fink
Cc: Daniel Pipes
Subject: Re: Meeting Summary and Moving Forward

Dear Marc,

Please find my response to each item below:

(i) My understanding of the meeting outcome is that Gregg will serve as the Forum's Director
once again, with certain parameters in place. At a minimum, the first six months will be
essentially a probationary period, with Daniel looking over Gregg's shoulder to be sure no
improprieties are being made.

Finances will continue to report directly to Daniel but Gregg will again be collaborating with the
Director of Communications and Director of Development.

Gregg knows that those in the office are allowed to talk to Daniel directly at any time should
they wish to raise concerns and that, unlike before, there can be no directive to not discuss
anything with Daniel.

Gregg will not have hiring/firing power on his own but may make suggestions to Daniel.
Ultimately, Daniel approves all hiring and firing.

Should Gregg want to give directives or projects to working team members of an MEF
department, those directives should first be discussed with the director of that department.

There has been a noticeable difference in the working relationship with Gregg in the past four
months and the understanding moving forward is that this will continue. He will, as he has done
in the past four months, collaborate and listen to those he is working along side, while providing
much needed direction to keep all departments of the Forum working as a cohesive mechanism.

(ii) I think that there should be no problem with Gregg being in the office 1-2 days a week with
advanced notice as to what those days will be. I think that for the comfort of both him and
everyone in the office, advanced notice is necessary. It did not seem like Gregg actually wanted
to be in the office at all, so if he prefers to only be in the office when Daniel is there I see no
problem with that either.

(iii) When Gregg is not in the office he can contact myself by office phone, cell phone calls (not
text message), email, or telegram, Monday-Friday 9-5. Outside of standard business hours he can
contact by email and telegram when items are time sensitive.
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    EXHIBIT 64
    Depostion of
     Caitriona
      Accardi
               Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 27 of 446
Deposition of Caitriona Accardi                                             Lisa Barbounis v. Middle Eastern Forum, et. al.


   1                              IN THE UNITED STATES DISTRICT COURT
   2                               EASTERN DISTRICT OF PENNSYLVANIA
   3                                               CIVIL ACTION
   4                                                    - - -
   5      LISA BARBOUNIS,                                   :
                                                            :
   6                                  Plaintiff,            :     NO. 2:19-cv-05030-JDW
                                                            :
   7      vs.                                               :
                                                            :
   8      MEF, et al,                                       :
                                                            :
   9                                 Defendants.            :
 10

 11                                                     - - -
 12                                  Tuesday, February 2, 2021
 13                                                     - - -
 14

 15                               Videotaped deposition of CAITRIONA ACCARDI,
 16       taken remotely via Zoom video conference pursuant to
 17       Notice, beginning at 2:10 p.m. before Charlotte F.
 18       Marshall, a Court Reporter and Notary Public in and for
 19       the Commonwealth of Pennsylvania, appearing remotely
 20       from Bucks County, Pennsylvania.
 21

 22                                                    - - -
 23

 24

 25

                                       215-341-3616 transcripts@everestdepo.com
                                              Everest Court Reporting LLC                                          Page: 1
               Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 28 of 446
Deposition of Caitriona Accardi                                           Lisa Barbounis v. Middle Eastern Forum, et. al.


   1      know Daniel was mad about (audio problems) she was
   2      doing after like a month of her being in that role but
   3      again, she didn't have background in that role.                                              So
   4      I -- like -- any normal person would probably need a
   5      little bit more time to show results than just a
   6      month.
   7                Q.            After that initial month period, did you
   8      think she was doing a good job?
   9                A.            I think she was trying.                       I mean I thought
 10       she was doing -- I didn't really work with her that
 11       much but I think she was doing a good job with what
 12       she could do, yeah.
 13                 Q.            Prior to that -- and we're going to
 14       backtrack a little.                  Do you have any knowledge of
 15       before that, before November of 2018 when Gregg's
 16       access to the office changed?                           Do you have any
 17       knowledge of Gregg and Lisa working together to
 18       establish a 501(c)4 organization?
 19                 A.            Prior to that, no.                I only heard about the
 20       50(c)4 until after Gregg was removed from the office.
 21                 Q.            How did you learn about that, the 501(c)4?
 22                 A.            Daniel I believe mentioned that that was
 23       in the works, and then Gregg was going to go over and
 24       head that 50(c)4 and leave the 50(c)3.
 25                 Q.            When you learned about it after November

                                     215-341-3616 transcripts@everestdepo.com
                                            Everest Court Reporting LLC                                         Page: 23
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 EXHIBIT 65
Letter from D.
    Pipes
       Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 30 of 446

March 13, 2019

Dear Gregg:
Effective March 9, your job description has changed so that you will more closely collaborate
with, and give direction to, the Forum’s communications and development teams.
Pursuant to our meeting on March 9, I formally offer you new terms for your employment during
a probationary period from now until the end of 2019.
Title
You continue with the title of director.

Responsibilities
You will have the following responsibilities:
   •     Providing non-binding guidance and advice to the Forum’s administrative staff, including
         myself and its communications and development teams.
   •     Managing the Forum’s external projects and initiatives, including all the directors of the
         Forum’s formal projects except the Middle East Quarterly staff.
   •     Fundraising, in meetings, on the telephone, and in writing.
   •     Making media appearances on Forum-related topics.
   •     Developing a new 501(c)(4) organization.
Restrictions
You will have the following restrictions until further written notice:
   •     No involvement in the Forum’s accounting and finances.
   •     No authority over the Forum’s controller.
   •     No authority to hire or fire Forum employees, including project directors, although your
         suggestions are welcome.
   •     No authority to approve expenses of projects or initiatives, although your suggestions are
         welcome.
   •     No authority to limit communications of staff – in particular the controller, director of
         communications and director of development – with me.
   •     No authority to offer or approve contracts on behalf of the Forum, although your
         suggestions are welcome.
   •     No authority over Middle East Forum Education Fund monies, although your suggestions
         are welcome. We hope this will change in 2020.
   •     Limited access to the Forum’s Philadelphia office; you may access the office when I am
         present, when invited to a meeting, or otherwise when you give notice to all
         administrative staff.
   •     No contact with the Forum’s female employees outside of business hours other than at
         Forum-sponsored events, or using Forum e-mail or Telegram. That means no after-hours
         telephone calls, texts, other e-mails, social media, drinks, meals, outings, trips, shared
         lodgings, and so forth. And during business hours, interactions will be business-related,
         within reason, and occur when you are in the office (as specified above), at Forum-
         sponsored events, or using Forum e-mail, phone (no texts), or Telegram.

Salary
                                                                                                      1
       Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 31 of 446

Your salary and benefits remain unchanged. Your salary will be payable in accordance with the
Forum's standard payroll practice and subject to applicable withholding taxes. Because your
position is exempt from overtime pay, your salary will compensate you for all hours worked.
Expenses
You agree not to incur any liabilities with third parties and only to expend your own resources
with the expectation of reimbursement by the Forum when specifically pre-approved by me in
writing, on a case by case basis. If the expense is approved by me, you shall lay out the funds,
then submit a reimbursement form to the Forum’s controller.
Travel
You will continue to travel on MEF business, according to the procedures specified under
Expenses, above. When traveling, you must keep in mind that you are working for a non-profit
that legally and morally must spend money thriftily. That means economy class on trains and
planes, standard business rooms in hotel, and ordinary rideshare and rental cars. In particular,
when possible, air travel must be booked weeks in advance to get advantageous prices.
Other terms
You will be an employee-at-will, meaning that either you or the Forum may terminate our
relationship at any time for any reason, with or without cause. Any statements to the contrary
that may have been made to you, or that may be made to you, by the Forum, its agents, or
representatives, are superseded by this offer letter. These terms are subject to change; any
changes will be made in writing.
Aside from the limited office access described above, you shall work remotely, from anywhere
of your choosing.
You are eligible to participate in the following benefit plans:
   •    Group medical health, which may include dental and vision coverage depending on the
        plan you choose.
   •    403(b) retirement plan.
   •    Life insurance.
   •    Short-term and long-term disability.
(Please note: participation in these benefits may reduce the amount of your all-inclusive salary.)
If you wish to accept employment with the Forum under these terms, please indicate so by
signing two copies of this letter, returning one copy to me. You may do so by regular mail or by
scanning this letter and e-mailing it.
This offer and all terms of employment stated in this letter will expire at 5:00 PM Eastern
Daylight Time on Monday, March 18, 2019.
                                               Sincerely,




                                               Daniel Pipes
                                               President, Middle East Forum


                                                                                                     2
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  EXHIBIT 66
Message from D.
Pipes to Plaintiff
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 EXHIBIT 67
Email from M.
    Fink
       Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 35 of 446




From: Marc Fink <fink@meforum.org>
Sent: Wednesday, March 27, 2019 6:56 PM
To: Tricia McNulty
Cc: Daniel Pipes
Subject: Re: Meeting Summary and Moving Forward

Dear Tricia,

Thank you again for your input regarding the meeting we had with Gregg on March 9.

We took your comments into account when formulating a new structure for Gregg's use of the
office.

He will have limited access to the office, accessing it only when: (i) Daniel is present; (ii) when
invited to a meeting; or (iii) when he gives notice to all administrative staff.

He will not have a key.

Regards,

Marc
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  EXHIBIT 68
  Message from
   Plaintiff to
    Roman
             Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 37 of 446

March on June 9
Lisa Barbounis <Barbounis@meforum.org>
Thu 5/31/2018 2:16 PM
To: Gregg Roman <Roman@meforum.org>
Cc: Marc Fink <fink@meforum.org>; Sam Westrop <Westrop@meforum.org>; Delaney Yonchek
<Yonchek@meforum.org>; Raheem Kassam <raheemkassam@gmail.com>

There is another march for Tommy on June 9th at 3:00pm. Its hosted by Danny Tommo and there
are 2.9k going and 13k interested. Should we try and make contact with the organizer, bus people
in, and promote the event with FB ads?

We could also contact Vickie (see below) and offer to organize busses or just send them money to
do it.


This was on the FB event:

“As discussed yesterday, people need to know who is going from different cities and big towns.
And how they can get to London for the march on the 9th of June. Vickie Selway will try and
help as many as possible, let her know where you are coming from she will do her best to help
with times, meet points, bus & train routes to London on the day. add yourself to the group and
lets get everyone there and home for the 9th of June...”


Sincerely,

Lisa Barbounis
Executive Liaison
Middle East Forum
O: 215.546.5406 x102
C: 215.910.2154
F: 215.546.5409




Please subscribe to our newsletters here!
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 EXHIBIT 69
Contract with D.
   Thomas
Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 39 of 446
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          EXHIBIT
              70
           Invoices
           Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 47 of 446
  ACE P.A. HIRE
  6 TURCHILL DRIVE
  WALMLEY
  SUTTON COLDFIELD
  WEST MIDLANDS
  B76 1YQ
  Tel : 07973691930
  Email : info@acepahire.co.uk
  VAT Reg No: 864 - 9211 - 06

                                                       INVOICE                     Page 1

  REBEL MEDIA                                          Invoice No                  1223
  8 WALNUT WALK
                                                       Invoice Date                09/06/2018
  SILSOE
  BEDFORD
                                                       Order No
  MK45 4GT
                                                       Account Ref                 RM2




 Quantity Description                          Unit Price Disc Amt      Net Amt VAT %             VAT

      1.00 SCREEN                               3,000.00      0.00      3,000.00    20.00       600.00
      1.00 TOILET FACILITIES                      660.00      0.00       660.00     20.00       132.00
      1.00 HOSPITALITY TRAILER                  1,055.00      0.00      1,055.00    20.00       211.00
      1.00 20k PA system complete               3,500.00      0.00      3,500.00    20.00       700.00
      1.00 TRANSPORT                              900.00      0.00       900.00     20.00       180.00
      1.00 CREW AS REQUIRED                     1,200.00      0.00      1,200.00    20.00       240.00
      1.00 FENCING AS REQUIRED                  1,000.00      0.00      1,000.00    20.00       200.00
      1.00 GENERATOR                              350.00      0.00       350.00     20.00        70.00
      1.00 STAGE AS REQUIRED                    1,000.00      0.00      1,000.00    20.00       200.00




  Deliver To :                                         Total Discount          £                  0.00
  SUNDAY 9TH JUNE 2018
  WHITEHALL                                            Total Net Amount        £            12,665.00
  LONDON
                                                       Carriage Net            £                  0.00

                                                       Total VAT Amount        £             2,533.00
BACS PAYMENTS ACC.No. 00944518 SORT 30-93-09           Invoice Total           £            15,198.00
MR P BAVIN T/A ACE PA HIRE
          Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 48 of 446

Fwd: Tommy Robinson
Gregg Roman <Roman@meforum.org>
Tue 6/12/2018 4943 PM
To: Lisa Barbounis <Barbounis@meforum.org>



Gregg Roman

Begin forwarded message:


      From: <danielthomas@tes-uk.co.uk>
      Date: June 4, 2018 at 7911943 AM EDT
      To: <Roman@meforum.org>
      Subject: Tommy Robinson
      Reply-To: <danielthomas@tes-uk.co.uk>


      Good Afternoon Gregg,

      Further to our conversation, please find below a break down what is required for the
      day. I have included the companies name and what it is they are providing.

      ACE PA HIRE --

      Costs for production as follows :-


      PA system complete package £4000-00
      Stage including steps and balustrade complete £1500-00
      Vehicle hire and transport costs £950-00
      6x. Staff £1400-00
      Mobile Porta cabin including delivery. £1250-00
      1x. Road tow posh loo system £700-00
      1x. Mobile large HD video screen hire incl delivery. £3300-00
      1x. Set crowd barriers (30 standard )(10 herress) £1200
      1x. Road tow generator incl distribution system £450-00

      Event Package total £14750-00+vat
                     Vat. £2950-00

      TOTAL £17,700-00 incl vat

      ----------------------------------------------------------------------------------
      ----------------------------------------------------------------------------------
      -------------

      Bauer Security in London
    Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 49 of 446
Providing 20 highly experienced Security guards for the stage & its perimeter
(ONLY)

£20 per hour per Guard, we will need them there for 6 hours.

£20 x 6 hours per Guard = £120

£120 x 20 Guards = £2400

Total cost £2,400

----------------------------------------------------------------------------------
----------------------------------------------------------------------------------
-------------

The reality Report will be providing & dealing with the following...


Freebie merchandise (T-Shirts & Wristbands) handed to crowd -- £500

Westminster council event and filming permission -- £700

Graphics, three authorised artists. -- £300

Food and drinks for the speakers for the event -- £100

Consultancy fees & project co-ordination -- £600

Comms for Security £150

Video editing £200

Total cost £2,350

----------------------------------------------------------------------------------
----------------------------------------------------------------------------------
-------------



Total cost for the full event is £22,450



If you have any questions please do come back to me, we are looking at getting
these companies paid as soon as possible.

Look forward to hearing from you.

Daniel
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 EXHIBIT 71
 Messages from
  Plaintiff re:
    London
           Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 51 of 446

2018-06-03 18:10:25 UTC: +12159102154@iMessage -> [3 recipients]

From:   Home <+12159102154@imessage>
To:     Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:   Sun, 03 Jun 2018 14:10:25 -0400
Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 52 of 446
               Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 53 of 446

2018-06-03 18:11:29 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:           Tricia McNulty <"+1 609-742-1968">
To:             Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:           Sun, 03 Jun 2018 14:11:29 -0400



I don't know if I can bring myself to spend that for literally one day
            Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 54 of 446

2018-06-03 18:11:39 UTC: +12159102154@iMessage -> [3 recipients]

From:    Home <+12159102154@imessage>
To:      Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:    Sun, 03 Jun 2018 14:11:39 -0400



I know
             Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 55 of 446

2018-06-03 18:12:05 UTC: +12159102154@iMessage -> [3 recipients]

From:    Home <+12159102154@imessage>
To:      Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:    Sun, 03 Jun 2018 14:12:05 -0400



What if we throw another day in there
              Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 56 of 446

2018-06-03 18:13:51 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:          Tricia McNulty <"+1 609-742-1968">
To:            Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:          Sun, 03 Jun 2018 14:13:51 -0400



Aaaah idk, it's a lot of money for not much time
              Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 57 of 446

2018-06-03 18:14:34 UTC: +12159102154@iMessage -> [3 recipients]

From:     Home <+12159102154@imessage>
To:       Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:     Sun, 03 Jun 2018 14:14:34 -0400



I know. It looks like Raheem is ducking out cause Gregg won’t pay him. I won’t get the connects if he isn’t going
              Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 58 of 446

2018-06-03 18:15:30 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:           Tricia McNulty <"+1 609-742-1968">
To:             Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:           Sun, 03 Jun 2018 14:15:30 -0400



Oh shit, he's not doing the rally at all, I thought that was on his own
             Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 59 of 446

2018-06-03 18:16:15 UTC: +12159102154@iMessage -> [3 recipients]

From:    Home <+12159102154@imessage>
To:      Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:    Sun, 03 Jun 2018 14:16:15 -0400



I don’t know. I’m asking him now.
             Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 60 of 446

2018-06-03 18:21:47 UTC: +12159102154@iMessage -> [3 recipients]

From:    Home <+12159102154@imessage>
To:      Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:    Sun, 03 Jun 2018 14:21:47 -0400



Raheem just said he’d pay for you
         Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 61 of 446

2018-06-03 18:22:10 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:    Tricia McNulty <"+1 609-742-1968">
To:      Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:    Sun, 03 Jun 2018 14:22:10 -0400



HAHHAA
           Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 62 of 446

2018-06-03 18:22:22 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:       Tricia McNulty <"+1 609-742-1968">
To:         Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:       Sun, 03 Jun 2018 14:22:22 -0400



Done and done
           Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 63 of 446

2018-06-03 18:24:04 UTC: +12159102154@iMessage -> [3 recipients]

From:   Home <+12159102154@imessage>
To:     Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:   Sun, 03 Jun 2018 14:24:04 -0400
Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 64 of 446
           Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 65 of 446

2018-06-03 18:36:34 UTC: +12159102154@iMessage -> [3 recipients]

From:   Home <+12159102154@imessage>
To:     Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:   Sun, 03 Jun 2018 14:36:34 -0400
Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 66 of 446
             Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 67 of 446

2018-06-03 18:43:10 UTC: +12159102154@iMessage -> [3 recipients]

From:    Home <+12159102154@imessage>
To:      Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:    Sun, 03 Jun 2018 14:43:10 -0400



Showing you the times what are you think
               Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 68 of 446

2018-06-03 18:44:55 UTC: +12159102154@iMessage -> [3 recipients]

From:     Home <+12159102154@imessage>
To:       Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:     Sun, 03 Jun 2018 14:44:55 -0400



He’s definitely paying for your ticket
           Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 69 of 446

2018-06-03 18:58:16 UTC: +12159102154@iMessage -> [3 recipients]

From:   Home <+12159102154@imessage>
To:     Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:   Sun, 03 Jun 2018 14:58:16 -0400
Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 70 of 446
              Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 71 of 446

2018-06-03 18:59:00 UTC: +12159102154@iMessage -> [3 recipients]

From:   Home <+12159102154@imessage>
To:     Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:   Sun, 03 Jun 2018 14:59:00 -0400



What a DICK
             Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 72 of 446

2018-06-03 18:59:33 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:         Tricia McNulty <"+1 609-742-1968">
To:           Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:         Sun, 03 Jun 2018 14:59:33 -0400



SHUT up. I knew he was gonna do something I just knew it
              Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 73 of 446

2018-06-03 19:19:03 UTC: +12159102154@iMessage -> [3 recipients]

From:     Home <+12159102154@imessage>
To:       Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:     Sun, 03 Jun 2018 15:19:03 -0400



I’ll look for flights that come home on Sunday fuck it
             Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 74 of 446

2018-06-03 19:19:51 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:          Tricia McNulty <"+1 609-742-1968">
To:            Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:          Sun, 03 Jun 2018 15:19:51 -0400



Uuugh, what a fucking dick, one fucking day, he has serious fucking issues
              Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 75 of 446

2018-06-03 19:23:38 UTC: +12159102154@iMessage -> [3 recipients]

From:     Home <+12159102154@imessage>
To:       Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:     Sun, 03 Jun 2018 15:23:38 -0400



He called me and talked about other stuff. Said he would talk to me tomorrow. I said I need to book the flights. He said
Iâ€™ll talk to you tonight. You know DP could give 2 shits
             Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 76 of 446

2018-06-03 19:24:51 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:          Tricia McNulty <"+1 609-742-1968">
To:            Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:          Sun, 03 Jun 2018 15:24:51 -0400



Yeah, dp doesn't care what the fuck you and I do on our own time.. why wouldn't he just say one way or another on the
phone
               Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 77 of 446

2018-06-03 19:27:28 UTC: +12159102154@iMessage -> [3 recipients]

From:      Home <+12159102154@imessage>
To:        Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:      Sun, 03 Jun 2018 15:27:28 -0400



I want to write this
              Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 78 of 446

2018-06-03 19:27:31 UTC: +12159102154@iMessage -> [3 recipients]

From:     Home <+12159102154@imessage>
To:       Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:     Sun, 03 Jun 2018 15:27:31 -0400



Is it that you don’t want us at the march or off on Monday? If it’s about the day I’ll look for flights that come home on
Sunday. If it’s about what we do on our own time then we should talk about that
              Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 79 of 446

2018-06-03 19:29:26 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:          Tricia McNulty <"+1 609-742-1968">
To:            Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:          Sun, 03 Jun 2018 15:29:26 -0400



Why does he just want to be difficult with everything?!?! ______
               Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 80 of 446

2018-06-03 19:36:14 UTC: +12159102154@iMessage -> [3 recipients]

From:     Home <+12159102154@imessage>
To:       Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:     Sun, 03 Jun 2018 15:36:14 -0400



I’m quitting they are all nuts
             Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 81 of 446

2018-06-03 19:53:22 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:         Tricia McNulty <"+1 609-742-1968">
To:           Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:         Sun, 03 Jun 2018 15:53:22 -0400



Did he say anything else
               Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 82 of 446

2018-06-03 19:53:57 UTC: +12159102154@iMessage -> [3 recipients]

From:     Home <+12159102154@imessage>
To:       Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:     Sun, 03 Jun 2018 15:53:57 -0400



No but I just got into a minor tiff with Marnie.
             Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 83 of 446

2018-06-03 19:54:47 UTC: +12159102154@iMessage -> [3 recipients]

From:    Home <+12159102154@imessage>
To:      Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:    Sun, 03 Jun 2018 15:54:47 -0400



She wasn’t understanding what I was asking because she didn’t hear me out. She was like I don’t want to be in the
middle of you and Gregg and I feel like you are fucking with me.
              Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 84 of 446

2018-06-03 19:54:56 UTC: +12159102154@iMessage -> [3 recipients]

From:     Home <+12159102154@imessage>
To:       Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:     Sun, 03 Jun 2018 15:54:56 -0400



I need to leave this job. I hate them all
              Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 85 of 446

2018-06-03 19:55:21 UTC: +12159102154@iMessage -> [3 recipients]

From:     Home <+12159102154@imessage>
To:       Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:     Sun, 03 Jun 2018 15:55:21 -0400



Gregg is an abusive liar and Marnie is his lap dog
              Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 86 of 446

2018-06-03 19:55:31 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:          Tricia McNulty <"+1 609-742-1968">
To:            Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:          Sun, 03 Jun 2018 15:55:31 -0400



__feel like you're fucking with me?? Why would she even say that.. she's like ready for a right
             Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 87 of 446

2018-06-03 19:56:14 UTC: +12159102154@iMessage -> [3 recipients]

From:    Home <+12159102154@imessage>
To:      Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:    Sun, 03 Jun 2018 15:56:14 -0400



Ya. I was just asking if he doesn’t approve the time off on Monday am I allowed to do what I want on my own time?
             Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 88 of 446

2018-06-03 19:57:03 UTC: +12159102154@iMessage -> [3 recipients]

From:    Home <+12159102154@imessage>
To:      Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:    Sun, 03 Jun 2018 15:57:03 -0400



She was like if you want to get technical about the manual you didn’t request time off in enough advance
             Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 89 of 446

2018-06-03 19:57:17 UTC: +12159102154@iMessage -> [3 recipients]

From:    Home <+12159102154@imessage>
To:      Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:    Sun, 03 Jun 2018 15:57:17 -0400



That sentence didn’t make sense but you know what I mean
              Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 90 of 446

2018-06-03 19:58:16 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:          Tricia McNulty <"+1 609-742-1968">
To:            Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:          Sun, 03 Jun 2018 15:58:16 -0400



Oh yeah, she's a hundred percent just ready to fight
              Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 91 of 446

2018-06-03 20:00:37 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:           Tricia McNulty <"+1 609-742-1968">
To:             Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:           Sun, 03 Jun 2018 16:00:37 -0400



They are joy killers
                Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 92 of 446

2018-06-03 20:00:50 UTC: +12159102154@iMessage -> [3 recipients]

From:      Home <+12159102154@imessage>
To:        Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:      Sun, 03 Jun 2018 16:00:50 -0400



Joy killers totally
              Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 93 of 446

2018-06-04 00:11:18 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:          Tricia McNulty <"+1 609-742-1968">
To:            Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:          Sun, 03 Jun 2018 20:11:18 -0400



So is it definitely not happening now
              Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 94 of 446

2018-06-04 00:13:20 UTC: +12159102154@iMessage -> [3 recipients]

From:     Home <+12159102154@imessage>
To:       Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:     Sun, 03 Jun 2018 20:13:20 -0400



No. Still waiting for Gregg to give me a yes or no.
              Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 95 of 446

2018-06-04 00:13:51 UTC: +12159102154@iMessage -> [3 recipients]

From:     Home <+12159102154@imessage>
To:       Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:     Sun, 03 Jun 2018 20:13:51 -0400



He could ruin a picnic
        Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 96 of 446

2018-06-04 00:13:57 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:   Tricia McNulty <"+1 609-742-1968">
To:     Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:   Sun, 03 Jun 2018 20:13:57 -0400



__
              Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 97 of 446

2018-06-04 00:46:03 UTC: +12159102154@iMessage -> [3 recipients]

From:     Home <+12159102154@imessage>
To:       Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:     Sun, 03 Jun 2018 20:46:03 -0400



It’s interesting that Lara (Greggs assistant) was there for 7 months and I’m at my breaking point at 7 months
             Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 98 of 446

2018-06-04 00:47:28 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:          Tricia McNulty <"+1 609-742-1968">
To:            Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:          Sun, 03 Jun 2018 20:47:28 -0400



I'm suuuuuure there's a trend
             Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 99 of 446

2018-06-04 00:47:54 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:         Tricia McNulty <"+1 609-742-1968">
To:           Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:         Sun, 03 Jun 2018 20:47:54 -0400



And they're probably making up rumors about you and I "plotting" as we speak
             Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 100 of 446

2018-06-04 12:10:38 UTC: +12159102154@iMessage -> [3 recipients]

From:    Home <+12159102154@imessage>
To:      Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:    Mon, 04 Jun 2018 08:10:38 -0400



We are going!!!
           Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 101 of 446

2018-06-04 12:16:03 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:        Tricia McNulty <"+1 609-742-1968">
To:          Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:        Mon, 04 Jun 2018 08:16:03 -0400



Hdugsugusvsjvjdvkbdjsvdvmfkbsk
                 Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 102 of 446

2018-06-04 12:16:25 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:             Tricia McNulty <"+1 609-742-1968">
To:               Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:             Mon, 04 Jun 2018 08:16:25 -0400



Holy shitttttt
            Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 103 of 446

2018-06-04 13:06:11 UTC: +12159102154@iMessage -> [3 recipients]

From:    Home <+12159102154@imessage>
To:      Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:    Mon, 04 Jun 2018 09:06:11 -0400



We can book the flights today
            Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 104 of 446

2018-06-04 13:06:38 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:         Tricia McNulty <"+1 609-742-1968">
To:           Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:         Mon, 04 Jun 2018 09:06:38 -0400



Are we going til Sunday or Monday
            Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 105 of 446

2018-06-04 13:06:40 UTC: +12159102154@iMessage -> [3 recipients]

From:    Home <+12159102154@imessage>
To:      Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:    Mon, 04 Jun 2018 09:06:40 -0400



I got you a moca
           Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 106 of 446

2018-06-04 13:06:44 UTC: +12159102154@iMessage -> [3 recipients]

From:    Home <+12159102154@imessage>
To:      Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:    Mon, 04 Jun 2018 09:06:44 -0400



Monday
             Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 107 of 446

2018-06-04 13:06:57 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:         Tricia McNulty <"+1 609-742-1968">
To:           Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:         Mon, 04 Jun 2018 09:06:57 -0400



I'm wfh __
             Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 108 of 446

2018-06-04 13:07:07 UTC: +12159102154@iMessage -> [3 recipients]

From:   Home <+12159102154@imessage>
To:     Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:   Mon, 04 Jun 2018 09:07:07 -0400



Ughhhhhhhh
          Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 109 of 446

2018-06-04 13:07:10 UTC: +12159102154@iMessage -> [3 recipients]

From:   Home <+12159102154@imessage>
To:     Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:   Mon, 04 Jun 2018 09:07:10 -0400



Fine
                Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 110 of 446

2018-06-04 13:07:17 UTC: +12159102154@iMessage -> [3 recipients]

From:       Home <+12159102154@imessage>
To:         Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:       Mon, 04 Jun 2018 09:07:17 -0400



I’ll put it in the fridge
              Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 111 of 446

2018-06-04 13:07:18 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:          Tricia McNulty <"+1 609-742-1968">
To:            Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:          Mon, 04 Jun 2018 09:07:18 -0400



Hahah shiza
          Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 112 of 446

2018-06-04 13:07:22 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:      Tricia McNulty <"+1 609-742-1968">
To:        Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:      Mon, 04 Jun 2018 09:07:22 -0400



Yesssss
             Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 113 of 446

2018-06-04 13:07:34 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:          Tricia McNulty <"+1 609-742-1968">
To:            Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:          Mon, 04 Jun 2018 09:07:34 -0400



Ohmygosh I'm so exciiiiiitec
             Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 114 of 446

2018-06-04 16:34:50 UTC: +12159102154@iMessage -> [3 recipients]

From:     Home <+12159102154@imessage>
To:       Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:     Mon, 04 Jun 2018 12:34:50 -0400



I need your birthdate
            Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 115 of 446

2018-06-04 16:35:03 UTC: +12159102154@iMessage -> [3 recipients]

From:    Home <+12159102154@imessage>
To:      Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:    Mon, 04 Jun 2018 12:35:03 -0400



And your name and passport number if you have it.
            Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 116 of 446

2018-06-04 16:52:26 UTC: +12159102154@iMessage -> [3 recipients]

From:    Home <+12159102154@imessage>
To:      Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:    Mon, 04 Jun 2018 12:52:26 -0400



We are booked. Cheapoair!
          Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 117 of 446

2018-06-04 16:52:32 UTC: +12159102154@iMessage -> [3 recipients]

From:   Home <+12159102154@imessage>
To:     Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:   Mon, 04 Jun 2018 12:52:32 -0400



__
             Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 118 of 446

2018-06-04 16:55:45 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:          Tricia McNulty <"+1 609-742-1968">
To:            Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:          Mon, 04 Jun 2018 12:55:45 -0400



Hahahahah gaaaaaaaaaaah I cant believe this!! I'm so excited!!!!
            Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 119 of 446

2018-06-04 16:55:59 UTC: +12159102154@iMessage -> [3 recipients]

From:    Home <+12159102154@imessage>
To:      Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:    Mon, 04 Jun 2018 12:55:59 -0400



I make shit happen
          Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 120 of 446

2018-06-04 16:56:02 UTC: +12159102154@iMessage -> [3 recipients]

From:   Home <+12159102154@imessage>
To:     Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:   Mon, 04 Jun 2018 12:56:02 -0400



Lol
             Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 121 of 446

2018-06-04 16:56:18 UTC: +12159102154@iMessage -> [3 recipients]

From:     Home <+12159102154@imessage>
To:       Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:     Mon, 04 Jun 2018 12:56:18 -0400



We don’t have a place to stay yet.
                Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 122 of 446

2018-06-04 16:56:28 UTC: +12159102154@iMessage -> [3 recipients]

From:    Home <+12159102154@imessage>
To:      Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:    Mon, 04 Jun 2018 12:56:28 -0400



Working on it
            Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 123 of 446

2018-06-04 17:05:45 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:         Tricia McNulty <"+1 609-742-1968">
To:           Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:         Mon, 04 Jun 2018 13:05:45 -0400



Making major shit happen.. who books a trip on a Monday to fly to London for the weekend?!
            Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 124 of 446

2018-06-04 17:07:19 UTC: +12159102154@iMessage -> [3 recipients]

From:     Home <+12159102154@imessage>
To:       Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:     Mon, 04 Jun 2018 13:07:19 -0400



We do!!
            Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 125 of 446

2018-06-04 17:07:29 UTC: +12159102154@iMessage -> [3 recipients]

From:    Home <+12159102154@imessage>
To:      Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:    Mon, 04 Jun 2018 13:07:29 -0400



Our tickets were 650 a piece
            Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 126 of 446

2018-06-04 17:07:42 UTC: +12159102154@iMessage -> [3 recipients]

From:    Home <+12159102154@imessage>
To:      Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:    Mon, 04 Jun 2018 13:07:42 -0400



We have to get to Newark
              Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 127 of 446

2018-06-04 17:07:51 UTC: +12159102154@iMessage -> [3 recipients]

From:      Home <+12159102154@imessage>
To:        Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:      Mon, 04 Jun 2018 13:07:51 -0400



I’ll drive and park
             Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 128 of 446

2018-06-04 17:13:42 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:         Tricia McNulty <"+1 609-742-1968">
To:           Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:         Mon, 04 Jun 2018 13:13:42 -0400



Are you bringing a suitcase?
            Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 129 of 446

2018-06-04 17:13:55 UTC: +12159102154@iMessage -> [3 recipients]

From:   Home <+12159102154@imessage>
To:     Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:   Mon, 04 Jun 2018 13:13:55 -0400



Um yessss
          Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 130 of 446

2018-06-04 17:13:59 UTC: +12159102154@iMessage -> [3 recipients]

From:   Home <+12159102154@imessage>
To:     Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:   Mon, 04 Jun 2018 13:13:59 -0400



Lol
           Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 131 of 446

2018-06-04 17:14:09 UTC: +12159102154@iMessage -> [3 recipients]

From:   Home <+12159102154@imessage>
To:     Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:   Mon, 04 Jun 2018 13:14:09 -0400



You know me. I need ALLL MY shit
            Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 132 of 446

2018-06-04 17:15:11 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:        Tricia McNulty <"+1 609-742-1968">
To:          Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:        Mon, 04 Jun 2018 13:15:11 -0400



Hahhahahah ok ok perfect
             Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 133 of 446

2018-06-04 17:18:43 UTC: +12159102154@iMessage -> [3 recipients]

From:    Home <+12159102154@imessage>
To:      Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:    Mon, 04 Jun 2018 13:18:43 -0400



Raheem is booking the room. I told him to save money you and I could share a room but 3 is better
        Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 134 of 446

2018-06-04 17:25:48 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:    Tricia McNulty <"+1 609-742-1968">
To:      Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:    Mon, 04 Jun 2018 13:25:48 -0400



Kk
Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 135 of 446




  EXHIBIT 72
Photo of Plaintiff
and P. McNulty
   in London.
Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 136 of 446
Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 137 of 446




     EXHIBIT 73
     Email from
      Plaintiff to
       Roman
                Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 138 of 446
From: Lisa Barbounis
Sent: Friday, June 22, 2018 12:59 PM EDT
To: Raheem Kassam (Breitbart London) <raheemkassam@gmail.com>; Gregg Roman <Roman@meforum.org>
Subject: RE: 14th July Budget
Attachment(s): "2018-07-14 TR Event Budget Proposal.png"
Gregg,

I couldn’t get it to open on my desktop, only on my phone. I took a screen shot for you if you are having the same issue.

Here is my opinion. I have a bad taste in my mouth from the last event. Danny applied for the grant but hasn’t supplied, to my standards, a proper
account of the money disbursements and I now have 2 “vendors” asking for money (reality report and the camera people who were directly hired by
Kevin, only referred to by us/Raheem because he asked for a name).

If the donor is interested in funding another event then I think Raheem should apply for the grant, receive the money and dispense it properly with
receipts. I don’t seem to trust anyone else and I certainly don’t trust their people and there is no organization between groups talking about helping
Tommy.

If the donor doesn’t want to participate, or if he does and we let others handle it, we really need to consider the Congressman’s involvement. That is our
reputation on the line and he needs a schedule of meetings and a decent event.

This needs to be done properly. Names of vendors, addresses, written estimates, etc.

Let me know how you wish to proceed.

Sincerely,

Lisa Barbounis
Executive Liaison
Middle East Forum
O: 215.546.5406 x102
C: 215.910.2154
F: 215.546.5409




Please subscribe to our newsletters here!



From: Raheem Kassam (Breitbart London) <raheemkassam@gmail.com>
Sent: Friday, June 22, 2018 11:48 AM
To: Lisa Barbounis <Barbounis@meforum.org>; Gregg Roman <Roman@meforum.org>
Subject: Fwd: 14th July Budget

This is what Caolan and George have put together as an “all singing all dancing” budget for the day. I think some things can be cut
out. For instance I don;’t think you are even allowed to have a sky writer above Westminster. Also things like hospitality and the
mileage on the trucks etc are too much and can be cut if you need to. I would also want $5k myself for time and arrangements like
last time.

Sent from my iPad

Begin forwarded message:

         From: George Llewelyn-John <george@llewelynjohn.com>
         Date: June 22, 2018 at 11:16:15 AM EDT
         To: "raheemkassam@gmail.com" <raheemkassam@gmail.com>
         Subject: 14th July Budget

         Hi Raheem,

         Please find budget attached - some figures based on estimates with the organisations we'll use. i.e. final security
         costs are pending details of the speakers but I'm guessing we'll be going high on that one.

         If your backers balk at the amount (I know this goes over $30,000) I can look into getting a top up from Tommy or
         elsewhere if it comes to it - it will be worth it to make this a seminal event for this movement but also for
         European populism in relation to the UK.

         Any questions/issues call me or feel free to pass my number along if need be.

         Thanks,
         George

         +44(0) 7981 815 366
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  EXHIBIT 74
 Invoice from D.
    Thomas
          Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 141 of 446

FW: Invoices and expenses, for the March for Tommy on the 9th of June 2018.
Gregg Roman <Roman@meforum.org>
Wed 6/20/2018 7:04 PM
To: Lisa Barbounis <Barbounis@meforum.org>


  1 attachments (1,016 KB)
Screenshot_2018-06-11-13-22-56.png;




Gregg Roman
Director
Middle East Forum
www.meforum.org
P: 215-546-5406
Twitter: @greggroman

From: danielthomas@tes-uk.co.uk <danielthomas@tes-uk.co.uk>
Sent: Monday, June 11, 2018 9:11 AM
To: Gregg Roman <Roman@meforum.org>
Subject: Invoices and expenses, for the March for Tommy on the 9th of June 2018.


Morning Gregg,

Further to our conversation, please find below the invoices & expenses regarding the event on
Saturday.

The amount that was available in my bank was £23,454

------------------------------------------------------------------------------------------------
------------------------------------------------------------------------------------

Ace Pa Hire

Mon 04/06, 10:13
You
Hi Daniel

Below is our invoice for the production for the event on the 9th of June, bank details are below the
invoice.

PA system complete package £4000-00
Stage including steps and balustrade complete £1500-00
Vehicle hire and transport costs £950-00
6x. Staff £1400-00
Mobile Porta cabin including delivery. £1250-00
1x. Road tow posh loo system £700-00
1x. Mobile large HD video screen hire incl delivery. £3300-00
1x. Set crowd barriers (30 standard )(10 herress) £1200
         Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 142 of 446
1x. Road tow generator incl distribution system £450-00

Event Package total £14750-00+vat
                Vat. £2950-00

TOTAL £17,700-00 incl vat

Bank details :-
Lloyds Bank PLC
Paul Bavin T/A Ace pa hire
Sort code 30-93-09
Acc number 00944518
Regards

Paul Bavin
Ace pa hire

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------------------------------------------

Liam Tuff who runs Bauer Security, has asked me to send the £2400 to a personnel account so we
do not have to pay the VAT.

I have attached a picture to prove this, please see attached.

The invoice for the Security is £2400

-----------------------------------------------------------------------------------------------------------------------------------
---------------------------------------------

£900 sent to Jan Moudrak who Lisa knows and has asked me to pay, this money was to pay for
Banner printing & Designers who worked hard on leaflets, banners and social media coverage etc.

His account number is:

50183393
20-92-60

-----------------------------------------------------------------------------------------------------------------------------------
----------------------------------------------

Vicky Selway who organised the bus/train/cars to the event will be paid £200 in expenses (As
directed by LIsa)

-----------------------------------------------------------------------------------------------------------------------------------
----------------------------------------------

Outstanding amount after everyone is paid is £2,254

Expense for the event

£500 on expenses for travel for various staff (Taxis, trains, buses, Van hire)
£300 on expenses for food & drink (at and after the event)
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£130 on a hotel for the night before, so i was in London on the morning of the event
£120 on expenses for my travel to London & home again

Total on expenses are £1050

-----------------------------------------------------------------------------------------------------------------------------------
----------------------------------------------

And finally the outstanding amount of £1204

I had to liaise with the following for this event to go ahead

1. London city police, Met police

2. Westminster council

3. Geert wilders various teams from his press office to his security team,

4. Raheem, Gregg, Lisa.

5. London events team

6. Tommys family, friends, media team etc.

7. All speakers from Liam Tuff, Ann Marie Waters, Shazia Hobbs etc etc

As many of you are aware i did not sleep properly for days, had a lot of stress anyway with my
daughters heart operation coming up etc

Since i started this, i have not done any work for my own business what so ever and have lost out
financially which is now becoming an issue.

I feel for the efforts i have put in to making this event as successful as possible i will be invoice for
the organisation and management of event for the amount of £1204.

-----------------------------------------------------------------------------------------------------------------------------------
-------------------------------------------------

Total once everyone is paid is

ACE PA -- £17,700
Bauer Security -- £2400
Jan Moudrak -- £900
Vicky Selway -- £200
Expenses -- £1050
Myself for the management of the event -- £1204

Total for event on the 9th of June -- £23,454

From everyone that was involved in this event, we would like to thank you for making this happen.

I am now taking a step back, and wont be dealing with any further events.
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Again its been a pleasure to work with you guys, i wish you and your organisation the best of luck
for the future.

Many Thanks

Danny Tommo


      On 04 June 2018 at 15:45 Gregg Roman <Roman@meforum.org> wrote:

      His sort code is: 09-01-29



      Gregg Roman

      Director

      Middle East Forum

      www.meforum.org

      P: 215-546-5406

      Twitter: @greggroman




      From: Marnie Meyer
      Sent: Monday, June 04, 2018 10:44 AM
      To: danielthomas@tes-uk.co.uk
      Cc: Gregg Roman <Roman@meforum.org>
      Subject: RE: 2018 MEFEF Grant Agreement-Daniel Thomas



      Dear Mr. Thomas,



      I am in receipt of your signed contract. I am attempting to process the wire but the
      platform is asking for a “US Domestic Sort Code” do you have that number available?
      I’m afraid to miss any information that might delay the wire.



      Thanks,



      Marnie Meyer

      Director of Finance & Operations
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Middle East Forum




From: danielthomas@tes-uk.co.uk <danielthomas@tes-uk.co.uk>
Sent: Monday, June 4, 2018 10:26 AM
To: Marnie Meyer <meyer@meforum.org>
Cc: Gregg Roman <Roman@meforum.org>
Subject: Re: 2018 MEFEF Grant Agreement-Daniel Thomas



Please find attached the contract.

     On 04 June 2018 at 14:24 Marnie Meyer <meyer@meforum.org> wrote:

     Dear Mr. Thomas,



     The Middle East Forum (MEF) is pleased to provide a total grant of $32,000.00 in
     2018 to you from its Education Fund.



     US law requires charities to take steps to ensure any distributed funds are used
     exclusively in furtherance of their tax-exempt purpose and in accordance with US
     law.



     Accordingly, we ask you to sign and return the enclosed grant agreement and a
     copy of your original request for funding by regular mail, fax or scanned
     attachment to an e-mail.



     Please also provide payment and grantee contact information by filling out this
     FORM.



     Once we receive your signed grant agreement, we will send you the funds upon
     execution of the attached grant agreement.



     If you have any questions or concerns, please do not hesitate to contact me.
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  Warm regards,



  Marnie Meyer

  Director of Finance & Operations

  Middle East Forum

  Tel: (215) 546-5406

  Fax: (215) 546-5409

  www.MEForum.org
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  EXHIBIT 75
  Message from
  Plaintiff to V.
   Barbounis
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Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 149 of 446




   EXHIBIT 76
    Memo from
    Plaintiff to
     Roman
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                                        Memorandum

To:           Gregg
From:         Lisa
Date:         August 3, 2018
Re:           Tommy Robinson (TR) Proposals



Fundraising

   1. To reach existing donors:
         a. Report on TR
                  i. What happened
                 ii. How MEF contributed
                iii. The result
                iv. Why it is important to continue working on this issue à the fight does not
                     stop with Tommy’s release
         b. Research new donors who have supported similar issues and solicite them with
             the TR report and proposal
   2. To encourage new readers and donors
         a. Facebook/Twitter post with link to or clip of Tommy’s Fox interview
                  i. Gregg suggested the tagline: “MEF’s work impacts lives. Support us to
                     help support others’ secure liberty.”
                 ii. Highlight the Legal Project and other cases MEF has supported
                iii. Donate button
         b. Subscribers and those that emailed the info email to thank us for supporting TR
                  i. Should get a thank you return email with the option to donate
                 ii. The emails that came in through info should get a letter asking for support
                     and information on how to receive our mailings.
Events

Purpose: To further the mission of MEF educating members of Congress and the general public
of the dangers of Islamist influence while also raising awareness about the need for honest
conversations about the subject.


   1. Interview TR on MEF Radio
          a. Hour long interview on Aug. 15 or later
   2. Online Skype video with Gregg and TR
          a. Double screen Skype recording to be published on MEFO, Facebook etc.
   3. Tommy Robinson US trip
          a. TR Congressional tour on Islamist influence and freedom of speech
                        1. Meet Congressman on Capitol Hill to raise awareness the dangers
                            of Islamist influence on western culture
                        2. Film TR walking through the halls shaking hands with Members
     Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 151 of 446




                        3. We can use the footage for online presence
                        4. The mainstream media here and abroad would cover his trip
         b. Host a panel on Islamist threats and allowing unrestricted freedom of speech,
            freedom of the press, and the importance of honest conversations regarding
            Islamists
                 i. On the panel:
                        1. TR
                        2. DP
                        3. Possible Reformist Muslim or Anti-Islamist Speakers
                                a. Hillel Fradkin (Hudson Institute)
                                b. Tarek Fatah (MEF Fellow)
                                c. Salim Mansur (Canadian anti-Islamist)
                                d. Salman Sima (Iranian anti-islamist activist in Canada - has
                                    tweeted support for Tommy)
                                e. Raheel Raza (Canadian Muslim activist - has tweeted
                                    support for Tommy)
                                f. Mohammad Al Husseini (UK based - Westminster
                                    Institute, anti-islamst Sheikh. He has served as defence
                                    witness in UK courts for persons convicted of insulting
                                    Islam)
                                g. Douglas Murray (Henry Jackson Society)
                                h. Baroness Cox
                                i. Dave Rubin (! - long shot, but he’s interviewed Tommy
                                    before and this is exactly the sort of subject he’s interested
                                    in)
                                j. Frank Gaffney
                ii. Donors over 250 could attend and anyone else could donate to attend.
               iii. Donations go to the fight to protect those who bring these issues to the
                    forefront of mainstream media and politics (Legal Project)
         c. Host a dinner in DC and NYC with TR and interested Congressman/Donors
                 i. Pay for attendance
   4. TR Europe Tour (not as effective for media)
         a. London
         b. Paris
         c. Poland
         d. Italy
         e. D.C.
         f. New York
                 i. Benefits: attractive to the younger generation
                ii. Cons: Bad press, alt-right label
Timing



   1. Taking advantage of the momentum With the intention to strike while the iron is hot I
      have some recommendations for fundraising and to keep MEF in the mainstream media.
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        Tommy Robinson’s presence is large at the moment. Since our involve in the rallies for
        Robinson we have increased our social media and online presence by ____
Pros



Cons
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  EXHIBIT 77
Message from D.
Pipes to Plaintiff
            Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 154 of 446
From: Daniel Pipes <Pipes@MEForum.org> on behalf of Daniel Pipes <pipes@meforum.org>
Sent: Tuesday, August 07, 2018 12:34 AM EDT
To: Gregg Roman <Roman@meforum.org>
Subject: Re: Possible future Tommy Robinson and MEF involvement scenarios

      On 2018-08-06, 11:39 PM, "Gregg Roman" <Roman@meforum.org> wrote:

      Here’s an interesting memo from Lisa on how we might do follow up.

The key fact here is the increase in MEF’s presence online, though 450 times seems unbelievable to me. If it is
remotely that much, it does suggest we should continue with this topic. But verify that before we go on.

I am leery of associating too much with Tommy Robinson; he is Trouble with a capital T. Ask Ezra. Despite my
personal endorsements of him (I don't remember him saying anything objectionable in our many hours together),
MEF is better off treating him as a Legal Project beneficiary, i.e., keeping a distance.

Bringing him to the United States is not just logistically infeasible but to close for comfort.

So, let’s take advantage of fundraising and social media opportunities but be cautious about more.
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 EXHIBIT 78
Facebook Post
  by Plaintiff
Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 156 of 446
Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 157 of 446




  EXHIBIT 79
  Message from
   Plaintiff to
    Roman
             Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 158 of 446
From: Lisa Barbounis
Sent: Tuesday, October 09, 2018 3:54 PM EDT
To: Gregg Roman <Roman@meforum.org>
Subject: FW: London 23rd October 2018
Breakdown of TR Demo Costs.


From: Tommy Robinson <tommy2711robinson@icloud.com>
Sent: Tuesday, October 9, 2018 10:47 AM
To: Lisa Barbounis <Barbounis@meforum.org>
Subject: Fwd: London 23rd October 2018



Sent from my iPhone

Begin forwarded message:

      From: Dan Thomas <daniel.thomas123@outlook.com>
      Date: 8 October 2018 at 11:15:41 BST
      To: "tommy2711robinson@icloud.com" <tommy2711robinson@icloud.com>
      Subject: London 23rd October 2018

      From: Ace Pa Hire <info@acepahire.co.uk>
      Sent: 07 October 2018 18:07:47
      To: daniel.thomas123@outlook.com
      Subject: London 23rd October 2018

      Hi Danny

      Ref. Old Bailey London 23rd October 2018

      I have listed enough production to make a 12ft x 8ft stage with 6 speakers on stands around the stage area , 2 gazebos
      behind the stage with some fence around the gazebos / genie and stage steps. ( NO front security fence or canopy for
      the stage )

      Production as follows :-
      Stage.
      1x. 12ft x 8ft Prolyte Stage 3ft High. £150
      3x. 8ft balustrades £60
      1x. Set modular steps £50
      Sound.
      1x. 3kw vocal PA system £300
      1x. Sennheiser hand held radio mic with stand £55
      1x. Media player and iPod cable £20
      1x. Set Audio cables
      Power.
      1x. 30kva diesel road tow generator £350
      1x. 30amp power distribution box £60
      1x. Set mains cables £30
      Back stage.
      2x. 3mtr Sq Black gazebos with sides £100
      8x. Basic folding chairs £00
      Fence.
      9x. Standard steel crowd barriers £90
      Transport.
      1x. Mercedes 4.6t sprinter with Tow bar. £100
      1x. Tank of diesel fuel £90
      Staff.
      1x. Audio technician £250
      2x. Road crew £400
      London charges.
      1x. LEZ charge. £200
      1x. Congestion charge. £11.50

      Estimated total. £2316.50+vat

      Take a look over the list and tell me is this what you are thinking.
      It’s quite a small rig compared to last time and it’s what we can do with one vehicle to keep the costs down. All prices
      plus vat.
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Note.
Personally I think you will need a lot more security fence and sound because of Tommy’s popularity but that will take
more vehicles and staff. I have quoted for the extra production below. Let me know !

Additional security barrier and fencing.
1x. Flat bed 3.5t with 40 Heras with bases and a driver £1000.
1x. Flat bed 3.5t with 40 Crowd barriers and a driver £1000.
Additional sound .
1x. Extra 3kw sound system in the 4.6t sprinter with the tow-bar. £300
( taking out the crowd barrier because it’s on the 3.5t flatbed )

Hope this all makes sense.

Regards

Paul Bavin
Ace pa hire
07973691930

Sent from my iPad
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 EXHIBIT 80
 Message from
  O'Brien to
   Plaintiff
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From: Lisa Barbounis
Sent: Tuesday, October 16, 2018 9:34 AM EDT
To: Marnie Meyer <meyer@meforum.org>
Subject: Re: Tommy
That’s correct. I just asked him. That’s the payment info for the sent invoice.


From: Marnie Meyer
Sent: Tuesday, October 16, 2018 9:30:13 AM
To: Lisa Barbounis
Subject: RE: Tommy

Tell Tommy we are MEF not ATM…I’m not paying anything that isn’t clearly defined. I know you need to keep a good working
relationship with him, but that’s BS.

If you would like I can send him an official email defining our processes and reign him in.

Thanks,

Marnie Meyer
Director of Finance & Operations
Middle East Forum


From: Lisa Barbounis
Sent: Monday, October 15, 2018 10:32 PM
To: Marnie Meyer <meyer@meforum.org>
Subject: Tommy

Tommy sent me this with no explanation. I’ll get the scoop and send it to you.
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    EXHIBIT 81
    Transcript of
    Call with D.
      Thomas
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Daniel Thomas (00:00):
Involvement with us.

Gregg (00:01):
Not just Lisa's involvement with you. What, what, what we have going on right now is an action which
has been a year and a half in the making, and we're largely clueless as to what the United Kingdom angle
is-

Daniel Thomas (00:13):
Okay.

Gregg (00:14):
... because we have one story that we're being told by some people, which just doesn't jive with some of
the other things that we've seen on social media, that we've seen in the press. And we really just want
to know, like, what the extent of her, you know... i- i- in general-

Daniel Thomas (00:29):
[crosstalk 00:00:29].

Gregg (00:29):
... what you may know, you know?

Daniel Thomas (00:31):
Okay. So Lisa, obviously, we, prior to when Lisa first came over, I was contacted by Lisa and made aware
that there was, uh, some money going to be put available for the demonstrations, um, for the Free
Tommy Robinson event in, uh, in Central London. Um, and we spoke m- many times, um, about the
money, uh, about what it was for. We went through that. And obviously, then, um, it was issued to us.
We paid, paid the people that it was, it was, uh, for.

Daniel Thomas (00:58):
And, uh, and on the day that the event actually happened, um, Lisa came over, uh, with a friend. She,
um, she was on the, on the stage. Uh, she thinks she stayed for about a week. And then, um, she, her
involvement was largely, really, on the basis of, um, she started becoming sort of a PA for Tommy and
trying to get him into the US, trying to, um, uh, speak to congressmen to get him, uh, get a visa for, for
him to come over. Um, there was also, I think, money was, uh, given for, for, for court cases, uh, that
Tom had.

Daniel Thomas (01:35):
Um, Lisa came over a few times. Um, I, I did start a, a type of relationship with Lisa, uh, after the second
time she came over. Um, she-

Gregg (01:49):
When, when-
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Daniel Thomas (01:49):
... Yeah.

Gregg (01:49):
... when was that?

Daniel Thomas (01:50):
Uh, I would say, um, uh, uh, probably the second time, so that would have been, uh, the following
month, so June j- I think July, I think, may, I think it was July. It's going back a while, so I'd have to, I'd
have to really think about it. But, um, yeah.

Daniel Thomas (02:05):
She sh- we, we, she was coming over. We were s- we were going, uh, staying at hotels. We, um, she, she
was telling me that she wasn't r- very happy in her job. She was looking at moving over to the, to, to, to,
to the UK. She didn't want to be with her husband. Um, [inaudible 00:02:21] all these things, and-

Gregg (02:22):
Did she pay for those hotels?

Daniel Thomas (02:24):
... Yeah. Yeah. She did. Yeah. Uh, she then invited me to go to Brussels. Um, we had a, um, a meeting
with the, um, leader of, uh, of UKIP, which is Gerard, well, the ex-leader of UKIP, Gerard Batten. Uh,
politician, uh, Anne Marie Waters, uh, who is the leader of the For Britain, uh, political party [inaudible
00:02:43]. And also, um, who else was there? Uh, uh, um, what's her name? Uh, very controversial
woman. Um, can't remember her name. Uh, it'll come back to me.

Daniel Thomas (02:55):
And we, she was inviting me to a conference there, because they were having a conference in Brussels
to [inaudible 00:03:00] with all sorts of coming together and helping each other out. Uh, it was a swanky
hotel. It was a five star hotel, um, all paid for b- by Lisa.

Daniel Thomas (03:09):
Uh, th- then things started getting a bit weird. Uh, Lisa started putting it, like, making, trying to t-
blackmail be into basically being with her, because I, I became very skeptical about who she was and
how she was behaving. Uh, and it sort of, like, worried me. And I wanted to, to end it. And, and she
basically told me that if I did, that she would send every conversation that we'd ever had to, to my, uh,
my, my girlfriend.

Daniel Thomas (03:36):
Um, she also mentioned, um, I'm going to put this out there, Gregg, uh, she did mention something to
me. She said that she had a plan to get money out of, out of the, uh, Middle Eastern Forum. Um, and sh-
there, she said that, uh, she was going to say that you had, you had come onto her and that you, um,
you attempted to, uh, to force her into doing stuff with her and, and that she was going to take it, and
she was going to make a lot of money from it, and she wanted me to be part of that. She wanted to
leave her husband. She wants to come to the United Kingdom.
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Daniel Thomas (04:11):
And I spoke to Tom about it, and I, and, and he said that she's, he felt the same, that there was
something about her that wasn't right. Um, and I, I did, I ended up telling her that w- that I wanted to
finish it. I didn't want to s- speak to her anymore.

Daniel Thomas (04:25):
Um, obviously, her involvement was largely still with Tommy. She was acting as a PA for Tommy in, in all
sorts of senses. Uh, anything that Tommy wanted, she would, she would do.

Daniel Thomas (04:33):
Um, to then, to a point where she was sort of just turning up in the United Kingdom unannounced. We
didn't know she was coming, and she'd just turn up, and, um, again, threatening me that if I didn't
continue the relationship that she would tell my girlfriend.

Daniel Thomas (04:51):
And, uh, and, uh, yeah. So she came over a few times [inaudible 00:04:54] conversations, and then got
to a point where I, um, I just said, "Look. That's it. That's it." And, uh, she then took it upon herself to
basically destroy my life.

Daniel Thomas (05:04):
Uh, she sent everything to, um, to, to my girlfriend, uh, all, all messages, um, pictures of us in hotels, uh,
all sorts of stuff, and became extremely, um, vicious, uh, in the way she did it. She enjoyed it. She, she
[inaudible 00:05:21].

Daniel Thomas (05:22):
So, obviously, I, I got in touch with Lisa and I asked her what she, why she was doing it, and she was
saying, "Look, you don't understand what you're missing out on. I'm about to get this money." Y- You
know. And I just had to drop her out.

Daniel Thomas (05:32):
Um, yeah. I mean, I can go into [inaudible 00:05:35] about more w- but I don't know what you w- how
else you want me to talk about. But that's, that's sort of the short version of it.

Gregg (05:42):
Well, that's, that's-

Daniel Thomas (05:42):
Really.

Gregg (05:43):
... [crosstalk 00:05:43] that's, that's, uh, (laughs) that's quite a story. Uh, I mean, I guess-

Daniel Thomas (05:46):
Yeah.
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Gregg (05:48):
... as a, as an individual, I'm personally interested, did she ever write to you about saying she was going
to make a lot of money? Did she ever convey it in a way that-

Daniel Thomas (05:57):
She would. Yeah. Yeah. She did. But, yeah. She did. But I mean, we, we spoke on Facebook ma- majority
of the time. But obviously, I was, uh, I was censored. I lost everything. So, um, I have n- I have nothing.
Um, Facebook took me down. Twitter took me down. Obviously, along with Tommy.

Daniel Thomas (06:11):
Uh, it was a, it, it was her long term plan. I mean, when we started n- the real sort of, like, being, being
together, sort, if you want to call it that, that was what she was, was looking to do. She said she was
about to get loads of money. She wanted to buy a house over here. She wanted me to move in with her
and, and everything else. Um, and she spoke, she spoke about that quite often, really, because that was
her, her long term plan.

Gregg (06:35):
Did she speak about it with other people besides you?

Daniel Thomas (06:35):
Uh, I think she spoke to s- s- um, I think she would have might potentially spoke to, to Tom [inaudible
00:06:39]. I d- I don't, I can't say for sure, but I know that they, they spoke a lot. I know that he w- he
was aware that she was looking at moving to the United Kingdom, um, but I'm not entirely sure who,
who else would, would have, would have had that information. But I would say Tom p- potentially.

Gregg (06:54):
And, um, do you remember her friend that came with her [inaudible 00:06:56]?

Daniel Thomas (06:56):
Cla- [Clarie 00:06:57]? No. Um.

Gregg (06:56):
Does, does Trisha ring a bell?

Daniel Thomas (07:06):
Tr- Trisha. Yes. Trisha. Yeah.

Gregg (07:08):
And did she speak-

Daniel Thomas (07:08):
Trish. Yeah.

Gregg (07:09):
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... did she speak about similar plans?

Daniel Thomas (07:10):
N-

Gregg (07:13):
Did you ever speak with her afterwards?

Daniel Thomas (07:13):
... Well, Trisha used to contact me, uh, because I never used to s- write. When I started, obviously,
coming away from Lisa, she started contacting me about Lisa, saying, you know, "Don't you realize what
you can have?" And all of that.

Daniel Thomas (07:26):
But she n- never really went into what Lisa told me. She just talked about trying to get me to ring Lisa.
And I remember clearly on Valentine's Day, she was going, "Lisa's crying her eyes out because you
haven't rang her. You haven't spoken to her." And all this. But actually about that, no.

Gregg (07:39):
Okay. And so there's some, uh, text messages that, that we've seen, but do you have any other
communications with her like, uh, WhatsApp or, uh, you know-

Daniel Thomas (07:54):
No. No. I mean-

Gregg (07:56):
... [crosstalk 00:07:56].

Daniel Thomas (07:56):
... Uh, no. I've changed phones t- a few times since then. My number's still the same, but, uh, the
WhatsApp messages are, are not, are not there, because they're not restored.

Gregg (08:06):
Right.

Daniel Thomas (08:07):
I had to delete everything, obviously, with, uh, with what happened.

Gregg (08:10):
Yeah. (laughs) yeah.

Daniel Thomas (08:12):
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And, and (laughs) you know, uh, she, she, she ter- you know, she, she, she [inaudible 00:08:16] upon
herself for three to four months, just bombarding [Jaz 00:08:20], uh, with information about what would
happen between us. Uh, um, so I, I had to delete Lisa out my life in, in its entirety. Um, yeah.

Gregg (08:26):
Can you be a little bit more specific of how she... Y- You said in your, in your email that, uh, your
message, that she, um, tortured you and she enjoyed it.

Daniel Thomas (08:39):
Yeah. So what, what, what she would do is i- is, is send, uh, she wouldn't send everything at once. So sh-
she kept Jaz hanging, hanging by a thread, knowing that there's more. So she would al- she would send
the WhatsApp messages, and then she would say, "But I ca- I'm not going to send you the rest until
another day." Um, uh, she would send pictures. Um, uh, talk about, she used to talk about the positions,
the sex positions that we used to do. And she'd talk about, you know, and, uh, it's, it, uh, all that type of
stuff.

Daniel Thomas (09:09):
And, and, and when I say she ruined my life is the fact that she, she psychologically, uh, damaged Jaz by
knowing that Jaz want, would want to know everything, but not telling her everything at once, waiting
and over time sort of torturing her into, into, into speaking to her about it. And then actually
manipulating her into pretending that she was her friend, uh, and talked about bringing Jaz over to
America.

Daniel Thomas (09:35):
And, um, and then there was, um, obviously, in, I've got to be honest, there was a, there was a situation
in Brussels that happened where, um, I mean, this is quite difficult to talk about, but I want to be honest,
I, I'd have very rough sex with Lisa and, uh, she ended up having a black eye from it. And I don't
remember it.

Daniel Thomas (09:52):
And I felt like I think she had put something in my drink or done something because I, I've never blacked
out. Woke up the next morning, and she's got a black eye. And she's saying during sex, I somehow gave
her a black eye.

Daniel Thomas (10:03):
And obviously, she was relaying that information to Jaz. Uh, it was, it was, she was just so weird at the
end of it. I, I just couldn't work out what she was trying to gain from it, but she was torturing Jaz on a
daily basis and then trying to be her friend [inaudible 00:10:17] and then [inaudible 00:10:17] her
something to sort of like, everything will be fine. Everything will be fine. And then suddenly, she'd bring
something back up. It was just, it was very bizarre. [inaudible 00:10:25] whole thing's just very bizarre.

Gregg (10:28):
I'm sorry. Uh, I'm sorry about, um, that you had to go through all of this. I appreciate you sharing this
with us. Um, (laughs) it hasn't-
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Daniel Thomas (10:42):
But she had it in for you, Gregg. She had it in for you. From, from the time we ever spoke about you, she
wanted your job. And then when she realized she couldn't get the job or something, then she wanted to
go down the route of destroying you, destroying you and making loads of money from it. I had many
conversations about that with her, um, over that, so that w- that's definitely something that was, uh,
was definitely on her, on the plate from very early from me speaking to her.

Gregg (11:04):
... So, um, you know, would she, did she just kind of bring it up out of the air, or was, you know-

Daniel Thomas (11:13):
No. Sh- She, she wanted to move to the United Kingdom after we had become... and she s- she said she
had a plan to make enough money to make that happen. She said her hus- she didn't want to be with
her husband anymore.

Daniel Thomas (11:22):
She didn't, she, she's very bizarre regarding her children. She's, you know, she used to say, "I don't really
miss my kids." And I, and I [inaudible 00:11:28] that was just, like, in my head. It was very bizarre that
someone would say that about their own children, that she goes, "Oh, you know, I don't, I, I don't really
miss them. I, I'm glad I'm here." N- And then, you know, I'm going to get a house. I've got a plan. You
know, I've got a way of making... and then she, that was, that was the initial thing.

Daniel Thomas (11:43):
And then, it went into, well, what are you going to do? Well, you know, Gregg, Gregg. I'll say Gregg's
done this, Gregg's done that. And then I'm going to take it to court and get, and they'll have to pay out.
They'll pay me loads. They'll pay me loads, and then I'll have enough money to do whatever the hell we
want to do.

Daniel Thomas (11:56):
Um, so it was basically talking about a plan of moving over here, and then that developed into explaining
what she was, how she was going to do it to make the money, to get the money.

Gregg (12:04):
What did she, how did she say she was going to do it?

Daniel Thomas (12:09):
It was on the basis of saying that you tried to sexually assault her.

Gregg (12:10):
That's, uh-

Daniel Thomas (12:13):
So, yeah.
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Gregg (12:15):
... [crosstalk 00:12:15] that sounds familiar. (laughs)

Daniel Thomas (12:15):
Yeah.

Gregg (12:15):
There were some other accusations [crosstalk 00:12:17].

Daniel Thomas (12:17):
And she, from, from my, from me knowing, knowing her for that period of time, you could tell that she's,
she didn't care who got hurt or what, what were lies and what was the truth. She just wanted the
money. She wanted to move away from the United States and come into the United Kingdom. And she
said that to Jaz many a time. I'm going to be moving to the United Kingdom, and you can't get rid of me.
Every, all sorts of stuff. So, um, yeah. It was, it was a plan from ver- from very early to, to, to make a load
of money and to come over.

Gregg (12:48):
And so some of the text messages that we've been able to see, um, and Danny, I've got to tell you, we're
not interested in anything dealing with what you might have done, what you didn't do. This is, this is
about people who are saying some pretty bad things about it, so-

Daniel Thomas (13:01):
Yeah.

Gregg (13:02):
... you know, it, the release of everything here is, is that, you know, maybe she had a conversation with
you. Maybe she didn't. Whatever. We're just trying to get to the truth here. So she, um-

Daniel Thomas (13:12):
Yeah.

Gregg (13:14):
... she, in a text message, says that there may have been money which was misappropriated from the
Middle East Forum for a vacation that you took in Ibiza. Now, I, I want to preface this, again, saying that
if, if-

Daniel Thomas (13:27):
Yeah. This-

Gregg (13:27):
... i- i- if it happened, it happened. It's the past.

Daniel Thomas (13:29):
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... [crosstalk 00:13:29] what I was [inaudible 00:13:31] in Ibiza the day I received the 30,000 has got
nothing to do with the money. That, that holiday, that, that [inaudible 00:13:37] my uncle was planned
two or three months before we even went. It happened just to be that the 30,000 was in my account on
the day that I had gone to Ibiza.

Daniel Thomas (13:46):
Now, I was very, very, in contact very closely with Tommy, and Tommy's, uh, Tommy's crew or, or team
about this money and about where it was going. Um, let's be honest. I mean, you know, the, the 95% of
that money went exactly where it meant to go, but I looked after my family.

Daniel Thomas (14:03):
I looked after my family, and I knew, because I wasn't being paid a penny from anyone to the work that I
did, the amount of time and effort I put into the [inaudible 00:14:11] movement and all the events and
all, all the preparations and the police and talking to, you know, the secret service in, in Holland
[inaudible 00:14:17] and talking to all these things, and I didn't have a job. So obviously, there was, there
was money, 5% of that, that would have gone to me, gone to my family.

Gregg (14:25):
Okay.

Daniel Thomas (14:25):
So, and that's the truth. I've got no issues-

Gregg (14:28):
No. No. That's-

Daniel Thomas (14:29):
... with telling you.

Gregg (14:29):
... that's, that's, that's, that's fine. Do, do you think that Lisa would have tried to cover up that
knowledge from us? Did she ever say that to you?

Daniel Thomas (14:39):
Uh, sh- well, she was always going to s- yeah, because obviously, she was in, she told Jaz that she was in
love with me and that she, when she, um, be, on that basis, when she knew that I'd spent some of the
money, she said that there w- you guys wouldn't find out. Not from her, anyway.

Gregg (14:54):
So she actively tried to, I don't want to put words in your mouth, but she-

Daniel Thomas (14:57):
Okay.
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Gregg (15:00):
... actively knew about something that she said she didn't want the Middle East Forum to know, and she
actively covered that up?

Daniel Thomas (15:15):
So on the lines... Wait. One second, babe. Sorry. I've just got my children screaming. Can I give you, can
you give me 30 seconds?

Gregg (15:15):
I, I'm in the same, I'm in the same boat, man. I've got my three downstairs [crosstalk 00:15:17].

Daniel Thomas (15:17):
(laughs) Just give me, just give me 30 seconds. I'll be back. Yeah? 30 seconds. (silence)

Daniel Thomas (16:08):
Oh. Yeah. Sorry. I'm back. So, um, yeah. So Lisa knew that I had had a few thousand pounds and, and she
knew that it didn't go where it was supposed to go. And she said that she would make sure that they,
you guys didn't find out.

Daniel Thomas (16:23):
And she actually threatened me with saying that she was going to try somehow, when I was, I told her I
didn't want to be with her anymore, that she was somehow going to make it come out and fuck my life
up and get me, uh, you know, using that as a, as a way of trying to keep me in contact with her.

Gregg (16:38):
So she was trying to extort you to stay into a relationship?

Daniel Thomas (16:42):
Yes. 100%. 100%.

Gregg (16:50):
Now, did she ever, you know, she, she left her job with the Middle East Forum in, um, August of 2019,
and she went to go work for a member of Congress.
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Gregg:                There's some messages that we have which, uh, basically say, you know I'm a
                      member of con... I'm [inaudible 00:00:07] a member of congress I have
                      influence. Was there anything, like I don't wanna put words in your mouth
                      again-

Daniel Thomas:        No, no, no.

Gregg:                ... did she ever.

Daniel Thomas:        No, no. It- it- it- it- it- it, not to me but I- I think to- to Jas she- she, you know
                      she- she's now in the p... Jas said that she thinks she's now in the pos... power of
                      position. Position of power and that um.... Because I, because I obviously, I- I
                      told Jas everything about how she was and how manipulating she was, and how
                      [00:00:30] she's tried to blackmail me to, into staying with her. And then
                      obviously Jas then contacted her, and you know I know about this, I know about
                      that. And then Lisa used to, you know three o'clock in the morning she'd be
                      drunk in- in Vegas or wherever the hell she was, and she would say "Do you
                      know who I work for now" and all this. And you know "You wanna fuck with me
                      Danny, you wanna fuck with me Danny I'll fuck you, I'll fuck your life up, you
                      don't know whe- who I'm working for". So she mentioned it that- that, yeah. But
                      not- not like specific things, that, just blasé saying, [00:01:00] you know, I'm in a
                      position of power, if you wanna fuck with me you- you try.

                      'Cause I was saying this is crazy, I was saying she is, she's fucking nuts. And I was
                      try... I was telling that to Jas and Jas was writing to her saying Danny's told me
                      you're absolutely crazy bla bla bla and she's like, yeah. So that [inaudible
                      00:01:12] I used to get drunk phone calls telling me that she was now a high
                      ranking member of whatever, and that if I wanted to fuck with her she would
                      ruin my life even more.

Gregg:                So she- she tried to instill a sense of fear in you?

Daniel Thomas:        Ah, and I was, because I was losing my family. I was losing everything because of
                      her. [00:01:30] And she's get [inaudible 00:01:32], it wasn't where she was just
                      contacting Jas and telling her everything, she was staying in contact with her,
                      and using it as a way of making sure that mine and Jas' relationship would
                      never, would never resume as normality because she kept contacting her, oh by
                      the way did you know, did you know. So, strange, very strange. Strange
                      individual.

Gregg:                Did you ever think of blowing the whistle on Lisa and telling [inaudible 00:01:59]
                      about it?

Daniel Thomas:        Well Jas did yeah, Jas, I think Jas, Jas, 'cause I remember Jas [00:02:00] con...
                      tried to contact you, and tried to tell you, and h- Lisa s- told me that she had to
                      run into your office and take the, take the voicemail off your phone.



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Gregg:                She took the voicemail off my phone?

Daniel Thomas:        Yeah. So you had a, o- o- in your office, I'm guessing that you had a voice note-

Gregg:                Yeah.

Daniel Thomas:        ... voice, uh, thing from Jas saying, you know, she's doing this, she's doing that.
                      And then Lisa found out and went into your office and- and deleted it off your
                      phone.

Gregg:                So Lisa actually, are- are there any other instances that you know about about
                      Lisa and her victims, uh, provision of information [inaudible 00:02:31] [00:02:30]
                      about what?

Daniel Thomas:        Um. Not off the top of my head, that was one that sort of sticks out. Um, but, I
                      know, I don't, I- I, no. No, not at this time no. Not that I can think of.

Gregg:                Okay. Um, so Jon and Sid are- are the, I'm just the guy asking the questions
                      tryna figure out what happened here, but Jon and Sid are the ones who know
                      the- the law and whatever else, you mind if they ask a few questions?

Daniel Thomas:        Of [00:03:00] course, no problem.

Gregg:                Uh Sid?

Sid:                  Sure. Um, in terms of the timeframe, are you able to, um, when you say she
                      called Jas and made it clear to her that she had this position with the congress
                      person. And you also mentioned that she also says that to you, that she has this
                      power now that she's hooked up with this person from the congress, can you
                      recall when that conversation took place?

Daniel Thomas:        I'd have to speak to Jas, and I am seeing her tonight. [00:03:30] I can uh, I can, I-
                      if you, if Gregg writes me these questions on a, on WhatsApp I will get...
                      because Jas will know more than me. She- she her- her brain was so sub, you
                      know so baffled, like done by it that she will remember. I, off the top of my head
                      I can't if I'm honest.

Sid:                  W- w- when- when is the, when is the last time you heard from Lisa?

Daniel Thomas:        Probably... du, du, du, du, du, February, this year.

Sid:                  This year, what was that, what was the, what was that conversation about?

Daniel Thomas:        Uh it was [00:04:00] actually about Lisa trying to threaten that she was gonna
                      tell people that I'd beaten her up in a hotel in Brussels.




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Sid:                  Mm. What- what happened with that by the way, there's conflicting stories
                      about what happened in Brussels with these-

Daniel Thomas:        Well I've got, I- I mean yeah. I mean I- I- I- I- I- I've got, um, people that she's
                      spoken to that she, oh it- it was just rough sex. Uh, we'd been drinking with-
                      with some politicians throughout the night, I'd obviously drunken a lot, I don't,
                      never blacked out before in my life. [00:04:30] And then suddenly woken up and
                      Lisa's at the hospital, and I actually, to this day, you know I'm not sure, but I- I
                      can      be certain that she hit herself, and then made out that I'd hit her-

Sid:                  Wow.

Daniel Thomas:        ... to- to- to have that, to have that hold over me. And I'm telling you now, she's
                      capable of that. A hundred percent because I just, 'cause she's said to, I- I don't
                      want to go into detail it's a bit weird but, sh... you know I- I- I when I get rough
                      having sex I never clench my fist, I you, you know I- I- I've- I don't, and to have
                      that sort of injury [00:05:00] that it looked like it just didn't make sense at all to
                      me. And then she woke up she went "No don't worry about it [inaudible
                      00:05:06], just make sure you don't, you look after me now, make sure you look
                      after me and don't leave me", and I was thinking oh hold a minute. You- you've
                      seen me fallen asleep and you thought of something, because I told her that
                      night that this was, this was gonna be the last time that I would see her.

                      Um, and then she said well, and then- then February, in February where she was
                      talking to Jas she was saying "Well Danny be careful". Because I was telling Jas
                      that she's nuts and Jas was relaying that, and she said "Danny be careful 'cause
                      I'll tell everyone that you- you beat me up in hotel room in Brussels". Yeah but
                      you know [00:05:30] that's not true Lisa. "Yeah but it doesn't matter, people will
                      think, will think that. Think about what your life will be like after that". So, yeah.
                      Crazy.

Sid:                  When she, when she, when she was in Brussels did she have her children there?

Daniel Thomas:        No. No, no, no.

Sid:                  One other question, when- when she was, when- when she was threatening you
                      and, about the fact that she didn't want it to get back to Gregg and whatever
                      the story was, did she mention that she had, uh, uh, either solicited or
                      [inaudible 00:05:55] some other women to [inaudible 00:05:57] file claims
                      against Gregg as well?

Daniel Thomas:        [00:06:00] No.

Sid:                  Do you know the name Trish, uh, Patricia [McNoldy 00:06:03]?

Daniel Thomas:        Yeah I've met her.



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Gregg:                That's the one that, uh, had that [inaudible 00:06:06].

Sid:                  Just tell me, what- what, did she ever reference her in terms of she's gonna
                      make a claim also or, you know or s- words to that effect?

Daniel Thomas:        I can't recall. Can't recall.

Sid:                  How about, how about, um, [Marnie 00:06:20] O'Brien. Does that name ring a
                      bell [inaudible 00:06:23]?

Daniel Thomas:        [Marnie 00:06:23] O'Brien, is that, isn't that the women that does the, deals
                      with the money?

Gregg:                Yeah yeah-

Daniel Thomas:        In the-

Gregg:                ... she's the controller.

Daniel Thomas:        [00:06:30] Yeah, that name does ring a bell, she did something was something
                      about that but I couldn't recall exactly what, I'm not sure if it was about
                      allegation. But I, I know the, no. I- I- I can't, I don't wanna say it 'cause I can't
                      remember, but I know that name was mentioned.

Sid:                  Did she ever tell you that she actually filed a formal legal complaint against, uh,
                      against Gregg, and the, and the [inaudible 00:06:49]?

Daniel Thomas:        She said that that's- that's the- the end. When- when- when all this is over, the
                      Tommy stuff is all over, that's what's gonna happen, she's gonna file a sexual
                      complaint, a sexual [00:07:00] assault complaint against Gregg, to- to get money
                      out of them [inaudible 00:07:03] just to set her life up. Here in the UK.

Sid:                  So, so I think you said that when you got the cheque for 30 grand, 95% of it
                      went for Tommy's, you know-

Daniel Thomas:        Yep.

Sid:                  ... area, but you kept 5% of that money for yourself?

Daniel Thomas:        To move my family out of a-

Sid:                  Yeah.

Daniel Thomas:        ... out of, out- out- out of of a place I, we were living in a, in a flat, in a tiny flat in
                      the middle of a very horrible area, and I used 5% of that money to move my
                      family into a house.



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Sid:                  Was she, was she aware that you [00:07:30] had retained that 5%?

Daniel Thomas:        Yes.

Sid:                  Okay. And, um, did, when she learned that you had kept the 5% what did she
                      say exactly? If you can recall?

Daniel Thomas:        Well I can't remember exactly what she said but I know on a basis of her saying
                      that, you know you did the right thing, you moved your family out and I- I'll
                      make sure they don't find out.

Sid:                  Yeah. Did she ever tell you that, that there was a, she ever bring that issue up
                      again? [inaudible 00:07:53] I think you talked about trying to-

Daniel Thomas:        She [00:08:00] thre-

Sid:                  [crosstalk 00:08:02].

Daniel Thomas:        She, yeah she. Yeah but- but she- she, it- it was for... it was brought up, but it- it
                      was ended pretty quickly because she knew that she- she'd sort of participated
                      in making sure that you guys didn't find out.

Sid:                  Oh really?

Daniel Thomas:        And- and she- she's- she- she, um, she was sending me money all the time.

Gregg:                She sent you money?

Daniel Thomas:        Oh she sent me thousands of [inaudible 00:08:14] pounds.

Gregg:                Really?

Daniel Thomas:        Yeah yeah yeah. Yeah. To keep me like, keep me, she, when- where, she- she
                      paid for the flights, uh the- the, sorry the- the Eurostar to Brussels, I, she paid
                      for my Christmas in- in 2000 and uh, in 18 she sent me a thousand pound. She
                      was, she was giving me her credit card when I was in [00:08:30] Brussels. I was
                      using, I, she was, yeah, yeah.

Gregg:                Did she uh-

Daniel Thomas:        And that, yeah.

Gregg:                Did she, uh, ever ask you for receipts?

Daniel Thomas:        No, no, no.




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Gregg:                You know we have an email, we have an email that your father, Russell Thomas,
                      sent to her-

Daniel Thomas:        Yep.

Gregg:                ... in November of 2018.

Daniel Thomas:        Yep.

Gregg:                Uh, did she ever respond to him?

Daniel Thomas:        I think so. I think she did yeah, I thought, I, again I can ask that question.

Gregg:                [crosstalk 00:08:56], did you get that email?

Daniel Thomas:        I could ask, I can find out. I can find [00:09:00] out.

Gregg:                All right. We'll put this, we'll put this all in writing.

Daniel Thomas:        Yeah if-

Gregg:                [crosstalk 00:09:02].

Daniel Thomas:        ... you can just give me a summary of what you want-

Gregg:                Yeah.

Daniel Thomas:        ... in a, in a WhatsApp and uh, and I'll get on it.

Gregg:                I just wanna say thank you for speaking with us, I feel like-

Daniel Thomas:        No, no problem.

Gregg:                [crosstalk 00:09:06] talking.

Daniel Thomas:        Yeah. It, you- you're dealing with a very- very special specimen of woman with
                      Lisa. She's a very-

Sid:                  (laughs).

Daniel Thomas:        Yeah. You really are. And I've never met someone that, you know she's- she-
                      she- she- she's capable of, of a lot, and she doesn't care who gets hurt in the
                      process. Um, yeah, so.

Sid:                  When- when you were, when you were with her, this is uh [inaudible 00:09:30]
                      [00:09:30] again, did she ever do any drugs, or-


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Daniel Thomas:        Yes.

Sid:                  ... making her just.

Daniel Thomas:        Yes.

Sid:                  What kind, what kind [crosstalk 00:09:35]?

Daniel Thomas:        Cocaine. Cocaine, all the time. All the time.

Sid:                  Cocaine?

Daniel Thomas:        Yeah.

Sid:                  Do you think she was a cocaine addict?

Daniel Thomas:        Right every time we were, every time she, I saw her, every time we were out,
                      she would ask me to get in and we would do cocaine all night.

Sid:                  And how, in- it [inaudible 00:09:50] of doing it every night we [inaudible
                      00:09:51], what were the quantities that were purchased? We talking like uh
                      [crosstalk 00:09:55]-

Daniel Thomas:        Three, four grams.

Sid:                  Three, four grams?

Daniel Thomas:        No, three, so- so- so you're talking maybe three to four hundred [00:10:00] a
                      night. Pounds.

Gregg:                So about five, six hundred dollars worth of cocaine every evening?

Daniel Thomas:        Yes.

Sid:                  Was she talking another, any other medicine [crosstalk 00:10:12]?

Daniel Thomas:        Yes, um, some- some- some- some- some type of, um, pills that were on the
                      basis of making you feel like you were on, sorry bare with me one second, give
                      me [00:10:30] 10 seconds, give me 10 seconds.

Sid:                  [crosstalk 00:10:48].

Daniel Thomas:        Mason.

                      [00:11:00] Yeah hi sorry I'm back. Kids, they've got, I've got, I've got full custody
                      of my three- three young children so, uh, my life is, uh, crazy right now.



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Sid:                  Ah.

Daniel Thomas:        [00:11:30] But um, yeah, yeah I know. But um yeah prescription, she had a- a
                      cocktail of prescription, not- not prescription 'cause they weren't. She said she
                      had a, uh, someone that could get this stuff for her and it was like, um, it would
                      make you feel like you're- you're taking, uh, cocaine. It was a white bottle. She
                      used to have quite a lot of it, but in bottles that were, that were prescribed, like
                      written like paracetamol or ibuprofen, but insider were these- these tablets.
                      And she used to get, she was addicted to them. Every day. Every day.

Sid:                  [00:12:00] We talking painkillers, we talking, um.

Daniel Thomas:        Uppers.

Sid:                  Uppers.

Daniel Thomas:        So-

Sid:                  Uppers.

Daniel Thomas:        Yeah.

Sid:                  Uppers. Okay. Um... all right well, I, Gregg is there anywhere you wanna
                      [inaudible 00:12:13], you tell me [crosstalk 00:12:13]-

Gregg:                No, um, Jon- Jon is on the phone, I think he's muted. I don't know if Jon has any
                      questions?

Jon:                  Uh I unmuted. Um, the only thing I would ask, uh Danny, and- and I'll echo
                      Gregg in saying we very much appreciate all of the time and help.

Daniel Thomas:        Yeah, [00:12:30] no problem.

Jon:                  Is, was it, when Lisa would talk about this plan to- to come up with money from
                      the Middle East Farm in order to move over to- to the UK.

Daniel Thomas:        Mm-hmm (affirmative).

Jon:                  Was it, was it always sort of the same approach, or did it ever change, would
                      she ever come to you and say, something happened with my plan over the
                      weekend and I made progress? Or, you know, oh it's, we had a setback? I mean
                      did she ever say anything more to you than just, I'm gonna get money from MEF
                      by claiming Gregg [00:13:00] assaulted me?

Daniel Thomas:        It- it, the story never really changed, the concept of the story never really
                      changed. It was always she was waiting for the right time. She said that she was,
                      she, thi... She wanted to see where things were, how things were gonna


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                      progress going though. Um, but she said that things, yes there were times
                      where she said things- things said something. She never went into detail what-
                      what she was on about, but she used to say that, oh I'm close to it, you need to
                      tell me if- if you're gonna be move in with me, I need to do this soon. It was
                      always that, it was, [00:13:30] it was the head of the conversation because she
                      was trying to make me aware that I, she was so serious about this, and that she
                      was talking about buying me a cars and- and taking me on like exotic holidays,
                      and- and trying to yeah. But it- it was always the same concept but she- she
                      always seemed very... Towards the end she seemed very panicked about it.
                      About tryna get me to agree to be with her because the plan was about to be
                      executed.

Jon:                  Got it. Got it.

Daniel Thomas:        Yeah, yeah.

Jon:                  Um, and, so a- along those [00:14:00] same lines, did it feel to you like, and I
                      apologize if I'm sort of re-stating what you've already said, but did it feel to you
                      that like she was, she was kind of dangling this in front of you as an inducement
                      to continue in the relationship?

Daniel Thomas:        Absolutely. 100%. 100%.

Jon:                  Okay.

Daniel Thomas:        And that was what the money, the money the- the money thing. You know, uh, I
                      would talk about [inaudible 00:14:24] I can't do this, my kids I- I don't, I can't
                      leave my kids. It's like look, look, look, let me send, I'll send you a thousand,
                      [00:14:30] a thousand right now, go and get yourself something nice and all this.
                      You know it was, it was that- that, towards the end it was all about trying to pay
                      me off to stay with her, because-

Jon:                  Got it.

Daniel Thomas:        ... she couldn't be in- in, she said when- when- when the plans comes together
                      she said she doesn't want to be in the United States. She wants to take the
                      money and she wants to come away from the United States. Um, so she was
                      trying, uh, establish having a boyfriend, having a life, in the United Kingdom so
                      that when the e- plan was-

Jon:                  Yeah.

Daniel Thomas:        ... executed, yeah, yeah, okay.

Jon:                  Got it. That makes perfect [00:15:00] sense to me. That- that's the main thing
                      that I had. Sid covered the rest of what, uh, I had notes to ask, so.



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Daniel Thomas:        Cool.

Gregg:                Danny, if we put this in writing, would you be willing to sign your name to it?

Daniel Thomas:        Uh, it depends what, I mean again Lisa's a very dangerous individual for me, and
                      uh, I mean, potentially, I mean I- I- I- I, the reason I- I'm helping you is because
                      she, my- my girlfriend is, well my ex-girlfriend is so damaged by Lisa. [00:15:30]
                      M- my, she has to go to counseling because of Lisa. It's that damaging, the- the
                      impact that Jas... that Lisa had on Jas because I didn't want to be with her was,
                      it's effected not just her but my children, my lifestyle. And to a point where Jas
                      has actually became addicted to drugs, has now lost her children and I have full
                      custody. Um, and that's all based on- on- on Lisa. And I would, um, so going back
                      to would I sign it, I'd have to think about it. I'd have to think way up the- the-
                      the, more, I would say 70/30 [00:16:00] I would sign it. [crosstalk 00:16:02].

Sid:                  Can I ask, I have a question for you. How about if we, uh, had a conference call
                      with Zoom. Would you be, and we asked you these questions under oath, would
                      you have any problems giving a statement under oath?

Daniel Thomas:        Again, if you give me 24 hours to think about it, weigh it up, talk to Jas.

Sid:                  Okay.

Daniel Thomas:        Um, but- but I- I don't, I probably would yeah. Yeah.

Sid:                  Okay good good. That's fair, that's fair.

Daniel Thomas:        She- she- she needs to be, she needs to be stopped from what she's doing. She's
                      a horrible, horrible person, [00:16:30] um, and- and- and if I can help to bring
                      the truth to light without damaging myself and my family any further then I w- I
                      will do that.

Sid:                  Great. Well thank you.

Gregg:                Danny, thanks a lot. And listen-

Daniel Thomas:        No problem.

Gregg:                ... these guys are, uh, they'll be in touch.

Daniel Thomas:        Sure.

Gregg:                If there's anything else but, yeah. Uh, hopefully when this is all over we uh talk
                      under better circumstances.

Daniel Thomas:        Yeah sure. Sounds good.



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This transcript was exported on Jul 13, 2020 - view latest version here.


Gregg:                [00:17:00] All right thank you very much.

Sid:                  Thanks.

Jon:                  I appreciate your time Danny. Thank you.

Sid:                  No problem, I'll speak to you soon. Take care guys. Bye bye.

Gregg:                Bye bye.




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 EXHIBIT 82
 Deposition of
 Marnie Meyer
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   EXHIBIT 83
   Message from
     Plaintiff
     Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 189 of 446




From:                   Lisa Barbounis
Sent:                   Tuesday, October 30, 2018 3:47:27 PM
To:                     Gregg Roman
Subject:                Today


Gregg,

In response to what happened today I wanted to let you know what has transpired and how I am
feeling.

I took this job because I was told it was flexible and there was a great culture here. What has transpired
over the last year has been anything but. I am constantly monitored and micromanaged.

Today around noon I was having a conversation about the Tommy Robinson event with Tricia prior to
our call. I shut the door because I am constantly being reprimanded for being loud and was trying to be
respectful. (I would like to note that the only person who has an issue with my loudness is Marnie)
Marnie proceeded to ask Matt why we were in my office with the door closed making a big deal about
nothing. This is not the first occurrence. I am constantly monitored and singled out about my time in
the office.

I take a shuttle to the office in the morning and it does not always running on schedule. I also have two
small children that occasionally make morning departures difficult. But you can guarantee that once
every two weeks Marnie calls me in her office to speak to me about my time. She claims you view her
as a manager and she needs to deal with people being late. Conveniently forgotten are the late night,
weekend, early morning hours spent working at home. You has always said not to be concerned about
time as long as the work is being done.

I feel that Marnie targets me and has made it her mission to “reel me in” because she has said as much.
Additionally, when others are being loud no one, including Marnie, ever says a word to them. As a
prime example, yesterday as I was writing a letter for Lord Pearson multiple people were outside my
office being incredibly loud. I said nothing, and Marnie said nothing. However, today when I was
irritated about a work situation and finished my sentence as Tricia walked away, of course Marnie didn’t
wait two seconds to come into my office and reprimand me. I repeated these same concerns I am
stating now - that she only targets me. She proceeded to march into Matt’s office and tell him he “has a
big mouth” and left the office slamming all the doors on the way out.

I know that I am being targeted. We have one employee who comes in late and leaves early every single
day, and no one says a word. When others are loud no one says a word. There is a clear and obvious
double standard and I am becoming very uncomfortable. I am held to one standard and everyone else is
held to another.

We all know that this is not the first occurrence of her singling me out. I am fearful that with Marnie as
the HR person my job is in jeopardy. I believe this because when after we were in your office talking
about my position a few weeks ago Marnie said to me “you are lucky its not me because I would not
have given that to you”. She also said, that she told you, that you should “deal with my attitude before
offering me any additional work”. I can’t work with my HR manager acting as my boss and monitoring
every little thing I do.
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I have no recourse because my issue is with the HR manager.


Sincerely,

Lisa Barbounis
Executive Liaison
Middle East Forum
O: 215.546.5406 x102
C: 215.910.2154
F: 215.546.5409




Please subscribe to our newsletters here!
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        EXHIBIT 84
       Message from D.
            Pipes
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   EXHIBIT 85
   Email from R.
 Thomas to Plaintiff
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  EXHIBIT 86
Email from Plaintiff
  to R. Thomas
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     EXHIBIT 87
    Guardian Article
3/1/2021                      Anti-Islam activists get key roles
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     News Opinion Sport Culture Lifestyle




     UK Independence party Ukip

           This article is more than 2 years old

     Anti Islam activists get key roles in 'family friendly'
     Brexit march

     Josh Halliday North of England correspondent
     Fri 7 Dec 2018 11.00 EST

     A “proudly anti-Islam” Australian activist and a YouTuber who sent a rape tweet to a
     Labour MP have been handed prominent roles at a “family-friendly” Brexit rally due to
     take place in London on Sunday, the Guardian has learned.

     Avi Yemini, who described Islam as a “barbaric ideology” that had taken over England
     and described Muslim countries as “Islamic sh**holes”, has ﬂown from Australia to
     cover the event on social media at the invitation of Tommy Robinson, the activist who
     is organising the event alongside the Ukip leader, Gerard Batten.



https://www.theguardian.com/politics/2018/dec/07/anti-islam-activists-get-key-roles-in-family-friendly-brexit-march                                1/5
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     Yemini’s attendance is being funded through online donations in partnership with the
     Canadian far-right website the Rebel Media, which previously employed Robinson.

     Ukip has insisted the rally will be a family-friendly demonstration against what it called
     “the great Brexit betrayal” being pursued by Theresa May’s government. But the
     Guardian has learned that one of the key conﬁrmed speakers is a man who has accused
     opponents of “acting like a bunch of [N-word]” and sent a rape tweet to the Labour MP
     Jess Phillips.

     Carl Benjamin, 39, who uses the alias Sargon of Akkad, is a political commentator who
     has gained more than 860,000 subscribers on YouTube by making videos criticising
     feminism, Islam and political correctness. He joined Ukip in June as part of the party’s
     attempt to attract internet-savvy supporters.

     The prominent roles of both men at the rally will alarm those inside Ukip who have
     expressed growing unease about the party’s relationship with Robinson and his
     associates.

     Nigel Farage quit Ukip this week after 25 years, blaming its anti-Muslim “ﬁxation”,
     while the former deputy chair Suzanne Evans, the former leader Paul Nuttall, and
     MEPs Patrick O’Flynn, Bill Etheridge and William Dartmouth have also quit following
     Batten’s decision to appoint Robinson as an adviser.

     Robinson, whose real name is Stephen Yaxley-Lennon, has been raising funds for this
     Sunday’s “Brexit Betrayal” rally by emailing supporters directly, asking for donations
     towards the £8,000 cost of stage and sound equipment.

     Several members of Batten’s inner circle are closely involved with organising the rally,
     which is due to begin outside the Dorchester hotel and end outside Downing Street.
     Robinson posted a picture on Instagram from a planning meeting last week which
     showed the Ukip leader alongside his personal assistant, Liz Phillips, his adviser
     Lawrence Webb, and the party’s head of communications, Kris Hicks.




https://www.theguardian.com/politics/2018/dec/07/anti-islam-activists-get-key-roles-in-family-friendly-brexit-march                                2/5
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        A meeting of the ‘Brexit Betrayal’ rally organisers in late November. Photograph: Handout

     A senior executive of the Middle East Forum, an inﬂuential US thinktank which helped
     bankroll Robinson’s legal ﬁght and protests, was also at the meeting and has been
     closely involved in rally preparations, the Guardian has learned.

     Lisa Barbounis, the executive liaison oﬃcer to the MEF president, Daniel Pipes, is
     expected to attend the rally. She previously addressed crowds outside the Old Bailey
     after Robinson’s most recent court appearance.


                   Middle East Forum Speech - Old Bailey - Tommy Robinson Support




https://www.theguardian.com/politics/2018/dec/07/anti-islam-activists-get-key-roles-in-family-friendly-brexit-march                                3/5
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        Barbounis addressing crowds in London earlier this year

     A Ukip spokesman conﬁrmed Barbounis’ involvement in the meeting and said she was
     “just recording the meeting to report back to them [the Middle East Forum]”. He said
     the MEF were “very interested in the topic Tommy Robinson discusses and Brexit and
     the future prospects of the country”.

     However, Pipes denied the forum was “in any way connected” to the Brexit rally.
     Barbounis was in London “on her own initiative and attended the planning meeting in
     a personal capacity”, he said.

     One senior Ukip insider described the rally as “crazy” and said 200 members had quit
     the party on Friday night in protest at its association with Robinson. “If it all goes
     wrong, and I think it will, then Gerard should walk or be pushed,” the insider said.

     Benjamin gained notoriety in 2016 when he was accused of instigating a misogynistic
     trolling campaign against Phillips, the Labour MP for Birmingham Yardley. “I wouldn’t
     even rape you,” he tweeted at Phillips, reportedly prompting hundreds of threatening
     tweets against her, including rape and death threats from his followers. He has since
     been banned from Twitter.

     In a livestream recorded in February, Benjamin appeared to lose his temper at
     commenters. “You are acting like a bunch of [N-word], just so you know. You act like
     white [N-word],” he said. Benjamin insisted his comments had been taken out of
     context.

     Yemini, who describes himself as “proudly anti-Islam”, gained more than 100,000
     followers on Facebook after posting inﬂammatory videos, before being banned from
     the social network earlier this week.

     The Israeli-born activist says he was a sniper in the Israeli Defence Forces and that he
     served in the Gaza Strip. He is standing in upcoming elections for the far-right
     Australian Liberty Alliance party, which has acknowledged donating to Robinson in the
     past.


https://www.theguardian.com/politics/2018/dec/07/anti-islam-activists-get-key-roles-in-family-friendly-brexit-march                                4/5
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     His arrival in Britain was welcomed by Daniel Thomas, who was jailed for two years in
     2016 for attempted kidnap and is organising the rally with Robinson and Ukip. He
     posted a picture of Yemini on social media with the message: “My favourite Nazi Jew
     Avi has arrived #SundayFunDay #TheGreatBetrayal”.

      Since you're here …
      ... we have a favour to ask. Millions are ﬂocking to the Guardian for open,
      independent, quality news every day. Readers in all 50 states and in 180 countries
      around the world now support us ﬁnancially.
      With a new administration in the White House, America has a chance to reset. The
      pandemic has laid bare the country’s gaping inequalities, but new leadership has a
      historic opportunity to address the country’s deepest systemic challenges, and steer it
      toward a path of fairness, justice and stability.
      It won’t be easy. Misinformation, white nationalism, and crackdowns on voting rights
      remain clear threats to American democracy. The need for fact-based reporting that
      highlights injustice and oﬀers solutions is as great as ever. In 2021, the Guardian will
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           Support the Guardian                                      Remind me in April




https://www.theguardian.com/politics/2018/dec/07/anti-islam-activists-get-key-roles-in-family-friendly-brexit-march                                5/5
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    EXHIBIT 88
 Messages between
Plaintiff and D. Pipes
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 Lisa Barbounis
 18 April 2018
 DP
 14:50
 Daniel Pipes
 I worked on it
 19 April 2018
 DP
 18:01
 Daniel Pipes
 Dennis Ross replied: Sorry to miss it, I will be out of town.
 24 April 2018
 DP
 16:48
 Daniel Pipes
 I put in my office days, every Friday from May 11 to June 15.
 26 April 2018
 DP
 19:48
 Daniel Pipes
 Hi. Unless I have it wrong, we have two interviews at the same time, 2:00-2:30 tomorrow: Todd
 Bensman and Michael Fechter
 LB
 19:49
 Lisa Barbounis
 I will double check the schedule with Thelma in the morning. She made all of the arrangements.
 DP
 19:49
 Daniel Pipes
 thanks
 LB
 19:58
 Lisa Barbounis
 I just searched back through the emails. Michael Fechter was unavailable for tomorrow and asked to
 reschedule for Monday.
 19:59
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 19:59
 I believe this is the schedule for tomorrow.
 DP
 20:36
 Daniel Pipes
 Ah, Fechter is next Tuesday
 9 May 2018
 DP
 12:58
 Daniel Pipes
 Are we serving any food at 2 PM?
 LB
 19:11
 Lisa Barbounis
 I’m sorry I just saw this. I knew you were looking for food and had Samantha send it over. I hope you
 got it.
 DP
 20:46
 Daniel Pipes
 thanks, I did.
 10 May 2018
 DP
 16:02
 Daniel Pipes
 Lisa Barbounis
 Cancelled
 16 May 2018
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 12:25
 DP
 Daniel Pipes
 Hi, did my suitcase come back from the shop?
 LB
 12:26
 Lisa Barbounis
 Yes. I believe it’s in your office.
 DP
 12:26
 Daniel Pipes
 thanks
 17 May 2018
 DP
 18:02
 Daniel Pipes
 Lisa Barbounis
 Outgoing (30 seconds)
 29 May 2018
 DP
 16:23
 Daniel Pipes
 Hi, I can't find Stacey on Telegram, could you ask her to contact me here?
 LB
 16:29
 Lisa Barbounis
 I will contact her now
 LB
 16:47
 Lisa Barbounis
 I left her a message on her cell phone and sent her a text message. Please let me know if can be of
 assistance.
 DP
 16:48
 Daniel Pipes
 Thanks. I want to make fundraising calls but none of the Salesforce links are working.
 LB
 16:51
 Lisa Barbounis
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 Matt is going to resend the email. Please let me know if the new links work.
 16:52
 If not, let me know what error message you are receiving and we will troubleshoot.
 DP
 21:03
 Daniel Pipes
 tried the first one, still does not go through.
 21:03




 21:03
 for the Becker Foundation meeting: let's at least consider TWI
 21:04
 sorry, that' smeant for Gregg
 21:04
 The Becker bit
 LB
 21:08
 Lisa Barbounis
 We will get it to work. I sent the error message to matt and Stacey
 30 May 2018
 LB
 13:53
 Lisa Barbounis
 Lisa Curtis
 5 June 2018
 LB
 12:32
 Lisa Barbounis
 The corner bakery is located at 1701 JFK blvd. I apologize for the error
 12:33
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 12:33
 The internet had the incorrect location address
 7 June 2018
 LB
 16:21
 Lisa Barbounis
 Dr. Pipes. Gregg mentioned you may want to cancel lunch tomorrow. I am just confirming so Tricia
 can cancel the order.
 DP
 19:29
 Daniel Pipes
 It’s now back on. Sorry for the trouble. Let’s say 12:30.
 LB
 20:45
 Lisa Barbounis
 Thank you. See you tomorrow
 9 June 2018
 DP
 14:48
 Daniel Pipes
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 16:43
 DP
 Daniel Pipes
 your assessment of the day?
 LB
 16:50
 Lisa Barbounis
 Good crowd given the police were preventing people from entering. I would estimate 10k. They
 wouldn’t allow the big screen that was supposed to be behind the stage through the crowd. Wilders
 also had trouble getting through, so he spoke late. His speech, Liam Tuff’s and Raheem’s really got
 the crowd going. For the time we were there, it was very peaceful.

 I am very disappointed in the media coverage. Most are saying the event was cancelled. It appears as
 if they would have long reported had it gone terribly wrong.
 DP
 16:59
 Daniel Pipes
 Thanks for the report. I was wodnering about the screen. Once the violence began, so did the media
 coverage, which is pretty huge at this point.

 For comic relief: https://metro.co.uk/2018/06/09/tommy-robinson-protesters-naked-bike-riders-
 accidentally-merge-glorious-7619017/amp/
 19 June 2018
 DP
 12:26
 Daniel Pipes
 If you one, could I get a schedule of meetings in Israel? I am so focused on Poland (22 meetings) and
 Hungary (9 so far) that I am passive about Israel
 LB
 12:47
 Lisa Barbounis
 Rachel is working on it as we speak. I just sent out additional requests. I will likely have a final draft
 for you by Friday. If you would like the current meeting schedule I can send that to you incomplete.
 DP
 13:27
 Daniel Pipes
 yes, if you could sent me the schedule every few days, that would be helpful
 13:27
 *send
 LB
 13:28
 Lisa Barbounis
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 I will be sure to do that
 11 July 2018
 LB
 14:48
 Lisa Barbounis
 Dr. Pipes,
 Raheem sent me the following message regarding Geert Wilders. Gregg asked that I forward it to you.

 Geert: “UK Ambassador in The Hague just informed the Dutch authorities that they will not provide
 for my security in London this Saturday and will not give the Dutch diplomatic police weapon permits
 either, so unfortunately I cannot attend nor speak at the FreeTommy rally in London.”
 DP
 14:50
 Daniel Pipes
 thanks
 1 August 2018
 DP
 19:40
 Daniel Pipes




 LB
 19:42
 Lisa Barbounis
 Thank you! I’m so happy he is out. As an aside, I have been tracking the social media influence and
 we are at 29.5 million views for Tommy Robinson and MEF!
 DP
 19:43
 Daniel Pipes
 You are kidding
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 LB
 19:43
 Lisa Barbounis
 No! I’ll show you the charts tomorrow.
 19:44
 I believe Sam’s USAID piece has around 2 million
 DP
 21:57
 Daniel Pipes
 https://twitter.com/DanielPipes/status/1024796011603128322
 LB
 22:03
 Lisa Barbounis
 I heard he might have been on Tucker tonight. I’m staying up to see.
 22:04
 When I was there everyone around him had nothing but praise for you and your support for Tommy.
 DP
 22:07
 Daniel Pipes
 nice to hear.
 2 August 2018
 LB
 20:46
 Lisa Barbounis
 Tommy just thanked MEF on Tucker
 DP
 20:58
 Daniel Pipes
 how great. Can you find it online?
 LB
 20:59
 Lisa Barbounis
 It’s not on yet but my friend is a com director at the RNC. She gets me clips all the time. I’ll ask her
 to pull one for me.
 DP
 20:59
 Daniel Pipes
 thanks
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 21:28
 LB
 Lisa Barbounis
 https://youtu.be/mdZZD89ucoI
 21:28
 It’s now online
 DP
 21:28
 Daniel Pipes
 thanks
 LB
 21:28
 Lisa Barbounis
 It’s not his best interview.
 DP
 21:37
 Daniel Pipes
 he has so much to say, he needs an hour.
 LB
 21:38
 Lisa Barbounis
 I agree. There is so much more to the story.
 DP
 22:03
 Daniel Pipes
 https://twitter.com/DanielPipes/status/1025199672921604096
 3 August 2018
 DP
 15:59
 Daniel Pipes
 the 9th could work for me
 LB
 16:00
 Lisa Barbounis
 Ok, I will let him know. Gregg is supposed to be in Pittsburgh that day but we may be able to move
 his meetings around.
 DP
 16:01
 Daniel Pipes
 or early on 8th.
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16:01
ie, could stay the night of 7-8 in DC
7 August 2018
DP
13:11
Daniel Pipes
Lisa, Do you know what version of WIndows we have on the computers?
DP
13:30
Daniel Pipes
7. Found it
17 August 2018
DP
12:09
Daniel Pipes
https://alliancebernstein.com/library/Whos-Giving-and-Where-Giving-USA-Survey-Review.htm
LB
17:04
Lisa Barbounis
Dr. Pipes,

I wanted to ask, out of my own curiosity, if your term civilizationist parties (which I really like) has
any root in Huntington’s Clash of Civilizations theory.

I hope I’m not bothering you.
21 August 2018
DP
16:28
Daniel Pipes
https://nyti.ms/2wdTbB7?smid=nytcore-ios-share
28 August 2018
DP
20:48
Daniel Pipes
https://apnews.com/8ed1460be6af4ee3a81df4e2215611b2
4 September 2018
DP
16:16
Daniel Pipes
Could I get a final list of the attendees tomorrow?
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LB
18:15
Lisa Barbounis
Tricia just sent it over
27 September 2018
DP
13:35
Daniel Pipes
Send me the conference call code again?
LB
14:34
Lisa Barbounis
I’m sorry. For some reason I got this notification late! It just came over now.
10 October 2018
DP
06:48
Daniel Pipes
Even the military goes after Tommy.
06:48
https://www.theguardian.com/uk-news/2018/oct/09/uk-army-investigates-tommy-robinson-poses-
with-soldiers
LB
07:01
Lisa Barbounis
I spoke to him yesterday and he said two young soldiers were let go for having their picture taken
with him.
DP
07:42
Daniel Pipes
astonishing. Is there a news item on this?
LB
07:53
Lisa Barbounis
Not yet. They are contacting him directly and asking to remain anonymous. However he sent me
screenshots of what they are saying. I think it’s three so far. This morning one of them said they are
having racism training and more are being discharged.
08:01
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08:01




08:03




08:03
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LB
18:33
Lisa Barbounis
Update. One of the soldiers that took a selfie with Tommy is being discharged. A group of them are
meeting with Tommy tomorrow. They are talking about taking a group stance saying if you are going
to discharge him then discharge all of us.
DP
19:49
Daniel Pipes
Good for them
17 October 2018
LB
10:25
Lisa Barbounis
I am working on your travel arrangements. Do you prefer to fly business?
DP
10:34
Daniel Pipes
Of course - but we’re a nonprofit, so it’s economy.

Would like to take UA where possible, then AA. Return Saturday about 5pm please
LB
16:18
Lisa Barbounis
We are waiting for the credit card to be unlocked to book the flights and hotels.

Are we booking them under your name or an alias?
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16:19
DP
Daniel Pipes
Mine. You can use my UA CC
LB
16:20
Lisa Barbounis
Is there a copy of that in your office? Marnie does not have a copy.
DP
16:22
Daniel Pipes




727
LB
16:28
Lisa Barbounis
Thank you.
18 October 2018
DP
10:23
Daniel Pipes
where are we with the reservations, please?
LB
10:32
Lisa Barbounis
I actually just sent you an email with the final times. I left for class last night at when you sent your
card and was there until 9:30. Took care of a few immediate things this morning and began working
on your travel again. Should be all set to go within the next hour hotels too. Sorry for the delay.
10:33
Is the billing address for the card the office billing address -1650 Market?
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10:34
I will also need your birthdate and frequent flyer number if you have one.
DP
10:35
Daniel Pipes
wait, don't book till I have a chance to look it over. I travel a lot and am full of preferences and
dislikes.
LB
10:37
Lisa Barbounis
Matt did sent me the aisle preferences and hotel preference
LB
14:45
Lisa Barbounis
Did you have a chance to find the rewards number? I will also need the other credit card when you get
a minute. Thank you.
DP
14:50
Daniel Pipes
UA BE467440
14:50
AA CC 5466160263568691(278), 1/20
14:51
1650 is the address
LB
14:52
Lisa Barbounis
Thank you.
14:55
Do you like or dislike exit rows?
DP
14:56
Daniel Pipes
Like very much, especially the back one where the seat reclines
14:56
or bulkhead
14:56
please register me for upgrades - I have lots of those certificates
LB
14:57
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Lisa Barbounis
Ok.
15:10
Delta frequent flyer if you have one?
DP
15:10
Daniel Pipes
6315552387
23 October 2018
DP
19:22
Daniel Pipes
Looking forward to a report on the Tommy Robinson activities
LB
19:23
Lisa Barbounis
There is a lot to report. I will certainly write it up. I just left them.
DP
19:25
Daniel Pipes
thanks
26 October 2018
DP
17:02
Daniel Pipes
your picture here too: https://inews.co.uk/news/world/tommy-robinson-latest-news-invited-us-
address-congress-members/
LB
17:02
Lisa Barbounis
Thanks!
1 November 2018
DP
18:30
Daniel Pipes
what is the name of the intern? Leah?
LB
18:31
Lisa Barbounis
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Lea Merville
DP
18:31
Daniel Pipes
thanks
5 November 2018
DP
14:03
Daniel Pipes
Wednesday flights?
LB
14:04
Lisa Barbounis
I will send them to your email in a few minutes
14:05
There is a 2:12pm and a 3:40pm United out of Philadelphia. Both are $367
DP
14:06
Daniel Pipes
arrival times?
LB
14:08
Lisa Barbounis
Departure- Arrival
2:12-5:17pm
3:40-6:46pm
DP
14:09
Daniel Pipes
2:12, please
LB
14:10
Lisa Barbounis
On your united card?
DP
14:10
Daniel Pipes
yes
14:11
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see if you can salvage anything from the canceled flight that morning from Detroit. If you need to call
UA, I have a super number
LB
14:22
Lisa Barbounis
Only seat available 3:43-5:21
14:22
I can recoup costs
DP
14:23
Daniel Pipes
that's practically the same arrival time. How can there be two such flights?
LB
14:23
Lisa Barbounis
I’m on the phone
DP
14:23
Daniel Pipes
Good about costs
LB
14:23
Lisa Barbounis
The other was the internet search.
14:27
Sorry. I wasn’t more clear.
The original flight out was AA.
AA Has a flight 3:43.
The cost for changing is $134.

United was a separate flight for 367.
DP
14:28
Daniel Pipes
I also have a good number for AA

3:43 really gets in at 5:21?
LB
14:30
Lisa Barbounis
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That’s correct. I’m looking at the flight now. Duration 2h38m
LB
19:14
Lisa Barbounis
I just wanted to thank you for the opportunity to work on the website. I don’t think I was clear enough
in my appreciation. This weekend was very long and the whole day was a lot to process. It’s very kind
of you to make room for me to stay on. Thank you.
DP
19:37
Daniel Pipes
It's not kindness. You are skilled and devoted. I hope you will help the organization grow. That said,
you're welcome
6 November 2018
DP
12:15
Daniel Pipes
Come by and tell me about Tommy Robinson event, please
12:24
I ended Chris Wall's role at MEF. So, the articles are now in your hands
DP
14:49
Daniel Pipes
When you have a moment, give me your counsel on the Ruptly reporter at Tommy Robinson
LB
15:14
Lisa Barbounis
When you have an opportunity will you please send me Prager’s contact information?
DP
16:07
Daniel Pipes
Dennis Prager
+32 364 69 84 8 - vCard
LB
16:48
Lisa Barbounis
Thank you.
DP
17:08
Daniel Pipes
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Skip that #, though
LB
17:25
Lisa Barbounis
Does the number not work or do you not want me to contact him?
DP
18:31
Daniel Pipes
it's a European number
18:31
Not his
18:32
sorry, it's fine, got messed up: (323) 646-9848
18:32
not +32 but +1
DP
23:08
Daniel Pipes
should Gregg be at the Tommy Robinson event or not?
LB
23:10
Lisa Barbounis
He wasn’t planning on going he was supposed to be in CA. He originally said he had no interest in it.
DP
23:12
Daniel Pipes
oh that's right, he's in California.
7 November 2018
LB
15:10
Lisa Barbounis
Prager can’t make it to DC
DP
15:39
Daniel Pipes
no surprise
8 November 2018
LB
11:31
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Lisa Barbounis
Which of your emails would you like me to include in my response to the Independent?
DP
11:45
Daniel Pipes
Pipes@MEForum.org
LB
12:03
Lisa Barbounis
Ann Marie is a yes
DP
12:04
Daniel Pipes
Great, so we are full up for the 14th.
LB
12:05
Lisa Barbounis
Yes. Since Ann Marie and as her are both coming do you still want to do a dinner on the 13th?
DP
12:06
Daniel Pipes
not following the question
LB
12:06
Lisa Barbounis
And Ezra*
12:06
My auto correct took over.
12:06
Since Ann Marie and Ezra are coming would you like to still do the dinner and invite donors on the
13th?
DP
12:17
Daniel Pipes
what is the connection between the two? The idea is to reward our best donors
12:17
We can talk in a few minutes
9 November 2018
LB
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00:12
Lisa Barbounis
https://www.thedailybeast.com/brits-urge-pompeo-to-keep-violent-bigot-tommy-robinson-out-of-us?
source=articles&via=rss
DP
06:15
Daniel Pipes
2 pieces of news here: about the MPs and about Pompeo. I can't believe that the secretary of state is
actually the one making this decision, however
LB
11:06
Lisa Barbounis
Gateway pundit wants to write about the Tommy event. If she tweets it would you like her to link the
invitation too?
DP
11:07
Daniel Pipes
sure
LB
13:37
Lisa Barbounis
Peter Weinstein called for you 212-744-7156
LB
16:55
Lisa Barbounis
Sprayregen meeting confirmed
DP
16:55
Daniel Pipes
thanks on both
11 November 2018
LB
07:58
Lisa Barbounis
Dr. Pipes. Ann Marie is speaking at DHFC weekend. So they were paying for her flights. We asked if
they could look into changing her flight to arrive earlier. Noelle just got back to me this morning and
the cost to change Ann Marie’s flight is $2300. I looked into other flights. British airways has a
cheaper flight $1,861. How do you want me to proceed?
07:58
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DP
08:02
Daniel Pipes
That's what it would cost for her to join us on Wednesday?
LB
08:03
Lisa Barbounis
Yes. But I don’t know why the change fee would be that high unless they are flying her business.
DP
08:17
Daniel Pipes
too much for us. Thanks for inquiring
LB
10:40
Lisa Barbounis
I am working with Ann Marie’s chairman of the for Britan Party. He found a flight on Tuesday for
£291. She may arrive a bit late to the dinner but it’s a significant cost reduction. Can we cover that? I
believe it is $377.66
DP
10:41
Daniel Pipes
That’s fine
LB
10:41
Lisa Barbounis
Thank you.
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DP
11:42
Daniel Pipes
Can you tell me when & where the Tuesday dinner will be? Also, do remember to include me on all
invitations, so I am not blindsided
LB
11:43
Lisa Barbounis
Dinner Tuesday, November 13 @6:00pm
Charlie Palmer Steak House – 101 Constitution Ave NW, Washington, D.C.
DP
11:44
Daniel Pipes
thanks. Private room?
LB
11:44
Lisa Barbounis
I sent out the invites via email mail merge to over 300 donors.
11:44
Yes.
DP
14:59
Daniel Pipes
That's a lot of potential people to host.
LB
17:07
Lisa Barbounis
They were just touches like we spoke about. I think we had 3 interested but they thought it was in
Philadelphia. I had one confirmed from that blast. But we have others.
17:08
Gregg has not responded about mail chimp. I was at the barn most of the day. I saw he sent a message
about the radio. Did anyone tell him it was not continuing?
DP
17:25
Daniel Pipes
1. I don't want to micromanage him; come to me if there is a persistent problem.

2. The station considers him a star and is willing to cut the price. I authorized negotiations with it.
17:25
Barn? I did not realize you live on a farm.
17:27
more on 2. We have to give a month's notice, so we're using what we've paid for
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LB
17:27
Lisa Barbounis
Noted. I will have Delaney continue to work on the guests and format?

I don’t live on a farm. I ride for the UPenn Equestrian team.
DP
17:29
Daniel Pipes
Yes, let's air on the side of continuity. We have enough changes to contend with
DP
18:20
Daniel Pipes
Looks like Gregg replied to you about MailChimp. You satisfied with that?
LB
18:27
Lisa Barbounis
Yes. Thank you.
18:28
Although I was a present in the training courses for the website the email was helpful
12 November 2018
LB
09:44
Lisa Barbounis
Raheem read about our panel and said he was demonetized on YouTube. He is asking to speak.

Currently we have you, Ann Marie, and Ezra.

Avi isn’t coming but is sharing on his Facebook like he is attending until tomorrow. Apparently they
ran it in a big paper there and the media is eating it up.

Let me know what you think about Raheem.
I have a bio for Ann Marie and Tommy. Working on Ezra.

Also working on the press release
DP
09:58
Daniel Pipes
Raheem is a good idea. Also, please make sure the video to Tommy Robinson is functioning. Too
often, these things degenerate into tech fiascoes
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10:29
DP
Daniel Pipes
are you getting press coverage for the event?
LB
10:34
Lisa Barbounis
In reply to this message
Right now I have breitbart and Gateway and a two others that reached out attending. Once the press
release goes out today we will target certain outlets. I will hopefully have the press release done
within the hour for your review.
10:35
Tommy and I have a test call set up for tomorrow
DP
13:42
Daniel Pipes
Reuters' Mark Hosenball will be calling you about Tommy Robinson's experience at the US consulate
in London. I trust him.
LB
13:43
Lisa Barbounis
Ok. Thank you.
DP
15:36
Daniel Pipes




Have him send us the full article?
15:46
trouble is, we have no idea if Gosar will discuss deplatforming. I will change it
15:47
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how about this:

UK firebrand Tommy Robinson and others will discuss the phenomenon of “de-platforming” at an
event hosted by Congressman Paul Gosar (R-AZ) and the Middle East Forum on Capitol Hill,
Wednesday, Nov. 14.
LB
15:48
Lisa Barbounis
Done
15:48
Avi Yemini to speak in Washington DC
Aaron Langmaid, Herald Sun
9 minutes ago
Subscriber only

Controversial right wing activist Avi Yemini will take his message against radical Islam to Capitol
Hill after he accepted an invitation to speak at a free-speech forum in Washington DC.

Mr Yemini, an Australian Liberty Alliance candidate for the Southern Metropolitan region, will jet to
the US tonight where he is expected to join a string of conservative advocates for the Middle East
Forum highlighting censorship issues.

YEMINI CONFIRMS HE’LL RUN FOR SEAT

CAMPAIGN FOR PEPPER SPRAY TO BE LEGALISED

Mr Yemini has drawn wide criticism for his polarising views on the subject — and was behind a rally
in Melbourne’s CBD just 24 hours after the lone wolf terror attack on Friday.

He said the US visit would be an opportunity to highlight how American censorship was being
mirrored in Australia.

“The more you try and censor reasonable conversation about the threat of Islam, the more you send
people underground and play into the hands of extremists from all sides,” Mr Yemini told the Herald
Sun.
Mr Yemini at a rally in Melbourne. Picture: Jake Nowakowski

He said the latest attack in Melbourne demonstrated the need to have open and robust discussion
about Islam and its place in Australia.

“These conversations are uncomfortable but absolutely necessary,” he said.

“They try to demonise me for criticising Islam but as we have seen on Friday — everything I have
been saying is true.”

Mr Yemini, who patrolled the Gaza border as a soldier in the Israeli Defence Force, has faced fierce
criticism for his views on immigration and crime.
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Last week, he questioned how Pakistani-born Muslim senator Mehreen Faruqi could campaign
against animal cruelty following the death of a runner in the Melbourne Cup, yet fail to condemn halal
slaughter practices.

Earlier this year, Facebook closed down one of Mr Yemini’s social media pages for alleged hate
speech, claims he denied.

The US forum will feature panellist Tommy Robinson, co-founder of the English Defence League,
Canadian conservative Ezra Levant and Republican congressman Paul Gosar.
15:49
This is the article
DP
15:50
Daniel Pipes
thanks
LB
16:59
Lisa Barbounis
I just sent a test for the press release to your email
DP
17:35
Daniel Pipes
Looks good
DP
18:51
Daniel Pipes
What are the plans for dinner? I suggest meat-fish-vedge options and wine
LB
18:54
Lisa Barbounis
We have meat and fish with a silent veg option. Tricia had comsumption bar, but can add wine service
now.
DP
18:56
Daniel Pipes
is a consumption bar = open bar?
LB
18:57
Lisa Barbounis
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Yes. I believe there is a minimum for the room and people don’t normally abuse it. That’s how it was
for the KIVC/CIVC DC dinner.
DP
18:58
Daniel Pipes
I am not looking to add to the costs. Shall I ask her for what this will cost?
LB
18:58
Lisa Barbounis
I believe there is a minimum for the room. I can ask her if you like.
18:59
There is a chance tommy can come. I just got this text!
19:00




DP
19:02
Daniel Pipes
1. Please do ask

2. Great!
LB
20:01
Lisa Barbounis
Should we consider booking the latest flight out of London with a 24/hour cancellation? If it doesn’t
get approved by 12 then cancel?
20:02
Latest flight looks like 5pm their time 12 ours.
20:02
He would have to arrive at the airport by 9am our time
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20:02
DP
Daniel Pipes
no 24hr-cancellation when it's under 24 hours. Let's just wait till he hears. What is the development?
Is that text from someone in the USG?
LB
20:03
Lisa Barbounis
From customs and border patrol.
DP
20:03
Daniel Pipes
I don't want to buy a ticket that cannot be returned. Better he be all packed and make his way to the
airport. Lots of flights to the US, could go via NYC
LB
20:04
Lisa Barbounis
Right.
20:15
There are a few later flights flying into NYC. I’ll have him ready
DP
20:17
Daniel Pipes
It would be big news if he made it. I wonder if the COS would still host him. Not too important, as he
would do the MEF, DHFC, and Rebel events
20:17
would be almost a week for Ezra
LB
20:20
Lisa Barbounis
Exactly!
20:22
I spoke to CBP a minute ago and they said they are just looking for the person that does the
administrative side for this guy to sign off.
20:22
Hopefully they can locate the person quickly
DP
20:30
Daniel Pipes
what a surprise
LB
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20:45
Lisa Barbounis
Until he is on the ground and through customs I wouldn’t tell a soul that they approved it.
DP
21:11
Daniel Pipes
Good idea
DP
22:14
Daniel Pipes
Are we live-streaming on Wednesday? We should. I have been asked about this. And we should
announce that we are doing so.
13 November 2018
DP
06:23
Daniel Pipes
2. News?
LB
06:24
Lisa Barbounis
Nothing yet. I’m checking in at 7. Spoke to Tommy an hour ago. He will be ready if we need him to
be.
DP
06:25
Daniel Pipes
Wild.
LB
06:26
Lisa Barbounis
We are not live-streaming. Both times the sound quality was terrible and Gregg still has the IPad. We
are going to record the event and upload it to the website and FB later.
DP
06:26
Daniel Pipes
Ok
06:40
"Bianca from CNN here. Can you confirm whether or not Tommy Robinson will be attending the
Middle East forum tomorrow? I've seen reports that you've said his visa wasn't accepted? Any help is
appreciated, plus any further details about the event you can send me." How do you want me to reply?
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LB
06:45
Lisa Barbounis
He has applied for a visa and that application is in the “administrative processing” phase. He is set to
participate at our event via video link.
06:45
I think it’s better if they don’t think he is coming. Less pressure on customs
06:46
We can alert them all that he is here once he is on the ground. That would cause a media frenzy
DP
06:46
Daniel Pipes
Agree about the frenzy. How about:

He has applied for a visa and that application is still in the “administrative processing” phase. He is
prepared to participate at the Middle East Forum event on Wednesday via video link.
LB
06:46
Lisa Barbounis
Perfect.
06:49
I have a feeling that if it doesn’t get approved today that it will within the next couple days. If that’s
the case he should go to the breakers come back and do an event with Ezra and we should partner.

I also think it would be a good idea, if he missed our event, to Set individual meetings with him and
members of Congress videotape him walking through the halls. Write an article. Etc. he will have
time after the breakers to come back to DC.
DP
06:50
Daniel Pipes
Good ideas. Maybe COS can reschedule. That is the formal purpose of the visit
LB
06:50
Lisa Barbounis
Absolutely
DP
06:50
Daniel Pipes
Maybe get the visa extended for that purpose
LB
06:50
Lisa Barbounis
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I’m all over it.
07:01




DP
07:02
Daniel Pipes
Send a version of what we agreed on
LB
07:02
Lisa Barbounis
Is this the same CNN reporter?

He has not been denied just sent to administrative processing. Between you and I that means
background checks
DP
07:02
Daniel Pipes
no, mine was Bianca something
07:13
https://www.theguardian.com/uk-news/2018/nov/13/tommy-robinson-not-granted-us-visa-in-time-for-
washington-visit
07:14
Odd thing is, Guardian never spoke to me. Reuters did. Guardian does not credit Reuters
LB
07:16
Lisa Barbounis
Honestly, they are all so deceitful
DP
10:07
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Daniel Pipes
Could you contact the 4 speakers and tell them to limit their opening remarks to 5 minutes? (I run a
tight ship.) And the topic is de-platforming: What their sin was, what the effect was, what they are
doing to get around this problem.
10:10
Also, which bank refused AM Waters as a client?
DP
10:27
Daniel Pipes
I realized that I am a panelist too - my O2 problem: http://www.danielpipes.org/blog/2016/11/uk-
internet-provider-o2-blocks-me. So, we are five.
LB
10:28
Lisa Barbounis
Ann Marie is on a plane but I’ll message her and her chairman who is accompanying her
DP
10:28
Daniel Pipes
I can add it last minute
LB
10:59
Lisa Barbounis
BBC: Any further statements or information you can provide would be greatly appreciated.
DP
11:00
Daniel Pipes
send it to me
LB
11:00
Lisa Barbounis
I was going to respond:

Mr. Robinson has applied for a visa and that application is still in the “administrative processing”
phase. He is prepared to participate at the Middle East Forum Capitol Hill event on Wednesday via
video link.

Mr. Robinson has received additional invitations to speak in the US and will likely have another
opportunity to brief the Conservative Opportunity Society at a later date.

But I will send to you.
11:01
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Sent
DP
11:01
Daniel Pipes
no, that's fine. BUt indicate COS is House of Representatives
DP
16:50
Daniel Pipes
TR news?
LB
17:02
Lisa Barbounis
Not making it tonight. No answer from CBP
DP
17:13
Daniel Pipes
Could you reply to Polina Leonovich? She wrote me again
LB
17:34
Lisa Barbounis
I actually just did
LB
20:30
Lisa Barbounis
Were you happy with the evening?
DP
20:30
Daniel Pipes
Yes, well done.
14 November 2018
DP
07:07
Daniel Pipes
You wrote to the journalist "Should you have any additional questions feel free to contact Daniel
Pipes at Daniel.Pipes@meforum.org."

Please note that's an dummy account The correct one is Pipes@MEForum.org.
LB
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07:08
Lisa Barbounis
Yes, that was a mistake. I realized that when I sent it. Would you like me to respond to Lizzie?
DP
07:08
Daniel Pipes
I am doing it
LB
07:09
Lisa Barbounis
Ok. I started and was going to send you the draft. Thank you and let me know if you need anything
for today.
DP
07:09
Daniel Pipes
Here is my draft:

Could I please confirm whether it will be going ahead via video as planned,

Yes, shortly after noon today in Washington, DC.

and whether the speech will be broadcast publicly?

Yes, but not live-streamed because of a problem with our equipment.

I saw your comments to Reuters, but for clarity it would be great to confirm whether his visa request
is still pending or has been refused.

It is pending; we expect he will receive a visa before long.
LB
07:14
Lisa Barbounis
Reuters misquoted me by 2 words. He was asking questions about a section of the typical visa denial
that I was extremely familiar with. He was not so familiar.

I planned to say to Lizzie:


Mr. Robinson will be participating in our panel discussion live via video link. The event will be
recorded and uploaded to our website and social media at a later date.

Mr. Robinson’s visa was not denied. His application is still in the “administrative processing” phase
and we are confident that he will be granted entry to the US at a later date.
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DP
07:15
Daniel Pipes
It is being live-streamed? I thought not
LB
07:16
Lisa Barbounis
It’s not being live-streamed. He will be participating live, as in not prerecorded.
DP
07:17
Daniel Pipes
RIght, that's what you wrote. Add "from the UK" to be more clear. Otherwise fine to send
LB
07:17
Lisa Barbounis
Thank you.
DP
10:55
Daniel Pipes
Send attendance list?
LB
10:56
Lisa Barbounis
Sent
15 November 2018
DP
10:27
Daniel Pipes
MO please
10:27
https://www.gatestoneinstitute.org/13299/erdogan-charm-offensive
LB
10:30
Lisa Barbounis
Will do.
DP
17:49
Daniel Pipes
you sent me [Test] In the Middle East, You Win with Fear?
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17:50
It has to mention his MEF affiliation
17:50
drop the jiss.org.il
17:50
otherwise fine
17:50
subject line should name the author
DP
20:48
Daniel Pipes
new Inbar looks good
LB
20:48
Lisa Barbounis
Will send
LB
22:15
Lisa Barbounis
Test sent
22:16
Picture not correct. I’ll adjust
DP
22:17
Daniel Pipes
k
22:17
the pictures need captions. I'd prefer that the top one be in the text
22:17
Standingg
22:17
the font is awfully bi
22:18
Big
LB
22:20
Lisa Barbounis
I was putting the pictures that corresponded with text. I’ll switch them. I mimicked the last press
release. The font is all the same size and Georgia. I’ll work it out and send another
LB
22:59
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Lisa Barbounis
Sent
DP
23:28
Daniel Pipes
sent back
16 November 2018
DP
11:36
Daniel Pipes
the Atkinson note: what precisely am I being asked about? Your going there, our paying for your
going there, our supporting the Brussels event more broadly?
LB
11:38
Lisa Barbounis
Two separate issues.
1. She is submitting a proposal for MEF support of her TV project.

2. She has invited me to speak in Brussels regarding conservative voices being shut down
11:39
I believe I am her guest. Her paying
11:47
I guess I’m asking if I can speak on behalf of MEF at her event. Especially if she is paying. I would
clear anything I say with you first. Her and I had lengthy conversations so I’m assuming that’s why
she thinks I’m capable of doing it. I feel like it would be a good opportunity for me and MEF.
DP
11:48
Daniel Pipes
2. That's easy, sure.

1. This is not what the AD has commissioned me to use his funds for, so I could possibly help with a
specific program or project but not with the station as a whole.
LB
12:05
Lisa Barbounis
Thank you! I will pass along the other information
DP
13:49
Daniel Pipes
1. I am surprised to receive anything pertaining to the c4 at MEForum.org. I thought there has to be a
Chinese wall. Am I wrong?
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2. Is there a specific reason why he is asking if we will proceed with the c4?

3. I raised the first funds for the c4 (100K), so it is proceeding.
LB
13:56
Lisa Barbounis
I always thought there needed to be a Chinese wall, too. However, originally Gregg asked me to
coordinate any paperwork for the C4 that was necessary. These are the attorneys that were helping
startup so I assumed they thought it was acceptable.

I also thought Gregg launched the C4 on Thursday so this email confused/surprised me. Is he using a
different law firm?
DP
13:57
Daniel Pipes
Let me ask Greggg what's going on - using personal e-mail accounts, as we always do.
14:06
just recalled Gregg's new idea of not setting up our own c4 now but using someone else's initially.
LB
20:25
Lisa Barbounis




20:26
New development. We tried to boost Cliff and Sam’s article and Facebook is now requiring a review
authorization process. We haven’t had this happen to us before. We requested the review and I will
keep you updated
DP
20:46
Daniel Pipes
Thanks
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LB
21:38
Lisa Barbounis




21:39
This is how the font appears on my phone. It looks normal on the email page, too.
DP
21:52
Daniel Pipes
okay, go for it and let's hope for the best
17 November 2018
DP
16:16
Daniel Pipes
Nice piece in the UK Spectator
16:16
https://spectator.us/tommy-robinson-america/
18 November 2018
LB
21:43
Lisa Barbounis
I will certainly let tommy know about the breakers and I can also relay your advice about sticking to
what he does best. Do you think he should not get political?
DP
21:44
Daniel Pipes
thanks. I endorse his political activities. I am just skeptical about Brexit, which hardly bears on his
issues.
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21:46
LB
Lisa Barbounis
If he throws a march and 100,000 people turn up it could make a significant impression.
DP
21:47
Daniel Pipes
no doubt. But why not a march about Asia Bibi?
LB
21:47
Lisa Barbounis
That’s a great point!
DP
21:48
Daniel Pipes
It's an incredible scandal and it can easily be revesed. Brexit is mired in immense complexities and
hard to see what a march can accomplish
LB
21:52
Lisa Barbounis
Completely agree with that point! The brexit march would simply be a show of force.

I’ll speak to him about Bibi tomorrow. We speak often usually about his visa and US plans but we are
friendly, too.
DP
21:56
Daniel Pipes
Good
19 November 2018
LB
19:44
Lisa Barbounis
Tommy is not making it just a brexit march. He is calling it The Great Betrayal and is planning to
highlight the Bibi case, grooming gangs, brexit, and other similar issues. Batten has signed on and the
response is looking great. They asked me to come and offered for me to speak.
DP
20:06
Daniel Pipes
that makes more sense. Glad you've found a role for yourself with the Brits. They do need help.
20 November 2018
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LB
14:18
Lisa Barbounis
I know Marnie just spoke to you about my trip to London. Tommy’s funding has been cut with
PayPal so he is not paying for speakers. He will pay for my flight. I was wondering if MEF could
cover my hotel. I’ll can pick up my own expenses? I think if I speak it will be good exposure for
MEF. You and I could go over what you think the best topic is.
DP
16:31
Daniel Pipes
Your thoughts on Jacob?
LB
16:39
Lisa Barbounis
I really liked his personality. He’s nice, confident, well educated, mild mannered. I was not super
impressed with his European answers but that’s not his specialty. He also does the typical walk the
line DC thing but that could simply be because that is what he is used to. And you seem to be more of
a bomb thrower than he is.

That said, when we spoke in my office we touched more on Congressional affairs. We agreed that
MEF needs a bigger presence on the Hill. I think it’s very good that he knows how the Hill works. I
think that was a weak spot for Gregg and this guy gets it.

It’s hard to give an assessment without knowing his particular role.
DP
22:59
Daniel Pipes
thanks for this; he would be intellectual/editor.

Got the Burak piece. Looks good but please drop those paragraphs at the top in the future.
21 November 2018
DP
08:26
Daniel Pipes
I am not happy about Tommy's Proud Boys connection: https://tellmamauk.org/tommy-robinson-to-
tour-australia-with-the-leader-of-group-fbi-deems-extremist/

Could you look into them a bit and assess this.
LB
09:47
Lisa Barbounis
I just looked into them myself the other day. To be honest I think they are getting a bit of a bad wrap.
Some of it deserves some of it not there certainly not affiliated with white nationalists. Apparently
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they hate white supremacy. However, some of the tactics are not good.

That being said I spoke to tommy. He said he is absolutely not affiliated with the proud boys and
thinks they’re ridiculous. He is friendly with Gavin McInnis because they both worked at Rebel and
he called off his Australia tour where Gavin was supposed to be an additional speaker.
DP
09:58
Daniel Pipes
That' s good news. In general, could you gently caution him that our continued support requires him
to stay away from the nasties.
LB
09:59
Lisa Barbounis
Absolutely. We had a long talk already about a few other things I asked him to tone down.
10:00
Sorry for the typos in the longer message. I was using talk to text feature and didn’t go back and look
it over
22 November 2018
LB
17:30
Lisa Barbounis
Hope you are having a happy thanksgiving. I wanted to see if you saw the Laura Loomer Twitter ban.
She is a bigot but her tweet wasn’t. She is banned permanently. Another added to the De-platformed.
17:30




DP
18:35
Daniel Pipes
thanks, you too. I did know of the ban but had not seen the wording, which is helpful
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18:45
LB
Lisa Barbounis
News on Twitter is that she is now also banned from Facebook
23 November 2018
DP
09:06
Daniel Pipes
major news from UK about UKIP and Tommy Robinson.
09:06
and Farage
LB
09:06
Lisa Barbounis
I’m all over it. Since 3am
DP
09:07
Daniel Pipes
doing what?
LB
09:08
Lisa Barbounis
They were just calling me telling me what was happening. That the believe the people will stick with
Gerard. Raheem seems to think this will be the end of Gerard.
09:09
I’ve also been following the story on twitter and under the BBC and Sky news tweets the comments
are more favorable towards Tommy than Farage.
09:16
I was also reinforcing that he need to watch his behavior. He can’t been seen anymore as a street
activist. That sentiment was reinforced by Farage’s comments
DP
09:19
Daniel Pipes
End of Nigel, you mean?
LB
09:19
Lisa Barbounis
Tommy and Gerard think it will be the end of Nigel. Raheem thinks it will be the end of Gerard.
09:20
What are your thoughts?
DP
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09:25
Daniel Pipes
I am inclined to think Farage is out of touch. Worrying about the Polish plumber but not jihadis
makes no sense
LB
09:25
Lisa Barbounis
I’m hoping you are right. You usually are.
DP
09:40
Daniel Pipes
Hoping too.

Could you take down that pinned tweet about UNRWA at @MEForum? Ancient history
LB
09:46
Lisa Barbounis
Yes.
27 November 2018
DP
00:17
Daniel Pipes
I've been asked for Tommy Robinson's contact information from an MEFEF grantee that wants to
give him a prize. Can you give it to me?
LB
00:40
Lisa Barbounis
+44 7729 634251
00:40
tommy2711robinson@icloud.com
00:41
I hope it’s a good prize!
28 November 2018
DP
12:54
Daniel Pipes
Yes, prestigious and money attached
1 December 2018
DP
13:19
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Daniel Pipes
you around?
LB
13:26
Lisa Barbounis
I’m out to dinner In London. I should be done shortly.
DP
13:34
Daniel Pipes
London. Wow. Could you send out a press release soon?
13:35
You should put your travels in the calendar
LB
13:35
Lisa Barbounis
Absolutely.
13:35
Will do.
13:35
I have my laptop in my bag
13:36
For some reason I thought you knew I was coming. My apologies if I didn’t.
DP
13:37
Daniel Pipes
You told me something, yes, but life is full and fast. I barely remember my own schedule
LB
13:38
Lisa Barbounis
The press release is it done or do you want me to write it?
DP
13:38
Daniel Pipes
working on it, will send it to you shortly
13:49
!news-MEQ 100th.docx
Not included, change data exporting settings to download.
20.5 KB
13:49
I am waiting for Judy to post the new issue
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13:51
LB
Lisa Barbounis
Im putting it in the staging site Let me know when you want it to go live
DP
13:52
Daniel Pipes
please always read things for typos, errors
LB
13:53
Lisa Barbounis




13:59
Reading the first paragraph, the phrase “marking the conclusion of 25 years of publication” might
come across as a bit confusing. When I first read it I thought “wait, is MEQ done?”
DP
14:02
Daniel Pipes
ok
14:03
!news-MEQ 25 years.docx
Not included, change data exporting settings to download.
20.5 KB
14:03
new version, better counting
LB
14:08
Lisa Barbounis
Should Reuters be italicized?
DP
14:08
Daniel Pipes
no.
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LB
14:08
Lisa Barbounis
Just checking
DP
14:08
Daniel Pipes
Aymenn is trying to reach you.
14:09
I would like the new issue up today so it can be referenced in the press release
LB
14:09
Lisa Barbounis
I just sent him a message about an hour ago. We were going to meet here
14:09
Ok. I’ll ask Judy if it’s ready to go.
DP
14:09
Daniel Pipes
Is this it? https://stage.meforum.org/middle-east-quarterly/issue-archive/2019/winter-2019
14:09
Judy is online
LB
14:10
Lisa Barbounis
Yes that’s it.
14:11
I can push them through at almost the same time.
DP
15:05
Daniel Pipes
please add the link to the new MEQ issue when you have it and then send out the press release
15:07
you're ahead of me. Needs a space before the final paragraph, starting with "As"
15:07
the paragraph below the line is centered, looks odd. Should be left justified,
15:08
date should not be in bold
15:09
and this obviously should not be there: August 01, 2018
15:09
send the test to me next time?
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LB
15:11
Lisa Barbounis
I can send another test. Now that I’m looking at it we usually send her the line and the text below it.
Do you want me to justify everything or center the line?
I’ll send you a test when you let me know
DP
15:12
Daniel Pipes
don't right justify
15:14
got it. Looks fine. Would like the first date eliminated, if you can but if you cannot, it's okay for now.
LB
15:15
Lisa Barbounis
Done.
DP
15:15
Daniel Pipes
good to go then
2 December 2018
LB
11:05
Lisa Barbounis
Tommy is writing another book and would like to publish it in the US. Do you have any
recommendations for publishers
3 December 2018
DP
00:41
Daniel Pipes
Here's a curious idea: He go with the same publisher as Anne Marie Waters did.
4 December 2018
DP
21:17
Daniel Pipes
I asked for a response to the Guardian questions by 5pm Philadelphia time today. Its now after 9pm.
LB
22:45
Lisa Barbounis
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I just woke up to my email mortifications on my phone. I don’t know why my earlier email didn’t go
through. I should have checked it moved out of my inbox. I attempted to send it 4pm my time.
22:45
Notifications*
22:47
It wasn’t even close to a proper draft it needed Greggs input on Nina and donor funding.
7 December 2018
DP
09:53
Daniel Pipes
Lisa, urgent e-mail for you to reply to
LB
09:54
Lisa Barbounis
Ok
10:08
I am here on my own initiative and attended the planning meeting in a personal capacity. True. And
technically I’m contributing in an advisor capacity.
DP
11:12
Daniel Pipes
please call me
11:13
I could not accept it. Calling you
LB
11:13
Lisa Barbounis
I just rang you
DP
11:15
Daniel Pipes
Rebooting the iPhone
LB
11:16
Lisa Barbounis
Just let me know when
9 December 2018
DP
22:53
Daniel Pipes
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awaiting your reply to my several notes
10 December 2018
LB
09:45
Lisa Barbounis
I honestly have been so busy with the march that I haven’t had the opportunity to respond from my
computer and wanted to give it the attention it deserves. I just got to the airport and will respond as
soon as I get sorted. Sorry for the delay.
DP
09:49
Daniel Pipes
I have the sense that your position at MEF is distinctly less important than your activities with
Tommy Robinson. This is not good.
LB
09:54
Lisa Barbounis
Honestly that isn’t the case. It’s the opposite. I was just in an awkward situation over the weekend
with limited access to my computer and wanted to reply thoughtfully. Please don’t think that. Im back
to work and focused on MEF.

It’s been a stressful few weeks with the Gregg transition and learning new job functions not to
mention finals and my family.

MEF and it’s mission mean the world to me. I deeply apologize if it doesn’t appear that way at the
moment.
DP
09:56
Daniel Pipes
I am glad to hear that but you can see why, what with the transition and the new job functions, your
taking off for such a long period to do unrelated work gives me the impression that MEF is a low
priority. Especially as you did not indicate that this will be happening, nor give me a decision. You
just did it.
LB
09:59
Lisa Barbounis
I can see why you would feel that way. And all I can do is apologize and do better. The Tommy stuff
was something I was good at. I finally felt like I was contributing. I can see why it looks the way it
does. I guess I got carried away. I thought I was doing the right thing. Certainly wasn’t trying to
neglect MEF or hide things from you
DP
10:09
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Daniel Pipes
I forgive you this. But get to work and show me that MEF and its mission are as important as you say
they are. Remember, I've only worked directly with you for five weeks now. I am still getting to know
you and what you can do. Show me.
LB
10:10
Lisa Barbounis
Thank you. I will.
11 December 2018
DP
09:00
Daniel Pipes
https://twitter.com/DanielPipes/status/1072490863887044610
17 December 2018
LB
14:07
Lisa Barbounis
https://www.politico.eu/article/britain-nationalist-dark-web-populism-tommy-robinson/
20 December 2018
DP
07:31
Daniel Pipes
please remember to add an introduction to the first Bensman piece, explaining that he's a new fellow
LB
07:38
Lisa Barbounis
Will do
28 December 2018
DP
07:33
Daniel Pipes
In general, I’d appreciate your being in the office when I am.
LB
07:33
Lisa Barbounis
I understand my son is sick and my husband is away.
31 December 2018
DP
15:46
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Daniel Pipes
The Bensman piece is misdated. It did not come out today in the Federalist
LB
17:45
Lisa Barbounis
I will correct it. I put it as today’s date so that it would show on featured articles.
3 January 2019
LB
18:04
Lisa Barbounis
Dr. Pipes.

Arthur Stein called me today in response to your message.

Did you want to speak tomorrow about what he said? I feel like it would be better explained over the
phone rather than email.

Does that work for you?
DP
18:05
Daniel Pipes
do it now, while it's fresh
LB
18:05
Lisa Barbounis
Ok. I’ll call you now.
7 January 2019
DP
12:13
Daniel Pipes
tough one to decide: I am inclined to skip. Good but removed from our topics, no mention of Middle
East or Islamism. https://cis.org/Bensman/Notes-Trump-Administrations-Claim-3000Plus-Terrorist-
Apprehensions-US-Borders
LB
12:15
Lisa Barbounis
I’m a skip.
DP
12:32
Daniel Pipes
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Ok
10 January 2019
DP
12:08
Daniel Pipes
wondering why you sent out only the summary of the McDonald MEQ piece. We normally send out
the whole text.
LB
12:13
Lisa Barbounis
We did both. Grayson said you approved full mail out to those who donate anything and a partial mail
out to those who have not donated at all to drive traffic MEFO. Matt got a list of all donors that gave
anything since 2017 and separated them out. Grayson said we would normally do an excerpt of the
article but the beginning of the article was dull so he did a summary. I didn’t realize he was sending
the summary without your approval.

We have been working a lot together this week to get the website and MailChimp templates and
social media all to a baseline so we can track engagement and get more viewers.
DP
12:14
Daniel Pipes
I am unaware of all these decisions. I believe our primary goal is to get read, not to get traffice, and so
we should always send out the complete texts, unless there is some special reason not to (like the WSJ
does not allow that for a month).
LB
12:16
Lisa Barbounis
I was under the impression that you approved that decision.
12:17
I specifically asked.
12:18
We did it for two mail outs and web traffic has been higher in the last two days than the last two
months.
DP
12:20
Daniel Pipes
Let's avoid a big discussion of this issue. Just please go back to sending full texts always to everyone,
unless there's a special reason not to.
LB
12:21
Lisa Barbounis
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Ok
DP
12:31
Daniel Pipes
Thanks. How are your social media efforts going?
LB
12:43
Lisa Barbounis
Great actually. I opened an Instagram account yesterday and we have already had clicks there. I
tweeted articles from my personal account and got 50 clicks on the one article from my one tweet and
several retweets. As both Twitters grow that will help. I’m trying to follow the news trends and insert
our relevant articles into the conversations. My DC friends have big twitter followings and will also
retweet my posts.

I’m still waiting on YouTube to get back to me for access. I don’t want to start a brand new channel.
A lot of fellows sent me media clips so we have a lot to load and promote. Which is great.

Grayson asked to tackle Facebook for just the next few days to optimize some things.

And I have been calling editors and think I should have a meeting with the Wall Street Journal next
week. They sounded very interested.
DP
13:25
Daniel Pipes
good to hear things are moving. Let's talk before you meet editors to go over what you will say.
LB
13:38
Lisa Barbounis
Will do.
13 January 2019
DP
23:17
Daniel Pipes
our guy Tarek: https://twitter.com/Imamofpeace/status/1084295739511984128
14 January 2019
LB
11:17
Lisa Barbounis
I got a meeting with the editor at Reuters next Thursday in their building
DP
Exported Data                                                         Page 57 of 116
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11:26
Daniel Pipes
excellent
DP
11:54
Daniel Pipes
call me now for some connections I have to your editor list?
DP
22:36
Daniel Pipes
Looks like I will be addressing a conference in Brussels on Feb. 1
LB
22:37
Lisa Barbounis
I will still be there
DP
22:42
Daniel Pipes
I saw
LB
22:43
Lisa Barbounis
Is it a conference I could attend? To watch you speak?
DP
22:45
Daniel Pipes
Yes, to both, will send you something
DP
23:01
Daniel Pipes
It will be more like a seminar, of conservative parties dealing with the issue of immigration and
Islamization. I'd have to ask to get you in. Will send you more information on it when I have a formal
announcement
LB
23:05
Lisa Barbounis
Thank you. Since you will be there are you interested in attending Janice’s conference?
DP
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23:11
Daniel Pipes
When is it?
LB
23:11
Lisa Barbounis
The 30th
23:12
And a screening of Lauren Southerland’s borderless on the 31st. But I think you would be less
interested in that.
DP
23:12
Daniel Pipes
there is also a UN conference on the 31st
LB
23:13
Lisa Barbounis
Yes. I was going to try to go.
DP
23:13
Daniel Pipes
2019-01-31 invi-UNICRI.pdf
Not included, change data exporting settings to download.
507.4 KB
LB
23:13
Lisa Barbounis
We are all staying here: https://www.steigenberger.com/en/hotels/all-
hotels/belgium/brussels/steigenberger-wiltchers
DP
23:26
Daniel Pipes
thanks
15 January 2019
DP
09:38
Daniel Pipes
2019-02-01 BSF draft agenda.pdf
Not included, change data exporting settings to download.
82.2 KB
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09:38
not sure yet if going to this
17 January 2019
DP
09:50
Daniel Pipes
Daily Wire is a publication worth looking at for MEF authors. I've known Ben Shapiro since he was a
teenager.
LB
09:50
Lisa Barbounis
He’s my favorite.
LB
12:36
Lisa Barbounis
Grayson said you approved the partial mail out for non donors. I wanted to check with you before I
sent anything out.
DP
12:50
Daniel Pipes
yes, I reluctantly did because Matt had okayed this some time ago.
LB
15:41
Lisa Barbounis
When you get a moment will you take a look at the article emails I sent you from today and
yesterday?
DP
16:51
Daniel Pipes
I thought I returned both
LB
17:12
Lisa Barbounis
Apparently I’m not receiving emails. I contacted our email support
DP
17:12
Daniel Pipes
Spam?
Exported Data                                                         Page 60 of 116
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LB
17:13
Lisa Barbounis
Nothing
17:16
Just got them all back.
17:16
Some weird rule was applied.
DP
18:11
Daniel Pipes
you found them?
LB
18:11
Lisa Barbounis
Yes. They wound up in a fundraising folder. I have no idea how. Its fixed. All is right with the world.
DP
18:12
Daniel Pipes
fast internet and accurate computer are important for the good life
LB
18:12
Lisa Barbounis
True story.
LB
19:44
Lisa Barbounis
Dr. Pipes. I need your advice. Tommy just called me and said Janice deplatformed him from the
Brussels free speech and that Alex Jones was speaking. She told tommy she was afraid of protesters. I
asked Janice to confirm and she said she wasn’t confirming speakers at this time. I don’t want to be
associated with Alex Jones. She paid for my hotel. I paid for my flights and planned a few days extra
after. I want to pull out but I planned the trip. I’m thinking of pulling out but maybe just attending.
Thoughts?
DP
19:47
Daniel Pipes
Damn, damn. Yes, it would not be good for MEF to be assocaited with Jones, who is dispicable,
though attending is fine. What a dirty trick she pulled on you.
LB
19:50
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Lisa Barbounis
I’m disheartened. I’ll attend. Work from there network. Are you planning to speak at the other
conference?
DP
19:51
Daniel Pipes
I am inclined not to. I am tempted but there's so much work and I just got home after 20 days on the
road.
19:51
I can still try to get you into it
19:51
Have to decide in the next couple of days
LB
19:52
Lisa Barbounis
That would be great. I can still attend the UN conference, too
18 January 2019
DP
09:23
Daniel Pipes
You omitted the original title of Win's piece. Please add it to the website version.
LB
09:30
Lisa Barbounis
Ok. Doing it now
DP
09:31
Daniel Pipes
Please be careful. I don't want to be looking over your shoulder
LB
09:35
Lisa Barbounis
Understood.
19 January 2019
DP
13:58
Daniel Pipes
This caption at the Fatah piece: "Canada Grants Asylum To Saudi 18-Year-Old Women Who Feared
Severe Retaliation After Fleeing From Her Family"
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1. You don't ID which is Rahaf, nor who the other two are.

2. Captions should not be in caps.
21 January 2019
LB
12:14
Lisa Barbounis
I corrected it. I took it from the caption under the original source. I’m learning so much.

Secondly, Can we change the Bensman prayer rug title it’s a little boring?

Finally, may I attend the Qatar conference?
12:16
Prayer Rugs on the US Southern Border

Trump and Prayer-Rug Derangement Syndrome

Trump, Migration and Prayer Rugs on the Border

Prayer Rugs as Evidence of Islamic Migration over the US Southern Border
12:24
I was also thinking of writing an article about the Brussels conferences.
DP
12:48
Daniel Pipes
Good idea about Brussels. Will know later today if going or not
22 January 2019
DP
09:54
Daniel Pipes
Not going. Will ask if you can attend the Feb. 1 event.
09:58
wrote him, hinted at a trade, he includes you in his event, you get him to the one you are attending.
He'll write you directly if interested
LB
09:59
Lisa Barbounis
That’s great.
DP
10:02
Daniel Pipes
He wrote me, invited you
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LB
10:07
Lisa Barbounis
I received it. Thank you. I will send the request to Janice. What is the name of his conference and who
is he affiliated with? I did a quick google search and his website is not related to our work
DP
10:15
Daniel Pipes
I'll send you information
10:16
2019-02-01 BSF draft agenda.pdf
Not included, change data exporting settings to download.
82.2 KB
LB
10:16
Lisa Barbounis
Thank you.
10:17
Is he an organizer?
DP
10:18
Daniel Pipes
the organizer
DP
14:24
Daniel Pipes
catch me up when you are free? In my office
LB
14:25
Lisa Barbounis
I’ll be right in
23 January 2019
LB
10:10
Lisa Barbounis
Did you see the letter from the BBC that was sent to your email?
DP
10:10
Daniel Pipes
yes, and wrote back, asking for confirmation that it's legit
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LB
10:10
Lisa Barbounis
Tommy got the same one 2 days ago
10:10
He is declining to be interviewed
DP
10:10
Daniel Pipes
it is legit, then?
LB
10:11
Lisa Barbounis
Yes. He sent it to me as soon as he got it. He thinks that is why Janice deplatformed him
DP
10:11
Daniel Pipes
I'll look at it
10:12
big-time show. Why would she bounce him because of this? UK is a tad confusing
10:13
I'll go on the show if the producers convince me they will be fair to Tommy Robinson - and me
LB
10:15
Lisa Barbounis
I hear that his old staff Caolen Robertson has secret recordings of him and has been working with the
BBC. Caolen works with Lauren Southerland and they will be at the Brussels event, that’s the Janice
connection. When Tommy was in prison Caolen ciphered money to himself from Tommy’s donations
so tommy fired him. Sour grapes.
DP
10:16
Daniel Pipes
so, Caolen got TR bounced from the Janice event?
LB
10:18
Lisa Barbounis
That’s what tommy thinks but I don’t know. They said it was politics in the building. It doesn’t make
sense to me.
10:18
Alex Jones isn’t speaking now. They asked me to rejoin the speaker list. But I want to confirm the
other speakers before I agree
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DP
10:19
Daniel Pipes
good, and yes, be cautious
LB
10:21
Lisa Barbounis
When will you be in the office again? So I can adjust your Facebook. I leave late Monday night
DP
10:22
Daniel Pipes
Friday
10:32
my draft note to BBC, comments welcome:

Dear Mr Sweeney:

I'd be pleased to appear on camera on Panorama - with just one condition: that you convince me that
the show will be fair to Tommy Robinson (and also, by implication, to myself).

Tommy is unconscionably assaulted by the UK media, including the BBC, so I start out suspicious,
and the more so because the grapevine informs me that Tommy's former staffer Caolen Robertson has
secret recordings that he has made available to you.

If we can work this out, I will be in Philadelphia through the end of January.

Yours sincerely,

Daniel Pipes
LB
10:40
Lisa Barbounis
This is Tommy’s reply: Dear Mr Sweeney,

Thank you for your letter.

I am concerned that the programme and film you mention will contain false allegations about me.
Several disgruntled ex-employees have been shopping false allegations about me to various British
media. These former associates have a personal or political grudge against me, and are using their
former connection to me for collateral interests. I am concerned that they may have provided false and
defamatory allegations to the BBC that you might treat as fact. You should be aware of their malice,
and treat their information with skepticism.

It is important that I be given a reasonable opportunity to review these allegations before the
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broadcasts, and that I have a chance to consider them, and if necessary, to marshal contrary
information or documents. That cannot reasonably be done in a live “gotcha” environment. Your
letter outlining the scope of your programme is so general and vague that I cannot possibly proceed
without knowing more particulars. You are essentially asking about my entire life going back a
decade but have given me no specifics.

I know that Panorama prides itself in finding the truth, as opposed to merely publishing a tabloid-style
spectacle. I would ask that you put to me any stinging allegations in some detail, so that I can reply
comprehensively to them. This will ensure that your viewers have all of the facts from which to draw
their conclusions — not just those selected by my political opponents. You have asked me to reply to
you by 28 January; I am replying now so as to provide as much time as possible for you to put
allegations to me, and for me to furnish a reply, and for any follow-up exchanges. I am ready to start
this process immediately, and I would encourage you to send me any documents by e-mail, to
tommy2711robinson@icloud.com

This due diligence is important to ensure that you live up to your high journalistic standards, and just
as important, to ensure that you do not defame me, or permit other malicious individuals to use your
programme to do the same.

If the process over the next week is meaningful and comprehensive, I would consider appearing on
the programme itself. Your willingness to give me a fair and reasonable opportunity to know the case
against me will be an indication of how fairly the actual program will be.

I look forward to working with you.

Yours truly,

Stephen Lennon
10:46
I will send your draft back in one minute
10:57
Dear Mr Sweeney:

I'd be pleased to appear on camera on Panorama - with just one condition: that you convince me that
the show will be fair to Tommy Robinson (and also, by implication, to myself).

Tommy is unconscionably assaulted by the UK media, including the BBC, so I start out suspicious,
and the more so because the grapevine informs me that Tommy's disgruntled former staffer has been
contacting the media with the intention to damage his reputation.

If we can work this out, I will be in Philadelphia through the end of January.

Yours sincerely,

Daniel Pipes
24 January 2019
DP
08:00
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Daniel Pipes
Yawn:
08:00
https://www.timesofisrael.com/why-are-us-pro-israel-groups-boosting-a-far-right-anti-muslim-uk-
extremist/
LB
08:07
Lisa Barbounis
All old and fake news. At least all your quotes are good ones. They couldn’t even get why he was
arrested correct. Will they ever stop trying to do hit jobs?
DP
08:07
Daniel Pipes
Will you reply to this?
08:08
Though less important in the UK, this article has more importance to our readers and donors
08:08
by the way, I don't recall anywhere we calling ourselves pro-Israel
LB
08:11
Lisa Barbounis
Sure. There is so much wrong with the whole piece.
DP
08:12
Daniel Pipes
Ask the editor for a right to reply.
LB
08:12
Lisa Barbounis
Will do.
LB
12:53
Lisa Barbounis
I just wanted to double check with you. No one from the Times of Israel contacted your for comment,
correct? All of the quotes in this article are old. Yes?
DP
12:56
Daniel Pipes
Not sure. I think the author called me. I’ll check in a bit.
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LB
13:39
Lisa Barbounis
I’m writing the response but I think it might be good as an LTE with a broader general point. I’ll send
you both versions. BBC got back to Tommy. Did they get back to you? Here is their response:

British Broadcasting Corporation
W1 NBH 04D,
BBC Broadcasting House,
Portland Place,
London
W1A 1AA

BY EMAIL
24 January 2019

Dear Mr Lennon
Thank you for your email of 22 January.
In keeping both with the Ofcom guidelines and our own at the BBC, we outlined the areas in our
initial letter that we plan to discuss within the film – and with you on camera.
As I am sure you are aware, it is not standard practice to give exact detail on specific questions in
advance of any interview and we are under no obligation to do so. In addition, the areas outlined in
our original letter are ones on which you have discussed extensively – and have been questioned on in
the past.
We are, however, committed to engaging in a meaningful dialogue, and can confirm again that the
following are the areas that we hope to discuss during the interview:
1. Your involvement in and leadership of the English Defence League and, that during this time and
afterwards, you have been labeled as a far right extremist and, by some, a racist.
2. The way in which you have responded to certain articles and comments made about you, as well as
the response from your supporters following these incidents.
3. The language you have used when discussing Islam, Muslims, terrorism and child sexual
exploitation.
4. Discussion there has been as to the potential impact of your statements in encouraging the actions
of others.
5. The incidents where you have been charged with contempt of court; the impact this could have had
on active legal proceedings, and the effect these activities have had on survivors of CSE.
6. Your appointment as an adviser to UKIP and the debate there has been about your suitability for
this role as a result of your public statements on a range of issues as well as the convictions you have
received for a range of offences.
7. The background and publicly stated views of individuals and groups you have worked and
associated with both here and abroad.
8. The level and type of support you have received – including on social media platforms; at public
events and in terms of donations, and the incidents that have generated an increase in this support.
9. Debate about the ways in which the activities of those on the far right are as a result of, or
encouraged by, Islamist extremists and vice versa.
The interview will be an opportunity for you to discuss these subject areas with us, including both the
support and criticism you have received in relation to them. The interview will be pre-recorded, and
your response will be fairly and accurately reflected within the film.
We look forward to hearing from you.
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Yours sincerely
John Sweeney
BBC Panorama john.sweeney@bbc.co.uk




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http://www.bbc.co.uk
This e-mail (and any attachments) is confidential and
may contain personal views which are not the views of the BBC unless specifically stated.
If you have received it in
error, please delete it from your system.
Do not use, copy or disclose the
information in any way nor act in reliance on it and notify the sender
immediately.
Please note that the BBC monitors e-mails
sent or received.
Further communication will signify your consent to
this.
-----------------------------
DP
13:44
Daniel Pipes
I’ve not heard back. LTE?
LB
13:47
Lisa Barbounis
Letter to the editor
DP
13:52
Daniel Pipes
At least the BBC is being honest with him, that it's going after him. Not, for example, asking him his
views on the future of the UK or about his many ethnically diverse friendships
13:53
As it will presumably go ahead with this program anyway, it might be worth his while to appear on it.
Tough call.
LB
13:54
Lisa Barbounis
I told him I thought he should do it and I believe now plans to
DP
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13:54
Daniel Pipes
So, I agree too
LB
13:55
Lisa Barbounis
Yes.
DP
14:13
Daniel Pipes
Please send this out today - important today - to all but my list:
http://www.danielpipes.org/18683/mef-at-25-failure-success
LB
14:14
Lisa Barbounis
Its already up on the site was going to send at 3 but I can send now.
DP
14:14
Daniel Pipes
I just made some changes, like the logo at the bottom
LB
16:41
Lisa Barbounis
I think the conference call went well did you listen?
16:42
I will have the Tommy piece ready for you soon. I’m almost done.
DP
16:44
Daniel Pipes
I did not.

Great
DP
17:47
Daniel Pipes
This author called me today, wants to do a podcast about Tommy Robinson when I am in Boston in a
couple of months:
17:47
https://spectator.us/tommy-robinson-america/
17:47
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He grew up in the next town over from Luton
LB
17:48
Lisa Barbounis
That’s great!!
DP
17:48
Daniel Pipes
which reminds me, where do we stand on TR's visa to the US?
LB
17:49
Lisa Barbounis
My contacts have been unhelpful. Cruz’s guy called tommy yesterday and said they were discussing it
next week. I can jump back into it full steam. It would be great to get him here.
DP
17:51
Daniel Pipes
we need a patron in the USG; too bad Steve King is so discredited. Gosar?

you should include these developments in the weekly report
LB
17:53
Lisa Barbounis
Gosar was willing but didn’t have enough recognition with the embassy. We need someone on foreign
affairs or a bigger name I think.
17:53
Or someone in the administration. I reached out to Gorka and he said he would pass it along. Nothing
materialized.
DP
17:54
Daniel Pipes
Green wrote me: do call if the MEF does anything else in then UK or brings people over here. For
what my opinion’s worth, it would be good to try again to bring TR here, just to see what would
happen with his visa application.
17:54
Perhaps discuss a patron with EJ and Cliff
17:55
we don't want this to fizzle. That would be us losing
LB
17:55
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Lisa Barbounis
I will speak to them both
DP
18:13
Daniel Pipes
But the ToI response is the urgent matter.
LB
18:14
Lisa Barbounis
I’m almost there.
25 January 2019
LB
09:19
Lisa Barbounis
Should the wall street journal article go out with full text or partial text and a link to the article?
DP
09:22
Daniel Pipes
partial, as I did at DPO. That's the deal with them. I post the full text only after a month.
DP
23:01
Daniel Pipes
I posted the paper version at DPO, so it can be read there.

Nice mention by Josh Hammer: https://www.dailywire.com/news/42655/lol-palestinians-renounce-
all-us-aid-they-forgot-josh-hammer
LB
23:03
Lisa Barbounis
He’s a good guy. Loves MEF
26 January 2019
DP
10:12
Daniel Pipes
Did the BBC find my reply?
LB
10:22
Lisa Barbounis
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It was an assistant. I told her that you sent the reply and that you hadn’t received a response. She said
she would let them know. I gave her my email and told her if they don’t find it let me know and I’ll
make sure you resend it right away.
DP
10:23
Daniel Pipes
thanks.
27 January 2019
DP
17:22
Daniel Pipes
with all the excitement on Friday, we did not get to Facebook. Let's do that Tuesday
LB
17:35
Lisa Barbounis
I leave tomorrow night at 7pm but we can have Delaney or Matt switch the setting on Tuesday
DP
17:47
Daniel Pipes
ah, right, the big trip coming up
28 January 2019
DP
09:06
Daniel Pipes
I'd appreciate a report from you about Matt's actions and statements at the office tomorrow.
LB
09:07
Lisa Barbounis
Ok. I’ll send it over today.
DP
09:07
Daniel Pipes
Fine on the telephone, Thanks
LB
10:21
Lisa Barbounis
I just called from the office. Let me know when you are free to speak.
LB
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12:27
Lisa Barbounis
Can you please resend the bbc response to Sweeney and copy me? They didn’t get it.

Unless you just went with my edits then I can just send it from my email
DP
12:28
Daniel Pipes
Will do
LB
12:32
Lisa Barbounis
Thank you.
DP
14:57
Daniel Pipes




Sohrab Ahmari: I never met him but he's an Iranian-origin writer very much along our views and now
at the New York Post. Good person for you to meet
LB
14:58
Lisa Barbounis
I will reach out to him too
DP
18:10
Daniel Pipes
For Tommy Robinson:
18:10
https://nypost.com/2019/01/26/uk-paper-apologizes-and-pays-damages-to-melania-trump-over-false-
report/
18:11
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Look at the triviality of the Daily Telegraph's supposed error - really a matter of opinion
DP
22:57
Daniel Pipes
Wrote to BBC's Sweeney. Please make sure it got to him; and forward it to Tommy Robinson.
29 January 2019
LB
03:43
Lisa Barbounis
A second email to Sweeney?
03:43
I see it.
DP
11:33
Daniel Pipes
Matt just wrote me (about something trivial), first communication in nearly 4 days.
LB
12:28
Lisa Barbounis
Maybe that’s a good sign?
12:28
Trying to ease back into communicating? I’m just trying to be optimistic
DP
12:30
Daniel Pipes
we'll see
LB
12:57
Lisa Barbounis
Did you respond to the BBC newest reply?
DP
13:27
Daniel Pipes
I did not. Basically, Sweeney's asking me to trust him. Can you see if he is worthy of such trust?
DP
15:58
Daniel Pipes
1. Had it out at length with Matt. He's back in his old role. I told him I can't take another round of
antics like this.
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2. Delaney added you as editor to my Facebook page. Did it go through?
LB
16:43
Lisa Barbounis
1. Did he sound better? Was he apologetic?

2. I don’t see it on my page yet.
DP
16:48
Daniel Pipes
1. Noted that his entire family thought him nuts for confronting me as he did. Gave reasons as a
mixture of Arthur S, having bad feelings about Gregg, and wanting to show me who he is. Finally, did
apologize. I said, don't do this again.

2. Now?
LB
16:52
Lisa Barbounis
Got it.
16:52
Thank you.
30 January 2019
LB
14:07
Lisa Barbounis
John Sweeney - “Ghastly not on our side”
14:12
And if you are going to do it, do it only under the condition you have your own audio and video so
that they can’t take it out of context.
DP
14:42
Daniel Pipes
that quote is from where?

Tommy Robinson said he'd call today to discuss the BBC program but has not. Can you prompt him?
LB
16:35
Lisa Barbounis
I will. James delingpool I spelled that incorrectly.
16:35
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I was discreetly asking around.
16:35
Katie concurred. And she had nice things to say about you.
DP
16:53
Daniel Pipes
she did? After our blow-out fight in Palm Beach?
16:54
Talked with Tommy Robinson. He talked at length about the many tactics BBC might be using
against him, said I should not go on. I noted that I am a friendly voice for him, so all that does not
apply. Does he want me on or not? He said to wait a day or so until he meets with a media lawyer
LB
16:56
Lisa Barbounis
I’ll speak with him.
1 February 2019
LB
11:30
Lisa Barbounis
He said he would feel awful if bad stuff came out against him and damaged you by association. It’s up
to you. He’s just trying to be kind.
11:31




11:31
Only me. 😫
DP
11:49
Daniel Pipes
poor you
4 February 2019
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DP
15:08
Daniel Pipes
someone to meet:
15:08
https://en.wikipedia.org/wiki/Sohrab_Ahmari
6 February 2019
LB
11:34
Lisa Barbounis
I know that you are busy today. But I wanted to talk to you about Grayson’s upcoming visit. We want
to get video of the project directors and some fellows that are close. Are we able to reimburse for
transportation for the day to Philadelphia for filming?
11:35
The conference looks great on the web.
DP
11:35
Daniel Pipes
Later
DP
17:59
Daniel Pipes
Please don't send a private message to Gregg to the entire staff.

Who do you have in mind coming to Philadelphia?
LB
18:00
Lisa Barbounis
Sorry about that. The project directors to start. Then Oren, Sam M, maybe Micah
18:00
Each to do little videos about their work.
18:01
How was the conference? Was it a success? It looked very professional.
DP
18:01
Daniel Pipes
seems a bit extravagant to fly people all over for a little video .

Conference went well. Started slow, picked up speed
LB
18:01
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Lisa Barbounis
Not fly. Just train.
18:02
Like cliff Sam EJ
18:02
Anyone close-ish.
DP
18:02
Daniel Pipes
in this electronic age, do we really need to move people around for videos?
LB
18:03
Lisa Barbounis
They way Grayson will be filming it would be easier.
18:03
The*
18:08
For the most part either they have to come to the camera, or the camera has to come to them.
18:09
To make it quality we need to make use of the camera, lights, greenscreen etc. Skype won’t achieve
the results we are aiming for.
DP
18:19
Daniel Pipes
he would use the set-up at our office?
LB
18:27
Lisa Barbounis
Yes. That’s the plan.
LB
20:12
Lisa Barbounis
https://mobile.wnd.com/2019/02/al-jazeera-at-anti-qatar-conference-in-washington/amp/

Nice write up.
7 February 2019
LB
13:52
Lisa Barbounis
Can I tweet out the code pink interruption from our twitter account?
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13:52
DP
Daniel Pipes
Yes
DP
15:12
Daniel Pipes
Did you do so?
15:12
2. did Tommy Robinson tell you about the bit of mischief he is planning?
LB
15:13
Lisa Barbounis
I did tweet it out.
15:13
Yes I have been speaking with him. He told me he was going to speak with you today
15:14
He sent me the undercover videos he has. Pretty damaging
DP
15:15
Daniel Pipes
1. You did not mention me, more useful to me if you do.

2. Looks explosive
LB
15:16
Lisa Barbounis
He let me know late last night that he was planning to speak to you.

I think he is going to take down the BBC
DP
15:26
Daniel Pipes
looks like it.
15:37
I did my own: https://twitter.com/DanielPipes/status/1093608749514874880
LB
15:38
Lisa Barbounis
I will retweet that, too.
9 February 2019
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DP
07:40
Daniel Pipes
https://www.politicalite.com/breaking-news/breaking-tommy-robinson-to-expose-the-bbcs-fake-
news-against-him/
LB
07:54
Lisa Barbounis
I sent you a video to WhatsApp
DP
08:01
Daniel Pipes
Thanks, Tommy sent me that as well – that’s why I look to see for any coverage in the news
08:01
I do not think that yelling and making accusations is the best way of going about it – but we will see
LB
08:02
Lisa Barbounis
I sent the story to a NYT reporter that I have a meeting with. He’s thinking of running it. And we sent
it to Tucker and Hannity.
08:02
He showed them the footage calmly first before he yelled at them.
DP
08:03
Daniel Pipes
Please stick to Telegram. In case of discovery I do not want to have to turn over Anything but this
LB
08:03
Lisa Barbounis
Will do.
DP
11:03
Daniel Pipes
If we have moved to Grayson's website, does Gregg need still to be on the exchanges about articles to
MO, SMO, etc.?
LB
11:08
Lisa Barbounis
No. I just didn’t want to stir the pot.
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12:44
DP
Daniel Pipes
But you don't need him anymore to send the articles, right?
LB
13:29
Lisa Barbounis
Not one bit.
DP
14:05
Daniel Pipes
So, I'll suggest it
LB
14:07
Lisa Barbounis
I could just not copy him on there and then no harm no foul.
DP
14:08
Daniel Pipes
easiest, yes
LB
17:30
Lisa Barbounis
Tommy was asking for Bannon’s number and for some reason I can’t find it in my contacts. Do you
happen to have it?
DP
18:07
Daniel Pipes
+1 (310) 990-6526
LB
18:07
Lisa Barbounis
Thank you.
10 February 2019
DP
23:30
Daniel Pipes
Did I hear back from you about Tommy Robinson for Imam Tawhidi?
11 February 2019
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LB
08:28
Lisa Barbounis
I sent you a draft and you sent it back edited. You said you wanted to send it to Tawhidi.
DP
08:28
Daniel Pipes
I was waiting to get it back from you
LB
08:31
Lisa Barbounis
Oh. There were no instructions. I thought you were just showing me what you sent him. It looked
great to me.
LB
12:35
Lisa Barbounis
Would you like to come to Manchester for the BBC event and speak?
12:35
It will get lots of publicity. You could speak about how the MSM has an agenda for Islam?
LB
13:03
Lisa Barbounis




12 February 2019
LB
17:23
Lisa Barbounis
Grayson wants to know what you think about me doing a 5 min video on Rep. Omar to take
advantage of the news cycle
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DP
17:28
Daniel Pipes
Do you have something original to say on the subject?
LB
17:30
Lisa Barbounis
The controversy is being played out on Twitter. The new element is the video. I can also look for a
new angle. But the idea is to lay out the controversy for the lay man and go after her.
DP
17:32
Daniel Pipes
OK, go ahead
LB
17:33
Lisa Barbounis
Would you mind if I quoted your Twitter on the subject?
DP
17:34
Daniel Pipes
Of course not. It is public and meant to be quoted
LB
17:35
Lisa Barbounis
Sounds good. Thanks.
DP
19:18
Daniel Pipes
https://www.mirror.co.uk/news/uk-news/sir-tommy-robinson-banner-unfurled-13972878?
utm_source=facebook.com&utm_medium=social&utm_campaign=mirror_main
LB
19:23
Lisa Barbounis
Funny how they won’t report the real story about the bbc. Twitter and Facebook are going crazy with
the teasers.
13 February 2019
LB
05:20
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Lisa Barbounis
https://www.thesun.co.uk/news/8410133/tommy-robinson-drugs-racist-slur-rant/

Tommy just called me because the sun just leaked video of him that was taken from a private group
chat of him trying to be funny with his friends. It’s not funny. It’s bad.

This is going to be all over the news over there. In a matter of hours.
05:32
His base won’t care but it hurts his credibility. The only thing that could be saved is that the BBC or
MSM are scared and putting out tit for tat videos.
05:35
Even sadder, the group chat it came from has 3 Muslims in the chat. It’s supposed to be them being
funny with each other.
LB
05:53
Lisa Barbounis
https://www.facebook.com/thetommyrobinson/videos/424328728108417?sfns=mo
DP
06:33
Daniel Pipes
He's a rascal, gets constantly into trouble.
DP
06:53
Daniel Pipes
could you update the MEFO homepage Spotlight on Qatar to include the videos, etc. from the
conference?
06:55
And I cannot find the page with the videos from the conference - it should be prominently displayed
on the HP.

This is the sort of tending, updating, focusing that I am looking to you to do. I do this for DPO and
MEFO needs it too.
06:56
Also, the Spotlight is out of date, telling how to see the conference live-streamed.
06:57
I eventually found this page by looking it up in search, meaning I had to know it's there to find it - and
yet it's our showpiece page these days. Not good.
06:57
https://www.meforum.org/57747/qatar-us-ally-or-global-menace
LB
07:52
Lisa Barbounis
I will make sure it is up there now.
14 February 2019
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LB
18:55
Lisa Barbounis
SW
Samuel Westrop 14.02.2019 18:54:35
It's a blog post, but quite an important one. I know we don't usuually mail out blog posts, but it makes
MEF look quite good... what do you think? https://www.meforum.org/islamist-watch/57800/islamic-
relief-strikes-back-but-misses
DP
19:19
Daniel Pipes
Sure.
LB
19:19
Lisa Barbounis
Thank you
15 February 2019
DP
09:29
Daniel Pipes
I think you are dragging us into the Brexit issue and generally becoming too close to Tommy
Robinson
09:29
https://twitter.com/MikeStuchbery_/status/1096166169940234243
09:29
We have to stay out of unrelated topics and keep our distance
LB
09:31
Lisa Barbounis
Will do. I did say on that feed that we had nothing to do with that.
09:34
Did you get my email about the articles from yesterday?

And! We have one of the videos almost completely edited. I should have it in an hour or two to send
to you. I think these will be great!
DP
09:43
Daniel Pipes
1. Yes, but denial is not what we need.

2. Yes, but focused on writing at the moment.
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3. Good
09:52
1. Being defensive is not healthy for us
LB
09:54
Lisa Barbounis
Understood.
DP
09:54
Daniel Pipes
In this business, there really is no personal capacity. If you raise orchids, sure. But not topics related
to MEF's
LB
09:55
Lisa Barbounis
Agreed. I’ll be more careful. And I appreciate the feedback.
09:55
I take it seriously.
10:02
Another positive my friend on the hill is getting me Pence’s scheduler’s email for the speaking invite.
DP
10:03
Daniel Pipes
well done
DP
10:22
Daniel Pipes
let's SMO this
10:22
http://www.israelnationalnews.com/Articles/Article.aspx/23456
10:22
But title misses the point
LB
10:23
Lisa Barbounis
I can change the title on MEFO or leave it and commentary on SM will hit the target.
DP
10:43
Daniel Pipes
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it's the challenge to Omar that's central
19 February 2019
LB
11:28
Lisa Barbounis
Dr. Pipes. I just spoke with Raheem. He is speaking at CPAC and has a booth he isn’t using. In a
prime location. Would you want MEF to attend and man the booth? The booth is usually 4K but we
can get it from Raheem for 3k
11:29
I think it would be good for MEF.
DP
11:33
Daniel Pipes
Interesting. But I am wary of identifying MEF too explicity as conservative. That said, how would we
use it?
LB
11:36
Lisa Barbounis
We could have a screen with our videos. Maybe have EJ there to promote IVP. We still have IR
reports we could handout. I don’t think it would position us as too conservative because only the
people at the conference will know we are there and it’s great for getting new supporters/donors who
may not be familiar with our work.
11:36
We have all the banners and supplies.
DP
11:43
Daniel Pipes
One never knows, the other side trolls there. I'll be in shortly to discuss further, if you're in the office.
LB
11:43
Lisa Barbounis
I am here
DP
13:57
Daniel Pipes
Facebook not going through
LB
15:35
Lisa Barbounis
I’ll check it after the conference call
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DP
15:40
Daniel Pipes
have to leave shortly
DP
20:20
Daniel Pipes
The Twitter-Facebook connection does not work. I found this explanation:
20:20
https://help.twitter.com/en/managing-your-account/link-twitter-to-facebook
20:21
Important: A recent update to the Facebook Platform Policies ended the ability to automatically post
Tweets to your Facebook profile or page.
LB
20:21
Lisa Barbounis
I’ll just repost them for you. It’s not hard.
DP
20:21
Daniel Pipes
That's why my last post is Aug. 1. So, it has to be done manually.
20 February 2019
DP
10:52
Daniel Pipes
Ed told you about his idea of a US bus trip?
10:52
For Britain's Ed
LB
10:53
Lisa Barbounis
No Katie Hopkins asked me to do a bus trip for 2020 and said she was going to write up a two pager
but I never heard anything from ED about a bus thing.
DP
10:55
Daniel Pipes
Hello Daniel



I hope you are well. I recently spoke to Katie Hopkins, and we have tossed around the idea of a ‘bus
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tour’ of America, with speeches in cities across America. Possibly 20 speeches in 20 cities, which
could be timely for 2020.

A number of free speech advocates could be involved, and I think the idea would attract a lot of
attention and publicity. Katie may have mentioned it to Lisa, but would this be something the MEF
might want to sit at the top of? It needs an overarching group I feel – if the idea is something worth
exploring please let me know and perhaps Katie and I could talk to you further?

Thanks, Ed
LB
10:56
Lisa Barbounis




10:56
It’s the same one.
10:58
I said that I like the idea but for MEF to be interested would need and component of the work we do.
Katie Hopkins said that would absolutely be part of it
DP
11:06
Daniel Pipes
it's certainly original.
LB
11:07
Lisa Barbounis
She said she will send me the pager today or tomorrow. It’s her idea though.
DP
12:59
Daniel Pipes
Meltwater has started? I am not receiving anything
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LB
13:00
Lisa Barbounis
It has. What were you receiving from Cision? I have to set that up for you. I didn't know you got
anything. Alerts for you? Do you want fellows, too?
DP
13:07
Daniel Pipes
I receive the daily Cision mess of a report on MEF, projects, staff, fellows. I find it close to useless. It
missed my WSJ article last month, for instance.
LB
13:08
Lisa Barbounis
I will set up new alerts for you.
LB
16:09
Lisa Barbounis
I see that you were in the chat group for the Israel media hit. Are you alright with Grayson taking it?
DP
16:11
Daniel Pipes
I don't have an opinion. If he knows what he's talking about, that's fine
DP
19:11
Daniel Pipes
got a confirmation from Meltwater but it wants a password, which I don't have. Also, I'd like e-mails
to go to Daniel.Pipes@gmail.com, not Pipes@MEForum.org, which I limit to administrative matters
LB
19:13
Lisa Barbounis
Will do.
21 February 2019
LB
17:54
Lisa Barbounis
https://www.dropbox.com/home/Test%20Video?
preview=MEF+0221+LISA+EURO+MIGRANTS+v1.mp4
18:08
I think this link is better. https://www.dropbox.com/s/z1v7suu5a91q8lm/MEF%200221%20LISA%
20EURO%20MIGRANTS%20v1.mp4?dl=0
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18:08
What do you think?
DP
19:03
Daniel Pipes
Not sure what you are asking about
LB
19:03
Lisa Barbounis
It’s my video. Do you approve it for release?
DP
19:04
Daniel Pipes
just look at the second?
LB
19:05
Lisa Barbounis
Yes. There in one more version where there is was a jump in the footage but they fixed that. Just
content going forward
DP
19:10
Daniel Pipes
the 2nd one goes to 404
LB
19:12
Lisa Barbounis
She might have deleted the last link because of edits.
https://www.dropbox.com/s/ch6tc75yc8kl7y5/MEF%200221%20LISA%20EURO%20MIGRANTS%
20v2.mp4?dl=0
DP
19:23
Daniel Pipes
replied via e-mail
LB
19:32
Lisa Barbounis
I replied via email and forgot to thank you for the kind words.
19:33
I have a large group that could share it for me. Imam T, Katie, tommy, Janice, Amy Mek, etc.
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19:33
And it’s relevant in the news cycle.
19:37
Josh hammer and Raheem, too. Plus a few more.
DP
19:47
Daniel Pipes
go for it
LB
19:48
Lisa Barbounis
Thank you! We will improve as we go.
LB
21:40
Lisa Barbounis
Can you help with a title?
“Alarming Rise of anti-Semitism in the West”


“Anti-Semitism one of the West’s Worst Diseases”
21:40
“Rise of anti-Semitism from the far-right?”

Or “Rise of anti-Semitism in the West.”
DP
21:48
Daniel Pipes
far-right misses your point

It's not West, just Europe, right?

Antisemitism: An Ancient Demon Reemerges in Europe
LB
21:48
Lisa Barbounis
Perfect! Thank you!
24 February 2019
DP
10:09
Daniel Pipes
How did it go in Manchester?
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LB
11:28
Lisa Barbounis
Well. Good crowd all civil. The press didn’t cover it correctly. Called it a protest of an upcoming
documentary.
26 February 2019
LB
07:56
Lisa Barbounis
Newest update. They took the documentary off of YouTube and banned Tommy and Danny Tommo
from Facebook so no one can see the documentary. Coordinated censorships at its finest.
DP
09:38
Daniel Pipes
Noted.

I just got an MEFO article from Feb. 19. Please make sure you get mailings out the day of or the next
day, not a full week later. We look a bit slow and inept this way. Not who we are.
LB
09:39
Lisa Barbounis
Will do.
LB
11:31
Lisa Barbounis
I just heard about matt
DP
11:40
Daniel Pipes
Your thoughts?
LB
11:40
Lisa Barbounis
I would like to sit down with you maybe when you are in on Monday.
11:41
It’s hard for me to put into words via text.
DP
11:43
Daniel Pipes
we can talk on the telephone
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LB
11:43
Lisa Barbounis
It’s a big loss. Tricia can pick up some stuff but she is steadily swamped. there is more going on that
we should chat about. Yes. 5-10min?
DP
11:52
Daniel Pipes
yes
12:05
now is good, busy shortly
LB
12:05
Lisa Barbounis
Stepping out of the office now.
12:06
As soon as I’m out of the elevator
DP
17:04
Daniel Pipes
What do you think of my calling a staff meeting, minus Matt, including Marc, on Monday?
LB
17:05
Lisa Barbounis
Sounds like a plan. They would like to hear from you.
27 February 2019
DP
00:39
Daniel Pipes
Of note: Labour Party accuses Tommy Robinson of anti-Islamist hate speech:
https://www.theguardian.com/uk-news/2019/feb/26/tommy-robinson-banned-from-facebook-and-
instagram
28 February 2019
DP
16:45
Daniel Pipes
I am told that Facebook tells a person which posts got him banned; maybe this is the case for Tommy
Robinson too?
LB
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16:47
Lisa Barbounis
They did not in this case. They didn’t for my little page either. They did put out a statement
LB
17:44
Lisa Barbounis
Dr pipes. For your approval. It’s currently unlisted. https://youtu.be/x_mkhvQLb9w
DP
22:21
Daniel Pipes
it's fine.
1 March 2019
DP
10:49
Daniel Pipes
skip this please, not going to send out something that's so contrary to Israel Victory
10:49
https://www.jpost.com/Opinion/Trumps-plan-is-opportunity-to-change-paradigm-582114
4 March 2019
LB
06:17
Lisa Barbounis
Spoke to Tommy this morning. He very much wants to sue Facebook. I emailed the Facebook
congressional liaison for assistance retrieving the data. They should hand it over because zuckerburg
testify before Congress that users own their own data. I’m awaiting a response. If I don’t get one soon
we could ask a member office to reach out.

Tommy also wants to do a big Censorship demonstration with people who were censored for views on
Islam like our deplatforming event just bigger. He is looking for funding.
06:17
And I’ll be in on time today despite the snow.
DP
07:18
Daniel Pipes
Right, we can't do anything until he gets his Facebook data and soemone reliable goes through it all - I
wonder how much - to verify there is nothing that threatens violence to Muslims. Not a small
undertaking, I expect.

Funding street demonstrations was an exception in 2018 due to Tommy Robinson's urgent
circumstances. I don't see this as something we'll do agan in the future.
LB
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07:24
Lisa Barbounis
You asked about the man helping us with Tommy’s visa. His name is Terry Giles and apparently he is
very well connected and loaded. I am in regular contact with him. We should try to get him to be a
donor. https://goosesocietyoftexas.com/terry-giles/
DP
07:26
Daniel Pipes
Too bad - was in Houston two days ago, but I plan to be back. Please ask Caitriona to add him to
Salesforce.
LB
07:26
Lisa Barbounis
Will do.
LB
09:12
Lisa Barbounis
Might Shillman be interested in funding tommy again directly?
DP
09:39
Daniel Pipes
I don't know but it's not our first priority with him
DP
11:34
Daniel Pipes
Meltwater?
LB
11:34
Lisa Barbounis
You should be getting morning updates. Are you not receiving them?
DP
11:36
Daniel Pipes
nothing at all
LB
11:37
Lisa Barbounis
ok. give me 10
11:50
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We missed a check box. you will get a report 8 and 4 every day. 8 will me media and social media.
The 4 will just be media. We split the reports up so that its less confusing. The one from this morning
that I am going to forward to you has SM and articles mixed in. We corrected that just now.
DP
12:26
Daniel Pipes
Got the e-mail but it's too much, overwhelming. I'd like no SM and just names of MEF, projects, and
staff.
LB
12:27
Lisa Barbounis
Will do.
DP
12:27
Daniel Pipes
prefarably no repeats. In the Google alerts, for example, I have MEF -DP, so I only get MEF mentions
that do not also mention me.
LB
12:41
Lisa Barbounis
Can you send me contact info for dermer and Baird please?
DP
13:18
Daniel Pipes




13:18




13:21
Exported Data                                                         Page 99 of 116
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Ron Dermer.vcf
Not included, change data exporting settings to download.
589 B
LB
13:23
Lisa Barbounis
Thank you
LB
14:20
Lisa Barbounis
I would like to throw my hat in the ring for the office point person.
5 March 2019
DP
11:18
Daniel Pipes
got it. Is Matt in the office?
LB
11:21
Lisa Barbounis
yes
11:22
Dermer is great news. tricia is responding now
DP
11:30
Daniel Pipes
I'd like to balance him with another Middle East ambassador - perhaps UAE or Oman.
LB
11:31
Lisa Barbounis
We are still trying for pence. I’ll will get on them with Tricia now.
DP
11:31
Daniel Pipes
good, but the ambassadors are a different level
LB
14:22
Lisa Barbounis
Would you have any issue with Tricia and I sharing an office since we are working on so many things
together?
Exported Data                                                        Page 100 of 116
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DP
15:21
Daniel Pipes
No, you are welcome to do so.
LB
15:29
Lisa Barbounis
Thank you, we were thinking my office but last week marnie suggested Greggs. Do you care either
way? Either will work for us.
DP
15:48
Daniel Pipes
It's fine to take Gregg's - but temporarily, as I do see the new director moving in there before too long.
Your decision.
LB
15:49
Lisa Barbounis
We were thinking the director would go there too
DP
15:50
Daniel Pipes
3 of you in one room? Sounds like the Soviet Union
LB
15:50
Lisa Barbounis
Just 2. Tricia and I.
15:51
Tricia and me. Grammar.
DP
15:51
Daniel Pipes
not following - the new director would go there too?
LB
15:51
Lisa Barbounis
No. We would move once he is here
DP
15:52
Exported Data                                                        Page 101 of 116
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Daniel Pipes
if you are ready to move out when needed, enjoy it for now
LB
15:52
Lisa Barbounis
I think we will just move once and we will both be in mine.
7 March 2019
LB
06:20
Lisa Barbounis
Tommy will be re-charged today in 3.5 hours for contempt of court and will likely be back in court
next week. They are coming at him from every angle.
06:21
He just called me about his legal plans and help from us.
DP
07:57
Daniel Pipes
Damn. Help means money or something else?
LB
07:58
Lisa Barbounis
As an aside, I know that some people said my name for point person. If it is upsetting Marnie she can
be the point person for the office. I think we still need one.
07:58
He means legal help.
DP
08:00
Daniel Pipes
Thanks for the offer, but no.
8 March 2019
LB
13:31
Lisa Barbounis
Are you still planning to come into the office. Just so you know it’s just matt and I here
DP
13:31
Daniel Pipes
I am. At DMV now
9 March 2019
Exported Data                                                        Page 102 of 116
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LB
08:48
Lisa Barbounis
Since it is the same case as before are we able to help tommy through the legal project?
DP
09:05
Daniel Pipes
In theory. But I am under the impression he has plenty of funds for this.
LB
09:06
Lisa Barbounis
He doesn’t. PayPal was reduced by 70%. He paid out of pocket for the last demos. He running pretty
dry.
09:11
Plus I think he will need the international support again
DP
14:01
Daniel Pipes
Marc will also be calling in at 3:30. Could you handle the calls?
LB
14:07
Lisa Barbounis
Absolutely
13 March 2019
LB
12:16
Lisa Barbounis
https://www.dropbox.com/home/Test%20Video?preview=MEF+Oren+Islamists+FINAL+V2+.mp4
12:16
Latest video. Green light?
14 March 2019
LB
08:53
Lisa Barbounis
Can we put out the video?
DP
09:15
Daniel Pipes
I’ll get to it soon
Exported Data                                                        Page 103 of 116
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19:01
DP
Daniel Pipes
With Gregg back, I suggest sending the daily articles to him again
LB
19:02
Lisa Barbounis
And not you?
DP
19:09
Daniel Pipes
in addition to me
19:09
As before
LB
19:12
Lisa Barbounis
Sounds good
DP
19:37
Daniel Pipes
Please send anything like the video, which takes time to reply to, by e-mail. It gets lost here. Looking
now at what you sent
19:42
I am told that /test does not exist
LB
20:11
Lisa Barbounis
I’ll get it on YouTube and resend it.
20:11
To your email.
15 March 2019
DP
06:13
Daniel Pipes
do not find it
LB
06:14
Lisa Barbounis
It was still uploading last night to YouTube. I haven’t sent you the link just yet. I’ll send it over
if/when complete.
Exported Data                                                        Page 104 of 116
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06:15
Did you want to say anything about the new Zealand shooting from Twitter or stay out of it?
DP
06:46
Daniel Pipes
do you have something original to say? We do not praise or condemn as an institution. We offer
useful, important, surprising insights.
16 March 2019
LB
05:09
Lisa Barbounis
Can you kindly remind me of the 5 Ps. I can’t seem to find where you have it written
05:10
Never mind. I found it
DP
05:12
Daniel Pipes
6 now
LB
05:13
Lisa Barbounis
Police, politicians, press, priests, professors, and prosecutors
DP
05:13
Daniel Pipes
Bingo
LB
05:14
Lisa Barbounis
Thanks!
17 March 2019
DP
20:51
Daniel Pipes
https://news.yahoo.com/tommy-robinson-calls-new-zealand-terror-attacker-monster-attacks-media-
151508649.html?guccounter=1
18 March 2019
DP
15:16
Exported Data                                                        Page 105 of 116
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Daniel Pipes
Tell me if I am wrong, but I am under the impression that Jack Posobiec is not someone MEF wants
to associate with
LB
15:17
Lisa Barbounis
I’m friendly with him. He’s pro trump. I don’t find his tweets too extreme.
DP
15:39
Daniel Pipes
his reputation won't hurt us?
LB
16:04
Lisa Barbounis
I don’t think so. But how are we affiliated with him anyway? Am I missing something?
DP
16:07
Daniel Pipes
RTing him
LB
16:07
Lisa Barbounis
That was an accident that I immediately undid.
16:07
I don’t retweet like that from the MEF account. Only fellows and staff
DP
16:08
Daniel Pipes
good. And do remember to add value to the retweet. Be interesting
LB
16:08
Lisa Barbounis
Ok.
DP
16:08
Daniel Pipes
that's our stock in trade
19 March 2019
Exported Data                                                        Page 106 of 116
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LB
10:29
Lisa Barbounis
I know you are extremely busy. I want to get the lunch invites out for Tricia. I sent the drafts to you in
mailchimp. Can I send them out today?
DP
10:32
Daniel Pipes
the West Coast ones? Yes, I approved them, just asked them to be separate for San Diego, Los
Angeles, and Seattle, with $100 charge for SD &S, $250 for LA
LB
10:32
Lisa Barbounis
Thank you. Sending now.
DP
10:38
Daniel Pipes
The Spyer WSJ is a MO
LB
10:39
Lisa Barbounis
I don’t think we can mail it out Because it is behind a pay wall. I think we can do an expert and a link
to the article, correct?
10:40
He also has another different piece in FP that Business insider reposted. I’ll send you today’s articles
soon
DP
10:58
Daniel Pipes
yes, just a portion of it. By the way, aren't we just supposed to send out teasers of everything, pace
Grayson?
LB
11:32
Lisa Barbounis
We send full articles to donors and portions with a link to non donor subscribers
11:33
I have Marc’s press release loaded once you approve I’ll send
DP
11:40
Daniel Pipes
Exported Data                                                        Page 107 of 116
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The press release needs to be updated. I sent him the information from today
LB
11:44
Lisa Barbounis
I believe He sent back the updated version 15 min ago
DP
11:47
Daniel Pipes
grrh, I told Tricia the SD & S invitations had an error. $100 donation, not 250
11:47
I need to see the updated press release
LB
11:49
Lisa Barbounis
Caitriona said she updated the prices on the website and the invite. The ones we sent for SD and S
said 100. Are you looking at the test I sent you or the final I just sent out.
DP
12:02
Daniel Pipes
I am looking at what came by e-mail
LB
12:04
Lisa Barbounis
That must be the test email. The real ones I’m looking at were corrected
DP
12:14
Daniel Pipes
The press release is good to go
12:14
Sorry, the press release that I edited it is good to go I have to send it to you first
LB
12:39
Lisa Barbounis
As soon as you send it, I’ll send it go out.
DP
13:16
Daniel Pipes
sent it
21 March 2019
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DP
04:35
Daniel Pipes
You're off to London?
LB
04:39
Lisa Barbounis
I’m here. Still working though. I just updated your FB with your last tweet about an hour ago.

I won’t be in any papers. No Tommy events.
DP
04:51
Daniel Pipes
you should hope over to Budapest - the gang's mostly here for a big conference starting tomorrow
LB
04:52
Lisa Barbounis
I would love that. What time does it start and who is the whole gang?
DP
04:52
Daniel Pipes
2019-03-22to24 sched-MCCollegium.docx
Not included, change data exporting settings to download.
191.3 KB
LB
04:53
Lisa Barbounis
Oh wow. That is the whole gang!
23 March 2019
DP
11:15
Daniel Pipes
please note the typo: Muslims Who Stand Up To Mullah's Are No 'Islamophobes'
25 March 2019
DP
15:25
Daniel Pipes
your weekly reports? Please send them now to Gregg and me
26 March 2019
Exported Data                                                        Page 109 of 116
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LB
13:32
Lisa Barbounis
Sent plus a memo
13:34
I woudl love to pump out this video but it done by JAck Poseobiec and Mike Cernovich. It highlights
our event on Qatar
13:34
https://www.youtube.com/watch?v=lFimy3QXqSc
27 March 2019
LB
12:57
Lisa Barbounis
https://www.jpost.com/Arab-Israeli-Conflict/Daniel-Pipes-and-the-Israel-Victory-Project-584733
DP
13:28
Daniel Pipes
thanks
1 April 2019
LB
14:04
Lisa Barbounis
Can you send me the pipeline media contact?
DP
14:14
Daniel Pipes
William Mayer.vcf
Not included, change data exporting settings to download.
4.1 KB
LB
14:41
Lisa Barbounis
Thank you.
2 April 2019
DP
23:14
Daniel Pipes
When can I expect to hear back from you about the civilizationist conference?
3 April 2019
Exported Data                                                        Page 110 of 116
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06:55
LB
Lisa Barbounis
Gregg said he wanted the proposal by Friday.
06:55
I can try to speed it up if you like
DP
07:10
Daniel Pipes
That’s fine.
DP
17:36
Daniel Pipes
Please make sure that the two articles about Sisi indicate that they are part of a set
LB
17:36
Lisa Barbounis
ok
DP
17:37
Daniel Pipes
Nothing is routine
5 April 2019
DP
10:08
Daniel Pipes
please send me your response to Zand's Iran idea
LB
10:48
Lisa Barbounis
Sent.
8 April 2019
DP
16:18
Daniel Pipes
Columbia press release: should say "News" and picture should be at bottom. Otherwise good.
DP
23:26
Daniel Pipes
Lisa, you need to send the Seaman press release tonight
Exported Data                                                        Page 111 of 116
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23:27
It has to go out before elections start
9 April 2019
LB
03:09
Lisa Barbounis
I was asleep. Just sent it out.
10 April 2019
DP
23:59
Daniel Pipes
Is Tommy running?
11 April 2019
LB
02:05
Lisa Barbounis
We actually had a long conversation about this earlier tonight.

UKIP isn’t going to let him in at the moment. If he runs as an independent in the NE he is likely to
win. But, UKIP is threatening their relationship if he runs as an independent.

If he does that (runs, wins, and loses UKIP support) and Brexit actually happens then he loses the
MEP and has no political power.

On the other hand UKIP is using him right now. What are the odds they are ever going to really let
him in?

He has until April 25 to decide. What do you think.
DP
06:34
Daniel Pipes
I don’t know enough to give advice
14 April 2019
DP
23:01
Daniel Pipes
Hope you are feeling better. There are MO pieces by Ibrahim and Gurfinkiel
23:04
and this too is MO - IW and the projects need to do a better job of getting materials to you:
23:04
https://www.meforum.org/islamist-watch/58178/brooklyn-islamist-vigilantes
23:09
another MO:
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23:10
https://www.meforum.org/islamist-watch/58152/the-new-islamist-lobby
23:10
Good to get away from Syria and Iraq a bit
15 April 2019
DP
10:30
Daniel Pipes
hello?
LB
10:30
Lisa Barbounis
Sorry. I saw them. They will go out now. Posting them on the site. I already had them. Sam sent them
to me Sunday.
10:38
I also forgot to thank you for the book
10:51
Oren's piece was already on MEFO it is scheduled to go out today at 11
LB
16:55
Lisa Barbounis




DP
18:02
Daniel Pipes
viral over what?
LB
18:02
Lisa Barbounis
Exported Data                                                        Page 113 of 116
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The ibrehim article
DP
18:11
Daniel Pipes
of course - Notre Dame fire. Let's build on this
DP
18:38
Daniel Pipes
https://twitter.com/DanielPipes/status/1117919761210327040
17 April 2019
LB
15:12
Lisa Barbounis
https://www.meforum.org/islamist-watch/58246/cair-official-i-wish-hitler-was-alive-to-f-up
15:12
Can we mail this one out? It’s doing really well on IW
DP
15:17
Daniel Pipes
Yes, just make sure with Sam that he's made the changes I requested.
LB
15:25
Lisa Barbounis
He wants to make one more correction. When he does I will mail it out. He said 40 min to an hour
DP
16:35
Daniel Pipes
ok
DP
18:33
Daniel Pipes
Exported Data                                                        Page 114 of 116
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LB
18:34
Lisa Barbounis
😂😂
DP
18:57
Daniel Pipes
s2711lennon@icloud.com does not work anymore. Do you have a current e-mail address for Tommy
Robinson?
LB
18:58
Lisa Barbounis
tommy2711robinson@icloud.com
DP
18:58
Daniel Pipes
thank you
LB
18:58
Lisa Barbounis
Anytime.
DP
18:58
Daniel Pipes
He made a mess in Iceland. I guess he'll never learn.
LB
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18:59
Lisa Barbounis
I spoke to him about that he wants to refund them and do an event for free for them
DP
19:01
Daniel Pipes
Good.
18 April 2019
DP
07:53
Daniel Pipes
how much of me will show on camera today?
LB
08:11
Lisa Barbounis
Mid waist up
LB
13:53
Lisa Barbounis
Where did you go?
DP
14:11
Daniel Pipes
Marnie’s office
DP
23:13
Daniel Pipes
https://www.memri.org/jttm/jihadi-ideologue-celebrates-notre-dame-cathedral-fire-threatens-jihad-
against-france
19 April 2019
DP
10:27
Daniel Pipes
Let's skip the Ibrahim press release. 1. Too much time has gone by. 2. It appears not to be jihad:
10:27
https://www.pbs.org/newshour/world/short-circuit-likely-caused-notre-dame-fire-police-say
LB
10:37
Lisa Barbounis
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They wouldn’t tell us even if it was.
24 April 2019
LB
17:31
Lisa Barbounis
If Grayson attends the gala would MEF cover his room?
DP
17:40
Daniel Pipes
sure
LB
17:42
Lisa Barbounis
Great. Thanks
25 April 2019
DP
11:54
Daniel Pipes
Tommy Robinson is launching his campaign to become a Member of the European Parliament today.

His website is www.VoteTommy.co.uk
LB
13:11
Lisa Barbounis
I was going to send that to you this morning and I got distracted by Garry’s arrival!
13:12
Did you like the video?
DP
13:16
Daniel Pipes
very well done but too populist and non-specific for my taste
Next messages
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            EXHIBIT 89
            Message from
            Plaintiff to T.
              Robinson
            Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 321 of 446
From: Lisa Barbounis
Sent: Monday, December 03, 2018 12:33 PM EST
To: Tommy Robinson <tommy2711robinson@icloud.com>
Subject: Review: Documentary Proposal
Attachment(s): "TR Rape of Britain Proposal .docx"
Yax,

Review the attached proposal. Let me know if you want any edits. If not, please send to Dr. Pipes with a short note.
pipes@meforum.org

Lisa
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    EXHIBIT 90
Message from Plaintiff
      to Pipes
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        EXHIBIT 91
      Message from D.
      Pipes to Plaintiff
2/27/2021       Case 2:19-cv-05030-JDW Document
                                            Mail -111-3      Filed
                                                   Lisa Barbounis    03/02/21 Page 325 of 446
                                                                  - Outlook



       Re: TR Rape of Britain Proposal .docx
       Daniel Pipes <pipes@meforum.org>
       Wed 12/5/2018 11:15 AM
       To: Lisa Barbounis <Barbounis@meforum.org>
       Cc: Gregg Roman <Roman@meforum.org>

       Lisa,

       Thanks. But I am more convinced by Gregg’s many doubts, and most especially that
       funding this transforms our support for Tommy Robinson from his right to speak to his
       specific message. I need to watch him more before committing to that change.

               On 2018-12-04, 1:15 PM, "Lisa Barbounis" <Barbounis@meforum.org> wrote:

               To be fair, I know a lot about Tommy’s plans for this project and am slightly biased. He has been really
               excited about it. Being here and traveling all over England interviewing these families with Tommy has
               been eye opening. The public isn’t aware of the true extent of the problem and are completely unaware of
               how embedded it is with Islam. While these children are being abused they are told they are being tortured
               for the mere fact that they are non-Muslims. Even worse the local communities are actively covering up
               the crimes because they are either afraid of being labeled an Islamophobe or that they themselves will
               become a target. So many want to tell their story to the world. I think it would be an eye opening not only
               for the UK but for the Western world.

               Tommy is passionate and very smart. I believe the final product will be great. I also think it is something
               our audience would be interested in seeing. There is also fundraising potential.




https://outlook.office.com/mail/Barbounis@meforum.org/search/id/AAMkAGI0ZTI5OGNkLWJjYTEtNDhkMi1hOGI4LWQzMTY5ZmQzMmNkYwBGAAA…   1/1
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          EXHIBIT 92
          Message from
          Plaintiff to T.
            Robinson
Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 327 of 446
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       EXHIBIT 93
     Email to Pipes and
          Roman
     Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 329 of 446




From:                  Josh Halliday
Sent:                  Friday, December 7, 2018 9:25:43 AM
To:                    Daniel Pipes Gmail;Gregg Roman
Subject:               MEF involvement in Sunday's Brexit rally


Hello both,

Firstly, thank you for your response to my questions earlier this week. They will be
reflected in any articles we produce. Separately, I wanted to ask more about the Middle
East Forum's involvement in Sunday's Brexit rally in London. Lisa Barbounis, your
executive liaison, is pictured below with the organising team at a planning meeting on
30 November along with Tommy Robinson and others. Lisa is in London today with Avi
Yemini and Robinson's cousin, Kevin Carroll. Is the Middle East Forum providing
funding for this event? If not, could you please clarify the Middle East Forum's role in
the event, given that Lisa Barbounis was at the planning meeting and is with key
organisers today. I would be grateful if you could get back to me as soon as possible as
we have an urgent deadline.

Many thanks,
Josh




--
Josh Halliday
North of England correspondent
Guardian News & Media
     Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 330 of 446




-----
+44 7880 054578
josh.halliday@theguardian.com
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      EXHIBIT 94
      Message from
   Plaintiff to D. Pipes
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From:                      Lisa Barbounis
Sent:                      Friday, December 7, 2018 9:55:26 AM
To:                        Daniel Pipes
Cc:                        Gregg Roman
Subject:                   Re: MEF involvement in Sunday's Brexit rally


That is exactly what is going on. Noting I’m doing here is related to MEF

Get Outlook for iOS


From: Daniel Pipes <pipes@meforum.org>
Sent: Friday, December 7, 2018 2:53 PM
To: Lisa Barbounis
Cc: Gregg Roman
Subject: Fwd: MEF involvement in Sunday's Brexit rally

   This message was sent from outside the company by someone with a display name matching a user in your
   organisation. Please do not click links or open attachments unless you recognise the source of this email and
   know the content is safe.
Lisa,

I need a quick response from you. I am inclined to say that you are in London on your own initiative and
attended the planning meeting in a personal capacity, that MEF is not in any way connected to the Brexit
event. Okay with you?



---------- Forwarded message ---------
From: Josh Halliday <josh.halliday@theguardian.com>
Date: Fri, Dec 7, 2018 at 6:26 AM
Subject: MEF involvement in Sunday's Brexit rally
To: Daniel Pipes <daniel.pipes@gmail.com>, Gregg Roman <Roman@meforum.org>


Hello both,

Firstly, thank you for your response to my questions earlier this week. They will be
reflected in any articles we produce. Separately, I wanted to ask more about the Middle
East Forum's involvement in Sunday's Brexit rally in London. Lisa Barbounis, your
executive liaison, is pictured below with the organising team at a planning meeting on
30 November along with Tommy Robinson and others. Lisa is in London today with Avi
Yemini and Robinson's cousin, Kevin Carroll. Is the Middle East Forum providing
funding for this event? If not, could you please clarify the Middle East Forum's role in
the event, given that Lisa Barbounis was at the planning meeting and is with key
organisers today. I would be grateful if you could get back to me as soon as possible as
we have an urgent deadline.
     Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 333 of 446




Many thanks,
Josh




--
Josh Halliday
North of England correspondent
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iOS



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     EXHIBIT 95
  Instagram Message
         Logs
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Messages exported from: Lisa Reynolds (_lisabeth_ )
With: Facebook User
                                                                    12/5/2018 12:46 PM
Facebook User

You seem to have forgotten my request.

                                                                    12/5/2018 12:48 PM
Facebook User

Video call started

                                                                    12/5/2018 12:48 PM
Facebook User

Video call ended

                                                                     12/5/2018 1:00 PM
Facebook User

Video call started

                                                                     12/5/2018 1:00 PM
Facebook User

Video call ended

                                                                     12/6/2018 2:15 PM
Facebook User

Yes u do

                                                                     12/6/2018 2:40 PM
                                                               Lisa Reynolds

                                                               I have no clue.

                                                                     12/6/2018 3:07 PM
Facebook User

To see if you could find me a copy of the contract, i know im a pain but coul you have a look
 and i hope alls well

                                                                     12/6/2018 3:08 PM
                                                               Lisa Reynolds

                                                               What is it that your are looking for

                                                                     12/6/2018 3:08 PM
                                                               Lisa Reynolds

                                                               Call me

                                                                     12/6/2018 3:10 PM
Facebook User

Thats not the sort of thing one just discloses

                                                                     12/6/2018 3:12 PM
                                                               Lisa Reynolds

                                                               What are you talking about

                                                                     12/6/2018 3:14 PM
Facebook User

Its a request for a contract.

                                                                     12/6/2018 3:14 PM
Facebook User

You then asked me why




                                                                                 1
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                                                                      12/6/2018 3:14 PM
                                                                Lisa Reynolds

                                                                I’m confused

                                                                      12/6/2018 3:15 PM
Facebook User

Its all very confusing im sure

                                                                      12/6/2018 3:15 PM
Facebook User

Im off

                                                                      12/6/2018 3:15 PM
Facebook User

Ill give you a message soon

                                                                      12/6/2018 3:15 PM
                                                                Lisa Reynolds

                                                                No. Seriously

                                                                      12/6/2018 3:15 PM
Facebook User

Yea seriously im asking about a contract that invloves me

                                                                      12/6/2018 3:16 PM
Facebook User

Phonecalls ill have to think about

                                                                      12/6/2018 3:18 PM
Facebook User

Thank you for the quick responce i'll drop you a message down the line and see if you found
 it.

                                                                      12/7/2018 2:41 AM
Facebook User

Im about if you want to talk today.

                                                                      12/7/2018 7:11 AM
Facebook User

Video call started

                                                                      12/7/2018 7:11 AM
Facebook User

Video call ended

                                                                     12/7/2018 10:33 AM
Facebook User

Right lisa i would like my contact dont play dumb please u turne on us last time this is a
genuine request

                                                                     12/7/2018 10:33 AM
Facebook User

Turned*

                                                                     12/7/2018 10:34 AM
Facebook User

I emailed your people, nothing, i inboxed u




                                                                                2
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                                                                  12/7/2018 10:34 AM
Facebook User

You pretend not to know what im on about

                                                                  12/7/2018 10:34 AM
Facebook User

No more

                                                                  12/7/2018 10:34 AM
Facebook User

U want to chat then lets do thag

                                                                  12/7/2018 10:34 AM
Facebook User

That*

                                                                  12/7/2018 10:34 AM
Facebook User

Or just get it for me please

                                                                  12/7/2018 10:35 AM
                                                             Lisa Reynolds

                                                             Excuse me? I don’t play dumb. I forgot you even asked. You signed the agreement and
                                                              should have a copy because you signed it and sent it to us. I am not in the US right now.

                                                                  12/7/2018 10:35 AM
Facebook User

I know your here, and no theres reasons i dont someone played a foul

                                                                  12/7/2018 10:35 AM
Facebook User

So im asking you

                                                                  12/7/2018 10:36 AM
Facebook User

So between defending a theiving liar

                                                                  12/7/2018 10:36 AM
Facebook User

Fetch it for me please

                                                                  12/7/2018 10:36 AM
                                                             Lisa Reynolds

                                                             I saw plenty of messages you posted out there that could be a violation of that contract.

                                                             Who is the thieving liar?

                                                                  12/7/2018 10:37 AM
Facebook User

Ohhh have u

                                                                  12/7/2018 10:37 AM
Facebook User

What if i told u i never saw it

                                                                  12/7/2018 10:37 AM
Facebook User

So lets have it




                                                                             3
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                                                                   12/7/2018 10:37 AM
Facebook User

And lets see whos is in breach of what

                                                                   12/7/2018 10:38 AM
                                                              Lisa Reynolds

                                                              Who is the liar you reference

                                                                   12/7/2018 10:39 AM
Facebook User

What so u can screenshot? I trusted u once and i was bitten

                                                                   12/7/2018 10:39 AM
Facebook User

Im asking for the legal document with my name on it

                                                                   12/7/2018 10:39 AM
                                                              Lisa Reynolds




                                                                              4
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                                                  12/7/2018 10:39 AM
                                             Lisa Reynolds




                                                  12/7/2018 10:39 AM
Facebook User

Yea?

                                                  12/7/2018 10:39 AM
                                             Lisa Reynolds

                                             You signed it and sent it. How come you don’t have a copy?

                                                  12/7/2018 10:39 AM
Facebook User

So what

                                                  12/7/2018 10:40 AM
Facebook User

I signed it did i?

                                                  12/7/2018 10:40 AM
Facebook User

Then u have no worries do u

                                                  12/7/2018 10:40 AM
                                             Lisa Reynolds

                                             Who are you calling a thieving liar

                                                  12/7/2018 10:40 AM
Facebook User

Send it over

                                                  12/7/2018 10:40 AM
Facebook User

Tommo the one u gave 7 grand

                                                             5
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                                                                  12/7/2018 10:40 AM
Facebook User

The one u coached to lie to everyone

                                                                  12/7/2018 10:40 AM
                                                             Lisa Reynolds

                                                             I’m not in the office. I’m on the road.

                                                                  12/7/2018 10:40 AM
Facebook User

The one that beats his missis

                                                                  12/7/2018 10:40 AM
Facebook User

Then ring them

                                                                  12/7/2018 10:41 AM
Facebook User

The one we have a lot on

                                                                  12/7/2018 10:41 AM
Facebook User

Ill wait then

                                                                  12/7/2018 10:41 AM
                                                             Lisa Reynolds

                                                             You have no clue what you are talking about

                                                                  12/7/2018 10:41 AM
Facebook User

You dont need to time will do that for u

                                                                  12/7/2018 10:42 AM
                                                             Lisa Reynolds

                                                             I get that you are put off because the family didn’t want you to speak but you are going off
                                                              assumptions and not truths.

                                                                  12/7/2018 10:42 AM
Facebook User

May all of the poisons that lurk in the mud hatch out, justice be done though the heavens may
fall

                                                                  12/7/2018 10:42 AM
Facebook User

U backed the wrong horse

                                                                  12/7/2018 10:42 AM
                                                             Lisa Reynolds

                                                             I have no clue what that means.

                                                                  12/7/2018 10:43 AM
Facebook User

It means all will be revealed

                                                                  12/7/2018 10:43 AM
                                                             Lisa Reynolds

                                                             And I never coached anyone to lie about anything. There is no need




                                                                             6
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                                                   12/7/2018 10:43 AM
                                              Lisa Reynolds

                                              Not that part

                                                   12/7/2018 10:43 AM
Facebook User

You seem to not want to give it to me

                                                   12/7/2018 10:43 AM
Facebook User

Any reason?

                                                   12/7/2018 10:43 AM
Facebook User

I want to believe u

                                                   12/7/2018 10:43 AM
Facebook User

But u lied before

                                                   12/7/2018 10:43 AM
                                              Lisa Reynolds

                                              I don’t care if you have it. I just don’t have it. And I’m in London.

                                                   12/7/2018 10:43 AM
Facebook User

I know where u r

                                                   12/7/2018 10:44 AM
                                              Lisa Reynolds

                                              I never lied to anyone. I fought for you to get paid.

                                                   12/7/2018 10:44 AM
Facebook User

Its not rellevant

                                                   12/7/2018 10:44 AM
                                              Lisa Reynolds

                                              So you coming at me is unfounded.

                                                   12/7/2018 10:44 AM
Facebook User

You fought to keep me quiet

                                                   12/7/2018 10:44 AM
Facebook User

No its not

                                                   12/7/2018 10:44 AM
Facebook User

Much cane out

                                                   12/7/2018 10:44 AM
                                              Lisa Reynolds

                                              If that’s how you want to see it

                                                   12/7/2018 10:44 AM
Facebook User

Its doesnt matter how i want to see it


                                                              7
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                                                           12/7/2018 10:45 AM
Facebook User

If im in a legal document in entitled to see it

                                                           12/7/2018 10:45 AM
                                                      Lisa Reynolds

                                                      We came out supporting the event.

                                                           12/7/2018 10:45 AM
                                                      Lisa Reynolds

                                                      And others after it

                                                           12/7/2018 10:45 AM
Facebook User

No you allowed them to tell me i better not turn up

                                                           12/7/2018 10:45 AM
Facebook User

And i did anyway

                                                           12/7/2018 10:45 AM
                                                      Lisa Reynolds

                                                      I don’t know what you are getting at

                                                           12/7/2018 10:45 AM
Facebook User

U watched us arrange it all

                                                           12/7/2018 10:45 AM
                                                      Lisa Reynolds

                                                      I didn’t allow anything of the sort.

                                                           12/7/2018 10:45 AM
Facebook User

Then got on the tommo train

                                                           12/7/2018 10:45 AM
Facebook User

U did

                                                           12/7/2018 10:45 AM
Facebook User

In every way

                                                           12/7/2018 10:46 AM
                                                      Lisa Reynolds

                                                      Actually I became involved in the arranging toward the end you were out of it less than
                                                      halfway through

                                                           12/7/2018 10:46 AM
Facebook User

Its not rellevant

                                                           12/7/2018 10:46 AM
                                                      Lisa Reynolds

                                                      Tommo was very helpful




                                                                      8
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                                                                     12/7/2018 10:46 AM
Facebook User

Yea thanks to your ppl and no i was kicked off about 3 days before

                                                                     12/7/2018 10:46 AM
Facebook User

For his 7 grand i bet

                                                                     12/7/2018 10:46 AM
                                                              Lisa Reynolds

                                                              Not my people. The family and it was weeks before.

                                                                     12/7/2018 10:46 AM
                                                              Lisa Reynolds

                                                              Actually danny didn’t get almost anything for his participation

                                                                     12/7/2018 10:47 AM
                                                              Lisa Reynolds

                                                              That’s a FACT

                                                                     12/7/2018 10:47 AM
Facebook User

Ohhh but he did

                                                                     12/7/2018 10:47 AM
Facebook User

His missis has told me a lot

                                                                     12/7/2018 10:47 AM
Facebook User

And we know more than u realise

                                                                     12/7/2018 10:47 AM
Facebook User

I just want my contract

                                                                     12/7/2018 10:47 AM
                                                              Lisa Reynolds

                                                              No he didn’t. I have invoices for every penny. I know exactly what he got.

                                                                     12/7/2018 10:47 AM
Facebook User

Thats all there is too it

                                                                     12/7/2018 10:47 AM
Facebook User

Well she seems to think diff

                                                                     12/7/2018 10:47 AM
                                                              Lisa Reynolds

                                                              Who is she

                                                                     12/7/2018 10:48 AM
Facebook User

Shes no liar her other stories match up with screenshots

                                                                     12/7/2018 10:48 AM
Facebook User

For me to know


                                                                              9
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                                                                       12/7/2018 10:48 AM
                                                                Lisa Reynolds

                                                                Who?

                                                                       12/7/2018 10:48 AM
Facebook User

Why would i tell u?

                                                                       12/7/2018 10:49 AM
                                                                Lisa Reynolds

                                                                Because you are just making baseless claims. I was aware of every dollar that left.

                                                                       12/7/2018 10:49 AM
Facebook User

If u are fishing for info use your phone and even then u wont get it

                                                                       12/7/2018 10:49 AM
Facebook User

Then someone is lying either way its screenshot

                                                                       12/7/2018 10:49 AM
                                                                Lisa Reynolds

                                                                I think you are making it up to bash tommy and Danny because you are jealous. There is no
                                                                 other reason that I can see

                                                                       12/7/2018 10:49 AM
Facebook User

The man that sits in special branch parking spaces

                                                                       12/7/2018 10:49 AM
Facebook User

Fine then u dont have to worry?

                                                                       12/7/2018 10:49 AM
Facebook User

Send it over

                                                                       12/7/2018 10:50 AM
Facebook User

We will see whos a liar

                                                                       12/7/2018 10:50 AM
Facebook User

We know all

                                                                       12/7/2018 10:50 AM
Facebook User

You underestimated us

                                                                       12/7/2018 10:50 AM
Facebook User

Hes a grass

                                                                       12/7/2018 10:50 AM
Facebook User

Who meets old bill




                                                                                10
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                                                                  12/7/2018 10:50 AM
Facebook User

When he was arrested he was seen also

                                                                  12/7/2018 10:50 AM
Facebook User

Saying u know who i am

                                                                  12/7/2018 10:51 AM
Facebook User

We know who your actually working for and thats why you protect him.knowing full well hes a
grass

                                                                  12/7/2018 10:52 AM
Facebook User

May allllll of the poisons hatch out

                                                                  12/7/2018 10:52 AM
                                                             Lisa Reynolds

                                                             I have no clue what you are talking about I don’t know what grass is

                                                                  12/7/2018 10:52 AM
Facebook User

A snitch

                                                                  12/7/2018 10:52 AM
Facebook User

A fake

                                                                  12/7/2018 10:52 AM
Facebook User

They let him go when he said who he was

                                                                  12/7/2018 10:53 AM
Facebook User

The same guy we have a pic of his signature

                                                                  12/7/2018 10:53 AM
Facebook User

Grassing the ppl he took the hostage with

                                                                  12/7/2018 10:53 AM
                                                             Lisa Reynolds

                                                             Who?

                                                                  12/7/2018 10:53 AM
Facebook User

Tommo

                                                                  12/7/2018 10:53 AM
                                                             Lisa Reynolds

                                                             I’m lost

                                                                  12/7/2018 10:53 AM
Facebook User

The firms are clocking on




                                                                             11
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                                                            12/7/2018 10:53 AM
Facebook User

Exactly

                                                            12/7/2018 10:53 AM
                                                       Lisa Reynolds

                                                       What firms

                                                            12/7/2018 10:53 AM
Facebook User

You either know and call me jealous because your mad

                                                            12/7/2018 10:53 AM
Facebook User

Or you dont and should

                                                            12/7/2018 10:53 AM
Facebook User

Either way

                                                            12/7/2018 10:53 AM
Facebook User

Contract please

                                                            12/7/2018 10:54 AM
                                                       Lisa Reynolds

                                                       No. That’s a outsider view. I can’t think of another reason.

                                                            12/7/2018 10:54 AM
Facebook User

Suit yourself

                                                            12/7/2018 10:54 AM
                                                       Lisa Reynolds

                                                       Spoke to you after and you were outraged

                                                            12/7/2018 10:54 AM
Facebook User

I have made my request

                                                            12/7/2018 10:54 AM
Facebook User

Corse i was

                                                            12/7/2018 10:54 AM
Facebook User

You done us over

                                                            12/7/2018 10:54 AM
Facebook User

U gave him financial insentive

                                                            12/7/2018 10:54 AM
                                                       Lisa Reynolds

                                                       Wasn’t saying no to the contract I know that you don’t understand my point of view

                                                            12/7/2018 10:54 AM
Facebook User

To sell out


                                                                       12
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                                                        12/7/2018 10:55 AM
Facebook User

I couldnt care less u underestimated us

                                                        12/7/2018 10:55 AM
Facebook User

And watch us get bad mouthed

                                                        12/7/2018 10:55 AM
Facebook User

No more

                                                        12/7/2018 10:55 AM
                                                   Lisa Reynolds

                                                   He didn’t get anything. You got more than him

                                                        12/7/2018 10:55 AM
Facebook User

No i didnt get f all

                                                        12/7/2018 10:56 AM
Facebook User

I saw his account

                                                        12/7/2018 10:56 AM
                                                   Lisa Reynolds

                                                   You got over 900£

                                                        12/7/2018 10:56 AM
Facebook User

And a shitty stage

                                                        12/7/2018 10:56 AM
Facebook User

No

                                                        12/7/2018 10:56 AM
Facebook User

Oh did i?

                                                        12/7/2018 10:56 AM
Facebook User

Jan knows different

                                                        12/7/2018 10:56 AM
Facebook User

Theres more than one snake involved here

                                                        12/7/2018 10:56 AM
                                                   Lisa Reynolds

                                                   The money got put in his account and got paid out of there. I have receipts for everything

                                                        12/7/2018 10:56 AM
Facebook User

Now you still seem to be in defence of the grass

                                                        12/7/2018 10:56 AM
Facebook User

Sweet


                                                                   13
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                                                          12/7/2018 10:56 AM
                                                     Lisa Reynolds

                                                     I think someone is lying to you the.

                                                          12/7/2018 10:56 AM
                                                     Lisa Reynolds

                                                     Then

                                                          12/7/2018 10:57 AM
Facebook User

Then you have no worries

                                                          12/7/2018 10:57 AM
                                                     Lisa Reynolds

                                                     I’m just being honest.

                                                          12/7/2018 10:57 AM
Facebook User

I know what i know

                                                          12/7/2018 10:57 AM
Facebook User

And if u knew what i know

                                                          12/7/2018 10:57 AM
                                                     Lisa Reynolds

                                                     What are you trying to say?

                                                          12/7/2018 10:57 AM
Facebook User

You wouldnt be so funny about things

                                                          12/7/2018 10:57 AM
                                                     Lisa Reynolds

                                                     Just say it

                                                          12/7/2018 10:57 AM
Facebook User

Im saying i want my contract

                                                          12/7/2018 10:57 AM
Facebook User

And if u hadnt fucked us you would know what we do

                                                          12/7/2018 10:58 AM
Facebook User

U sold us out fair enough

                                                          12/7/2018 10:58 AM
                                                     Lisa Reynolds

                                                     What am I funny about? I could just ignore you. But I’m not. There is nothing in this for me

                                                          12/7/2018 10:58 AM
Facebook User

But i want that document

                                                          12/7/2018 10:58 AM
                                                     Lisa Reynolds

                                                     I did??


                                                                     14
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                                                 12/7/2018 10:58 AM
                                           Lisa Reynolds

                                           Ok.

                                                 12/7/2018 10:58 AM
Facebook User

Ignore me then

                                                 12/7/2018 10:58 AM
                                           Lisa Reynolds

                                           Don’t you have the email you sent it from?

                                                 12/7/2018 10:58 AM
Facebook User

But youll find im bound by nothing

                                                 12/7/2018 10:58 AM
Facebook User

And were not going away

                                                 12/7/2018 10:59 AM
                                           Lisa Reynolds

                                           Why don’t you just be honest and tell me what’s going on

                                                 12/7/2018 10:59 AM
Facebook User

Why would i

                                                 12/7/2018 10:59 AM
Facebook User

U are protecting a scum bag

                                                 12/7/2018 10:59 AM
                                           Lisa Reynolds

                                           Because it’s not getting you anywhere being cryptic

                                                 12/7/2018 10:59 AM
Facebook User

So your not on our level

                                                 12/7/2018 10:59 AM
Facebook User

Yes it is

                                                 12/7/2018 10:59 AM
Facebook User

Im asking for a document

                                                 12/7/2018 10:59 AM
                                           Lisa Reynolds

                                           Give me proof he is a scumbag that would help if that’s the case

                                                 12/7/2018 10:59 AM
Facebook User

Your wondering why

                                                 12/7/2018 11:00 AM
                                           Lisa Reynolds

                                           What does one have to do with the other?


                                                           15
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                                                                12/7/2018 11:00 AM
                                                           Lisa Reynolds

                                                           Shoot straight with me

                                                                12/7/2018 11:00 AM
Facebook User

Thats your problem and no you will go try to cover it up

                                                                12/7/2018 11:00 AM
Facebook User

No chance what like u did with me?

                                                                12/7/2018 11:00 AM
Facebook User

Na

                                                                12/7/2018 11:00 AM
Facebook User

TRR do this for free and the country

                                                                12/7/2018 11:00 AM
Facebook User

Watching u defend a dog

                                                                12/7/2018 11:00 AM
Facebook User

Makes it all clear to us

                                                                12/7/2018 11:01 AM
                                                           Lisa Reynolds

                                                           What did I do with you? No one but me thought we should pay you and we did.

                                                                12/7/2018 11:01 AM
Facebook User

Seeing u sat with him

                                                                12/7/2018 11:01 AM
Facebook User

Did it for me

                                                                12/7/2018 11:01 AM
Facebook User

I see it all now

                                                                12/7/2018 11:01 AM
                                                           Lisa Reynolds

                                                           I did actually

                                                                12/7/2018 11:01 AM
Facebook User

I heard avi is on the payroll too

                                                                12/7/2018 11:01 AM
                                                           Lisa Reynolds

                                                           When did you see me sat with him?

                                                                12/7/2018 11:01 AM
Facebook User

How many you controling


                                                                            16
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                                                   12/7/2018 11:01 AM
                                              Lisa Reynolds

                                              Avi isn’t on payroll! What?!

                                                   12/7/2018 11:01 AM
Facebook User

In a ukip conference

                                                   12/7/2018 11:01 AM
Facebook User

Or whatever it was

                                                   12/7/2018 11:02 AM
Facebook User

Maybe hes not thats not reliable

                                                   12/7/2018 11:02 AM
Facebook User

But i wouldnt be surprised

                                                   12/7/2018 11:02 AM
                                              Lisa Reynolds

                                              Where are you getting your info? I’m here in personal capacity not through MEF

                                                   12/7/2018 11:02 AM
Facebook User

Corse u r

                                                   12/7/2018 11:02 AM
                                              Lisa Reynolds

                                              Brexit isn’t in the MEF mission. Not even close.

                                                   12/7/2018 11:02 AM
Facebook User

And im bill clinton

                                                   12/7/2018 11:02 AM
                                              Lisa Reynolds

                                              I swear on my children.

                                                   12/7/2018 11:03 AM
Facebook User

If u dont want to talk then were done here

                                                   12/7/2018 11:03 AM
Facebook User

Ill wait for the contract

                                                   12/7/2018 11:03 AM
Facebook User

I gave u the chance to talk via phone

                                                   12/7/2018 11:03 AM
Facebook User

All im seeing is questions

                                                   12/7/2018 11:03 AM
Facebook User

You dont give away your ppls info


                                                              17
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                                                                      12/7/2018 11:03 AM
                                                                Lisa Reynolds

                                                                Cause I’m so confused

                                                                      12/7/2018 11:03 AM
Facebook User

Why would i

                                                                      12/7/2018 11:03 AM
Facebook User

Your not

                                                                      12/7/2018 11:03 AM
                                                                Lisa Reynolds

                                                                Your info isn’t reliable.

                                                                      12/7/2018 11:03 AM
                                                                Lisa Reynolds

                                                                Ok.

                                                                      12/7/2018 11:03 AM
Facebook User

Your using clever tactics to disarm me

                                                                      12/7/2018 11:04 AM
Facebook User

Oh but it is

                                                                      12/7/2018 11:04 AM
                                                                Lisa Reynolds

                                                                I was at lunch when you called

                                                                      12/7/2018 11:04 AM
Facebook User

Even has.met police on it

                                                                      12/7/2018 11:04 AM
                                                                Lisa Reynolds

                                                                I swear I’m lost and your info is wayyyyy off

                                                                      12/7/2018 11:04 AM
Facebook User

Or threats to me that he couldnt back up when i called it out

                                                                      12/7/2018 11:04 AM
                                                                Lisa Reynolds

                                                                I have no malice toward you. I just don’t understand what it is you are trying to say.

                                                                      12/7/2018 11:04 AM
Facebook User

The guys he did the robbery with know he kept a LOT of coke

                                                                      12/7/2018 11:05 AM
Facebook User

As did his mrs

                                                                      12/7/2018 11:05 AM
Facebook User

Im asking for a contract


                                                                                18
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                                                   12/7/2018 11:05 AM
Facebook User

The one of me and jan

                                                   12/7/2018 11:05 AM
Facebook User

Jan doxed my family

                                                   12/7/2018 11:05 AM
Facebook User

Hes now in cahoots with danny

                                                   12/7/2018 11:05 AM
                                              Lisa Reynolds

                                              All I know is you are saying
                                              1 Danny is a grass
                                              2 he got more money than he did

                                              Other than that I have no clue what you are talking about.

                                                   12/7/2018 11:05 AM
Facebook User

My mum is all over the internet

                                                   12/7/2018 11:05 AM
Facebook User

Family threatened

                                                   12/7/2018 11:05 AM
                                              Lisa Reynolds

                                              I thought you and Jan were friends

                                                   12/7/2018 11:05 AM
Facebook User

Oh hea deff a grass

                                                   12/7/2018 11:06 AM
Facebook User

Im not playing these games

                                                   12/7/2018 11:06 AM
Facebook User

He grassed his own mates aftet the robbery

                                                   12/7/2018 11:06 AM
Facebook User

We have the document

                                                   12/7/2018 11:06 AM
Facebook User

Among other things

                                                   12/7/2018 11:07 AM
Facebook User

Now hes asking ppl.for money and hiding it?

                                                   12/7/2018 11:07 AM
Facebook User

Tut tut



                                                              19
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                                                                  12/7/2018 11:07 AM
                                                            Lisa Reynolds

                                                            Ok but I think you think I know some weird inter-workings.

                                                            What document?! I’m getting frustrated-becauseI can’t follow what you are saying.

                                                                  12/7/2018 11:07 AM
Facebook User

My contract

                                                                  12/7/2018 11:07 AM
Facebook User

End of

                                                                  12/7/2018 11:08 AM
                                                            Lisa Reynolds

                                                            Ok.

                                                                  12/7/2018 11:09 AM
Facebook User

So youll send it over

                                                                  12/7/2018 11:09 AM
                                                            Lisa Reynolds

                                                            Of course as soon and I get my hands on it

                                                                  12/7/2018 11:09 AM
Facebook User

Soon please i feel an urge for fun

                                                                  12/7/2018 11:09 AM
                                                            Lisa Reynolds

                                                            I sent an email to the lawyer who keeps them

                                                                  12/7/2018 11:09 AM
                                                            Lisa Reynolds

                                                            What does that mean

                                                                  12/7/2018 11:10 AM
Facebook User

Who knows

                                                                  12/7/2018 11:10 AM
                                                            Lisa Reynolds

                                                            Stop being coy. Why can’t you just shoot straight.

                                                                  12/7/2018 11:10 AM
                                                            Lisa Reynolds

                                                            It’s not helping your cause

                                                                  12/7/2018 11:10 AM
Facebook User

Why are u defending a hostage taking grass and i dont need to help my case i know your
involved

                                                                  12/7/2018 11:11 AM
Facebook User

I dont need or want to impress you were real patriots




                                                                            20
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                                                                       12/7/2018 11:11 AM
                                                                 Lisa Reynolds

                                                                 How am I even doing that?

                                                                       12/7/2018 11:11 AM
Facebook User

Not funding addicts

                                                                       12/7/2018 11:11 AM
Facebook User

I trusted u

                                                                       12/7/2018 11:11 AM
Facebook User

More fool me

                                                                       12/7/2018 11:11 AM
                                                                 Lisa Reynolds

                                                                 You say I’m defending him and I don’t know where you see that

                                                                       12/7/2018 11:11 AM
Facebook User

I will earn people respect in the field

                                                                       12/7/2018 11:12 AM
Facebook User

Not get jumped up by those who care not for the moral cause

                                                                       12/7/2018 11:12 AM
                                                                 Lisa Reynolds

                                                                 Unless there is proof he did something else with the money then that’s a different story. But
                                                                 right now I have receipts and his bank info r

                                                                       12/7/2018 11:13 AM
Facebook User

Then we both have interesting documents

                                                                       12/7/2018 11:13 AM
Facebook User

What funnñnnn

                                                                       12/7/2018 11:15 AM
Facebook User

My crew are what matter

                                                                       12/7/2018 11:15 AM
Facebook User

So sharing with you is not in my interest you will say lets talk in the funture blah blah then
 defend our enemies




                                                                                 21
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                                                                     12/7/2018 11:22 AM
Facebook User




                                                                     12/7/2018 11:33 AM
Facebook User

Seems strange you are involved in ukip? Someone guiding them i take it

                                                                     12/7/2018 11:34 AM
Facebook User

U sat back after watching him put out lies on a tommy page putting me in danger and u
thought its ok we have something on him because he breached a contract

                                                                     12/7/2018 11:35 AM
Facebook User

So you sold us out for no reason but it made it clear you would if u could u felt that contract
 would get rid of us after seeing us put in danger and wronged u lied to us especially me

                                                                     12/7/2018 11:36 AM
Facebook User

I breached nothing

                                                                     12/7/2018 11:36 AM
Facebook User

Im confident but some people are not

                                                                     12/7/2018 11:36 AM
Facebook User

May all of the poisons....



                                                                               22
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                                                                12/7/2018 11:48 AM
                                                           Lisa Reynolds

                                                           That’s not what happened at all.

                                                                12/7/2018 11:49 AM
Facebook User

Lisa

                                                                12/7/2018 11:49 AM
Facebook User

I respect your intelligence too much to believe u

                                                                12/7/2018 11:49 AM
Facebook User

You are far brighter than u let on

                                                                12/7/2018 11:50 AM
Facebook User

Thats why you are trusted to do what u do

                                                                12/7/2018 11:50 AM
Facebook User

We are a cut above the usual grass roots ppl u deal with

                                                                12/7/2018 11:50 AM
Facebook User

We deal in info and mind games

                                                                12/7/2018 11:50 AM
Facebook User

Theres a reason no group wants it with us

                                                                12/7/2018 11:50 AM
Facebook User

And cant shut us down

                                                                12/7/2018 11:50 AM
Facebook User

Even if im locked away

                                                                12/7/2018 11:51 AM
Facebook User

The motions are put in place

                                                                12/7/2018 11:51 AM
Facebook User

Trr will push on

                                                                12/7/2018 12:01 PM
                                                           Lisa Reynolds

                                                           I appreciate the vote of confidence but I think you have me all wrong. I’m not trying to shut
                                                            anybody down I think we need as many people in this fight as we can get

                                                                12/7/2018 12:04 PM
Facebook User

Then you wouldnt have lies and sold us out




                                                                           23
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                                                                  12/7/2018 12:04 PM
Facebook User

You wouldnt defend the man that deliberatley used me to climb then threw us under the buss

                                                                  12/7/2018 12:04 PM
Facebook User

You wouldnt persuade peoples actuons via your companies orders

                                                                  12/7/2018 12:05 PM
Facebook User

You wouldnt have outcast the ONE group that tackles the left un shadow banned so so bad
 cos we speak the truth funny how danny, mr scotland yard isnt

                                                                  12/7/2018 12:06 PM
                                                            Lisa Reynolds

                                                            When did I lie to you? And how am I defending him. All I said is I know where the money went
                                                            and it wasn’t to him

                                                                  12/7/2018 12:07 PM
                                                            Lisa Reynolds

                                                            I’m here to help Tommy and help the cause I have no allegiance other than that

                                                                  12/7/2018 12:08 PM
Facebook User

No your here to influence everything from ukip to minions

                                                                  12/7/2018 12:09 PM
                                                            Lisa Reynolds

                                                            No.

                                                                  12/7/2018 12:09 PM
Facebook User

Do u want to talk prop or not

                                                                  12/7/2018 12:09 PM
Facebook User

This is a waste of time

                                                                  12/7/2018 12:09 PM
Facebook User

Sweet

                                                                  12/7/2018 12:09 PM
                                                            Lisa Reynolds

                                                            I’m out right now but when I have a minute I’ll ring you

                                                                  12/7/2018 12:09 PM
Facebook User

Ok

                                                                  12/7/2018 12:09 PM
Facebook User

Im training then on a podcast soon so message me first

                                                                  12/7/2018 12:09 PM
Facebook User

But dont expect answers




                                                                            24
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                                                  12/7/2018 12:10 PM
                                             Lisa Reynolds

                                             Will do

                                                   12/7/2018 1:11 PM
Facebook User

Video call started

                                                   12/7/2018 1:11 PM
Facebook User

Video call ended

                                                   12/7/2018 1:13 PM
                                             Lisa Reynolds

                                             What are you talking about?

                                                   12/7/2018 1:13 PM
Facebook User

U did that

                                                   12/7/2018 1:38 PM
                                             Lisa Reynolds

                                             I didn’t do anything. I’m not even with danny

                                                   12/7/2018 1:39 PM
Facebook User

He rang me so u rang him

                                                   12/7/2018 1:40 PM
Facebook User

Tut tut

                                                   12/7/2018 1:40 PM
Facebook User

He gave me exactly what i needed

                                                   12/7/2018 1:40 PM
Facebook User

U should have listened

                                                   12/7/2018 1:42 PM
                                             Lisa Reynolds

                                             You are out of your mind. I didn’t even speak to him.

                                                   12/7/2018 1:43 PM
Facebook User

Coinsidence? I dont think so

                                                   12/7/2018 1:43 PM
Facebook User

So he rang me for no reason? No

                                                   12/7/2018 1:43 PM
Facebook User

He paniced

                                                   12/7/2018 1:43 PM
                                             Lisa Reynolds

                                             I didn’t speak to him I’m with avi


                                                             25
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                                                                       12/7/2018 1:43 PM
Facebook User

He wants it tell him not to fucking run

                                                                       12/7/2018 1:43 PM
Facebook User

No your lying

                                                                       12/7/2018 1:44 PM
                                                                 Lisa Reynolds

                                                                 I’m not

                                                                       12/7/2018 1:45 PM
Facebook User

Ill be able to talk in an hour or so

                                                                       12/7/2018 1:46 PM
Facebook User

Get rid

                                                                       12/7/2018 4:45 PM
Facebook User

I have spoken to my team who had a very serious talk with me

                                                                       12/7/2018 4:45 PM
Facebook User

Nothing will occour and i will excersise restraint.

                                                                       12/7/2018 4:46 PM
Facebook User

I knee jerked to his threatening phone call and as a result my guys have gone mad at my
 public mistakes

                                                                       12/7/2018 6:02 PM
Facebook User

When i weigh it up i agree with what you do and we will be persuing diffetent avenues so i
wish you luck we will always feel you sold our safety out.

                                                                       12/7/2018 6:03 PM
Facebook User

Take care and good luck with your endevours but i would still like that contract if it involves
 my safety

                                                                       12/9/2018 1:12 PM
Facebook User

Your shrimp made a big mistake today then ran as usual u should have got rid of the grass,
 some people never learn what the rules are. I want that contract, your still paying a full time
 police informant? This will not do

Facebook User reacted: ❤️
Lisa Reynolds reacted: ❤️

                                                                       12/9/2018 1:23 PM
Facebook User

Is there anothet member of your company i can deal with? One i can trust to give me my legal
 documents

                                                                       12/9/2018 5:53 PM
                                                                 Lisa Reynolds

                                                                 I’m. Here. Tell me what you want to tell me I need to know



                                                                                 26
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                                                                       12/10/2018 2:41 AM
Facebook User

Can you be trusted? Seeing as you are more concerned with protecting your assets?

                                                                       12/10/2018 2:42 AM
Facebook User

I am pro israel but not pro companies that are defending those that make the movement look
 like fools.

                                                                       12/10/2018 2:43 AM
Facebook User

I have many reasons i have not listed to know there is complete corruption from your side and
 the more we are underestimated the deeper it will go.

                                                                       12/10/2018 6:54 AM
Facebook User

So is there another contact for me? One i can also ask real questions

                                                                       12/10/2018 8:13 AM
Facebook User

....

                                                                       12/11/2018 5:50 AM
Facebook User

Fair enough lisa i tried with you and so far im getting deliberately ignored. I asked for my legal
 document to which you avoided, i offered to talk on the phone you didnt bother and i asked
 for another contact which you also avoided. You seem to be set on undermining the situation
 and us, i will be sure to list this all out at some point and will now go through channels to find
 the middle east forum even if it takes me a very long time. You like to defend grasses, we like
 to work towards justice you chose this path be not surprised when people start talking i have
 had enough of covering up for people at my expense

                                                                       12/11/2018 5:58 AM
                                                                  Lisa Reynolds

                                                                  I was on a plane Vinnie

                                                                       12/11/2018 5:58 AM
Facebook User

For a week?

                                                                       12/11/2018 5:58 AM
                                                                  Lisa Reynolds

                                                                  What? It’s 6am here. I think you are going crazy. I do.

                                                                       12/11/2018 5:59 AM
Facebook User

Yea i do when im ignored so people can manipulate the movement

                                                                       12/11/2018 5:59 AM
Facebook User

So whats going to happen...

                                                                       12/11/2018 6:02 AM
Facebook User

As usual, nothing...

                                                                       12/11/2018 9:55 AM
Facebook User

Ok lisa i shall make a video appealing to your company asking them why you are not keeping
up with my request. You will hear from me soon no more games



                                                                                  27
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                                                                   12/11/2018 2:08 PM
                                                              Lisa Reynolds

                                                              I didn’t look at the tweet but for the 20th time our legal team is not in house. You sent the
                                                               document to us from your email so you should have it in your sent folder. Nevertheless, I
                                                               have put in the request

                                                                   12/12/2018 8:58 AM
Facebook User

No i didnt send it from my email

                                                                   12/12/2018 8:59 AM
Facebook User

So for the 100th time id like the contract

                                                                   12/12/2018 10:13 AM
Facebook User

The tweet was a call out that got taken off by mass reporting, you would love to have heard it
 especially when certain ukip controlers and protected snitches are being named. Once i have
 my contract you wont hear from me ill deal direct with someone shrude enough to treat us as
 equals as apposed to pretend to be simple

                                                                    1/15/2019 9:39 AM
Facebook User

So now you are publically denying us knowing another as if m3 being recorded didn't come
 down to his actions. Tut tut all archived

                                                                    1/15/2019 9:41 AM
                                                              Lisa Reynolds

                                                              Tommy doesn’t even know you. You knew us through danny.

                                                                    1/15/2019 9:41 AM
Facebook User

Haha that's about danny

                                                                    1/15/2019 9:41 AM
                                                              Lisa Reynolds

                                                              What? It was a tommy feed. Pay attention

                                                                    1/15/2019 9:41 AM
Facebook User

The feed about tommo messing us about

                                                                    1/15/2019 9:41 AM
Facebook User

After u payed him

                                                                    1/15/2019 9:42 AM
Facebook User

The one jan made

                                                                    1/15/2019 9:42 AM
                                                              Lisa Reynolds

                                                              The feed was about how it’s related to Tommy.




                                                                              28
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                                                1/15/2019 9:45 AM
Facebook User




                                                1/15/2019 9:45 AM
Facebook User

And the relation to tommo and his lies

                                                1/15/2019 9:45 AM
Facebook User

I never wanted to be like this with u lisa

                                                1/15/2019 9:46 AM
Facebook User

You should have been more perceptive




                                                       29
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                              1/15/2019 9:47 AM
                        Lisa Reynolds




                              1/15/2019 9:47 AM
                        Lisa Reynolds




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                                                                        1/15/2019 9:47 AM
                                                                  Lisa Reynolds

                                                                  The tweet feed was about tommy. What are you on about?!

                                                                        1/15/2019 9:47 AM
Facebook User

The pic I just sent u

                                                                        1/15/2019 9:47 AM
Facebook User

Is my description

                                                                        1/15/2019 9:47 AM
Facebook User

That's where I saw the comment

                                                                        1/15/2019 9:47 AM
                                                                  Lisa Reynolds

                                                                  I’m starting to think that you are not mentally sound and it’s scaring me.

                                                                        1/15/2019 9:47 AM
Facebook User

My name is involved

                                                                        1/15/2019 9:48 AM
Facebook User

I couldn't care less you know full well I'm in the right you just don't like being told with such
 ease

                                                                        1/15/2019 9:48 AM
Facebook User

E.g. my contract

                                                                        1/15/2019 9:48 AM
Facebook User

You know I'm right you know I did nothing wrong and your ppl did

                                                                        1/15/2019 9:48 AM
Facebook User

So make accusations all day

                                                                        1/15/2019 9:48 AM
Facebook User

I have the truth

                                                                        1/15/2019 9:48 AM
Facebook User

You do not

                                                                        1/15/2019 9:48 AM
                                                                  Lisa Reynolds

                                                                  You have it. You sent it to us for the millionth time. Keep threatening me.

                                                                        1/15/2019 9:48 AM
Facebook User

In fact go public




                                                                                  31
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                                                  1/15/2019 9:48 AM
Facebook User

No

                                                  1/15/2019 9:48 AM
Facebook User

I never got it

                                                  1/15/2019 9:49 AM
Facebook User

I said u would get it

                                                  1/15/2019 9:49 AM
Facebook User

I kept the screenshots

                                                  1/15/2019 9:49 AM
Facebook User

Jan never gave it to me

                                                  1/15/2019 9:49 AM
Facebook User

I told u that

                                                  1/15/2019 9:49 AM
Facebook User

Don't play dumb

                                                  1/15/2019 9:49 AM
                                            Lisa Reynolds

                                            You signed it!!!!!!!

                                                  1/15/2019 9:49 AM
Facebook User

Your denying me the contract

                                                  1/15/2019 9:49 AM
Facebook User

Oh did I now

                                                  1/15/2019 9:49 AM
                                            Lisa Reynolds

                                            I’m blocking you. You are insane.

                                                  1/15/2019 9:49 AM
Facebook User

Then let's see it

                                                  1/15/2019 9:49 AM
Facebook User

Then I'll have no choice

                                                  1/15/2019 9:49 AM
Facebook User

But to alert people what's going on

                                                  1/15/2019 9:49 AM
Facebook User

For my own safety


                                                            32
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                                                  1/15/2019 9:50 AM
Facebook User

I never saw it

                                                  1/15/2019 9:50 AM
Facebook User

So I'm asking u

                                                  1/15/2019 9:50 AM
Facebook User

For it

                                                  1/15/2019 9:50 AM
Facebook User

Yes or no

                                                  1/15/2019 9:50 AM
Facebook User

You seem worried

                                                  1/15/2019 9:50 AM
                                            Lisa Reynolds

                                            What is going on? Your own safety? What are you talking about? I have messages from you
                                            saying you signed it on messenger.

                                                  1/15/2019 9:50 AM
Facebook User

Show me the message

                                                  1/15/2019 9:50 AM
Facebook User

Then the contract

                                                  1/15/2019 9:50 AM
Facebook User

Then show me my signature

                                                  1/15/2019 9:50 AM
                                            Lisa Reynolds

                                            You are insane. Leave me alone. This is not professional in any way. Bye Vinnie.

                                                  1/15/2019 9:51 AM
Facebook User

My signature was forged

                                                  1/15/2019 9:51 AM
Facebook User

I never saw it your breaking the law

                                                  1/15/2019 9:51 AM
                                            Lisa Reynolds

                                            You accepted money.

                                                  1/15/2019 9:51 AM
Facebook User

Nope




                                                            33
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                                                 1/15/2019 9:51 AM
Facebook User

Show me

                                                 1/15/2019 9:51 AM
Facebook User

Show me where my account took a penny

                                                 1/15/2019 9:51 AM
Facebook User

I'm waiting

                                                 1/15/2019 9:51 AM
                                           Lisa Reynolds

                                           Do whatever you want Vinnie just leave me alone.

                                                 1/15/2019 9:52 AM
Facebook User

I'm confident

                                                 1/15/2019 9:52 AM
Facebook User

Exactly

                                                 1/15/2019 9:52 AM
Facebook User

You know your lying

                                                 1/15/2019 9:52 AM
Facebook User

You just admitted to knowing

                                                 1/15/2019 9:52 AM
Facebook User

And you refuse to show me

                                                 1/15/2019 9:53 AM
Facebook User

This is the admittion I needed

                                                 1/15/2019 9:53 AM
                                           Lisa Reynolds

                                           Knowing what?! You signed it sent it to us from your email account. And took money. You
                                           are admitting in this whole thread that you had a contract. You are asking for another copy?
                                           What planet do you live on?

                                                 1/15/2019 9:53 AM
Facebook User

Nope

                                                 1/15/2019 9:53 AM
Facebook User

Show me one scrap of proof

                                                 1/15/2019 9:53 AM
                                           Lisa Reynolds

                                           👋




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                                                                     1/15/2019 9:53 AM
Facebook User

I'll wait here

                                                                     1/15/2019 9:53 AM
Facebook User

You messed up

                                                                     1/15/2019 9:53 AM
Facebook User

And u know it

                                                                     1/15/2019 9:54 AM
Facebook User

And nope

                                                                     1/15/2019 9:54 AM
Facebook User

Not once have I said I actually had it feel free to show me where I have

                                                                     1/15/2019 9:54 AM
Facebook User

I have this all archived with a team do u?

445 total messages and 6 total images.




                                                                            35
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       EXHIBIT 96
     Message from D.
     Pipes to Plaintiff
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           EXHIBIT 97
           Fundraising
             Request
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From: Lisa Barbounis
Sent: Wednesday, December 12, 2018 10:24 AM EST
To: Lisa Barbounis <Barbounis@meforum.org>
Subject: RE: Danny

Hello patriots,

For the past 8 months I've been going nonstop. I've organized 5 demonstrations with 200,000 attendees.
I've been travelling the country with Tommy highlighting the many issues facing our nation.

It's becoming clear I can only continue with your support. As your all aware I'm not on any payroll and
everything I've done has been with no salary. PayPal's deplatforming have further complicated matters.
I've only ever received donations for travel expenses, etc.

I still have to visit many places in the UK before Christmas. We are organizing a charity event in the
new year in addition to coordinating a larger project that will begin in January with victims and
community members in 6 cities.

I know it's near to Christmas and not a great time to ask, but if you have a couple of Â£'s to support
me it would truly be appreciated.

I donâ€™t have the means to make that happen myself. I hope you guys can support in making our mission
a success.

Many thanks to all.

Danny Tommo ðŸ˜˜

Sent from my iPhone
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        EXHIBIT 98
       Proposal from J.
          Atkinson
                Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 376 of 446
From: Lisa Barbounis
Sent: Monday, January 07, 2019 11:31 AM EST
To: Daniel Pipes <pipes@meforum.org>
Subject: Proposal to MEF by Janice Atkinson
Attachment(s): "Proposal to MEF by Janice Atkinson.docx"
Dr. Pipes,

Janice Atkinson has sent over the attached amended proposal for a MEFEF grant.

I think that this would be good for us. Since video content is the way forward, this would give us extra visibility and the ability to highlight our work. We
could even have our fellows and staff participate in the video content as speakers. We could also have them highlight the reports we put out such as
Sam’s Islamic Relief piece and publicize any video content we produce.

I think having Janice as a grantee could be beneficial in more ways than one – i.e. she has great contacts within the Civilizationist parties.

Thoughts?

Lisa
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    EXHIBIT 99
  Correspondence
between Plaintiff and
    K. Hopkins
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The Big Red Bus Tour
Katie Hopkins <katie@katiehopkins.co.uk>
Thu 2/21/2019 7:21 AM
To: Lisa Barbounis <Barbounis@meforum.org>

  1 attachments (460 KB)
The Big Red Bus Tour .docx;


Hey lovely you

Super rough draft on one page - but you get the idea.

I am liking the multiple opportunities for sponsorship, segmenting exclusive access, and
speakers as tour guides...the anti-Islamist bus tour!
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      EXHIBIT 100
     Proposal from K.
         Hopkins
2/27/2021       Case 2:19-cv-05030-JDW Document
                                            Mail -111-3      Filed
                                                   Lisa Barbounis    03/02/21 Page 381 of 446
                                                                  - Outlook



       Re: Barbounis Weekly Report 2018-02-08
       Daniel Pipes <pipes@meforum.org>
       Tue 2/12/2019 2:14 PM
       To: Lisa Barbounis <Barbounis@meforum.org>
       Now I understand why you expected me to know about Manchester, etc. “Tasks accomplished” is not a
       good place to provide news. Better to have sent me a report on your trip to the UK.

       There’s also no need to tell me routine tasks like posting articles. I am interested in what’s new that you
       are doing. #11 is the key item here.

       #14 is weary or wary?

       #20 – what do you mean by involved? Also, a Reuters reporter asked me about Tommy Robinson and the
       BBC; I challenged him to pursue the topic, have not heard back.

       #21 – glad to hear it, but when I go to https://www.facebook.com/daniel.pipes.mef, it’s still the same old
       Aug. 1, 2018, posting, nothing more recent.

               From: Lisa Reynolds-Barbounis <Barbounis@meforum.org>
               Date: Monday, February 11, 2019 at 12:16 PM
               To: Daniel Pipes <pipes@meforum.org>
               Subject: Barbounis Weekly Report 2018-02-08

               Apologies for being late on this. Last week was so busy.


                                      NAME                                           WEEK ENDING
                Lisa Barbounis                                         Friday, February 8, 2019
                TASKS ACCOMPLISHED THIS WEEK:

                         1. Uploaded articles to the website and mailed out appropriate articles with assistance
                           from Delaney.
                        2. Responded to email comments about our articles and tracked in Salesforce.
                        3. Researched the most beneficial hashtags for each day and trending accounts to get our
                           articles maximum exposure. Our Twitter and FB numbers are up significantly.
                        4. Researched and implemented Meltwater. It is up and running. Sam loves it.
                        5. Posted articles on Facebook.
                        6. Mailed out articles.
                        7. Topic and speaker for conference call secured.
                        8. Arranged fellows and staff to come to the office to film for MEF TV.
                        9. Qatar write up for Marc.
                       10. Followed up on media requests for Speyer and Frantzman. No one was biting.
                       11. Followed up with media. Secured a meeting with Foreign Affairs
                           Correspondent Nahal Toosi from Politico, David Kirkpatrick, Journalist from NYT in
                           London, Sorhab Ahmari would like to meet at the end of April.
                       12. Brussels was interesting. Made friends with Katie Hopkins, Stefan Molyneux,
                           Imam Tawhidi, James Delingpole. The speeches ranged from all different topics
                           around free speech 3 of which included Islamism. The turnout was awful. Maybe 10
                           people.
                       13. We all attended a dinner the first night. We went over each of our interests, what we
                           do and how we got there. We had a conversation on how to stop censorship on our
https://outlook.office.com/mail/Barbounis@meforum.org/search/id/AAMkAGI0ZTI5OGNkLWJjYTEtNDhkMi1hOGI4LWQzMTY5ZmQzMmNkYwBGAAA…   1/3
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                                                                             - Outlook

                        topics and everyone in the room agreed to form a coalition to do events together and
                        coordinate how to fight deplatforming and get our message out. Amy Mek, Imam
                        Tawhidi, Katie Hopkins and I all really hit it off. We went out on our own after the
                        thank you dinner. I have all of their information. Imam Tawhidi would like to do more
                        work with MEF. Everyone had positive things to say about you and MEF. They are all
                        following and retweeting our work now. Hopefully, we will get more exposure due to
                        the connections.
                    14. Many people were weary of Janice Atkinson. She likes to gossip and seems to have
                        issues with many people. I never told her the approved amount for funding her grant.
                        I still think it may be beneficial for us to fund her grant. She would like to have a call
                        with you next week to discuss her plans and your thoughts.
                    15. I did a little interview with her on camera. She told me we were just having a little
                        meeting and when I showed up there were cameras. She put me on the spot. But I
                        think it went well. I spoke about our involvement with Tommy and kept to our
                        narrative stating its about his right to speak and not about our organization having a
                        position on Tommy himself. However, I haven’t heard what she plans to do with the
                        video and she hasn’t sent it to me yet.
                    16. Janice is also looking for help getting into and speaking at CPAC this year.
                    17. Unfortunately, due to my accident I missed the other conference and the screening of
                        Borderless.
                    18. I started an article on the Brussels event. I am waiting for the rest of the videos to
                        come out so I can get better quotes.
                    19. Major developments with the Tommy Robinson BBC saga. I have all of the video
                        evidence. Tommy is planning a huge screening of his footage outside of the BBC n
                        Manchester on Saturday Feb 23. I will be going just for Saturday and Sunday. I will
                        also meet with the NYT journalist that Sunday. Would you like to attend and speak
                        about deplatforming and censorship? This will be a huge event we are looking at 30k
                        people.
                    20. I also pitched the story to Fox and the NYT and am waiting to hear back. Would you
                        like MEF to be involved? The narrative would be that BBC or the main stream media
                        has an agenda to take down those who don’t agree with their narrative on Islamism. It
                        will get us a lot of press.
                    21. Began posting on your Facebook page. The numbers are way up and we are getting
                        new followers.
                    22. Retreived our deplatforming event in DC's footage that was lost. Sent it to Rebel for
                        editing.
                    23. Spoke with Ashley about media targets and plans for getting better placement.
                    24. Pitched Op-Ed from A.J. Caschetta to The Hill


                Delaney
                       25. Update media contacts master spreadsheet
                       26. Sent WWDB 2/6 radio guest information
                       27. Upload MEFO articles daily
                       28. Posted on social media daily
                       29. Prepared camera tech etc. for Grayson’s visit to begin MEF TV project
                       30. Uploaded and edited YouTube videos from Qatar conference
                       31. Uploaded Qatar conference press release onto MEFO and loaded into MailChimp
                       32. Updated MEFO Spotlight section to highlight Qatar work
                               1. Loaded all Qatar articles into MailChimp

https://outlook.office.com/mail/Barbounis@meforum.org/search/id/AAMkAGI0ZTI5OGNkLWJjYTEtNDhkMi1hOGI4LWQzMTY5ZmQzMmNkYwBGAAA…   2/3
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                    33. Gathered list of New York media outlets for meetings for Frantzman and Speyer
                       34. Gather list of media outlet contacts for Cliff
                       35. Posted Qatar YouTube videos on MEFO
                       36. Send invites to local fellows to be interviewed for MEF TV in Philly office for
                           coordination with Lisa


                TASKS PLANNED FOR NEXT WEEK:
                Lisa
                   1. Filming for MEF TV Monday-Wed with Grayson
                   2. Training session on how to film with the Rebel
                   3. Finish Brussels article
                   4. Conference call invite
                   5. MEFO articles
                   6. Maintain social media
                   7. Follow up on meetings with editors
                   8. Contact speakers for the Gala
                   9. Arrange, format, and promote

                Delaney – I addition to her daily tasks:
                   1. Learn how to film MEF TV
                   2. Film speakers
                   3. Send WWDB radio guest information
                   4. Confirm guests for record radio shows
                   5. Updated written articles spreadsheet daily

                COMMENTARY ON LONG TERM PROJECTS:
                  1. Need to eventually complete the Civilizationist speaker research. I know you told me to
                     hold off. Are you still interested in pursuing this? I think it is a great idea.


                QUESTIONS OR FOLLOW UP NEEDED YOU NEED TO MOVE A PROJECT/TASK
                FORWARD:


                ADDITIONAL COMMENTS:




https://outlook.office.com/mail/Barbounis@meforum.org/search/id/AAMkAGI0ZTI5OGNkLWJjYTEtNDhkMi1hOGI4LWQzMTY5ZmQzMmNkYwBGAAA…   3/3
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      EXHIBIT 101
     Message from D.
     Pipes to Plaintiff
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           EXHIBIT 102
           Message from
             Plaintiff
Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 387 of 446
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         EXHIBIT 103
        Message from D.
        Pipes to Plaintiff
Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 389 of 446
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    EXHIBIT 104
    Message from
Plaintiff to D. Thomas
                   Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 391 of 446
447900171112@s.whatsapp.net Danny Tommo
Attachments:




 Size: 58137
 File name: f059640e-2040-4528-aa18-05746c539cd6.opus
 Path:
 https://mmg.whatsapp.net/d/f/AsDc2RfgNtqRXa9j2k7cdfKaQRB9EU4IFpiAkTHFjx7h.e
 nc
 f059640e-2040-4528-aa18-05746c539cd6.opus

Platform: Mobile

                                             3/3/2019 5:22:31 AM(UTC-5)




                                                                                From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                                To: 447900171112@s.whatsapp.net Danny Tommo

                                                                                It’s 5am I’m in bed with the kids. Can’t listen

                                                                                   Participant     Delivered        Read              Played
                                                                                   447900171112@ 3/3/2019 5:22:56
                                                                                   s.whatsapp.net AM(UTC-5)
                                                                                   Danny Tommo


                                                                                Status: Sent
                                                                                Platform: Mobile

                                                                                                                           3/3/2019 5:22:54 AM(UTC-5)




447900171112@s.whatsapp.net Danny Tommo

Ok speak soon
Status: Read
Platform: Mobile

                                             3/3/2019 5:25:05 AM(UTC-5)




447900171112@s.whatsapp.net Danny Tommo

Tommy said will MEF help with the censorship demo costs
Status: Read
Platform: Mobile

                                                            3/3/2019 5:37:46 AM(UTC-5)




                                                             From: 12159102154@s.whatsapp.net Lisa (owner)
                                                             To: 447900171112@s.whatsapp.net Danny Tommo

                                                             Very likely because we are going to sue FB for him and the demo is part of that.

                                                                Participant           Delivered           Read                    Played
                                                                447900171112@s.wh 3/3/2019 5:38:39
                                                                atsapp.net Danny  AM(UTC-5)
                                                                Tommo


                                                             Status: Sent
                                                             Platform: Mobile

                                                                                                                           3/3/2019 5:38:38 AM(UTC-5)




                                                                                                                                                        1129
                   Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 392 of 446
                                       From: 12159102154@s.whatsapp.net Lisa (owner)
                                       To: 447900171112@s.whatsapp.net Danny Tommo

                                       I haven’t talked to DP about that yet because I’m still waiting to hear back from Fb. We
                                       need Tommy’s data.

                                          Participant                 Delivered            Read                 Played
                                          447900171112@s.whats 3/3/2019 5:39:23
                                          app.net Danny Tommo AM(UTC-5)


                                       Status: Sent
                                       Platform: Mobile

                                                                                                              3/3/2019 5:39:21 AM(UTC-5)




                                             From: 12159102154@s.whatsapp.net Lisa (owner)
                                             To: 447900171112@s.whatsapp.net Danny Tommo

                                             But that is the stuff we pay for. Not bbc or brexit. It all comes out of our legal fund.

                                                Participant               Delivered          Read                Played
                                                447900171112@s.wha 3/3/2019 5:41:18
                                                tsapp.net Danny    AM(UTC-5)
                                                Tommo


                                             Status: Sent
                                             Platform: Mobile

                                                                                                              3/3/2019 5:41:17 AM(UTC-5)




447900171112@s.whatsapp.net Danny Tommo

Ok kl, need to get clarification on that before we release the date mate
Status: Read
Platform: Mobile

                                                              3/3/2019 8:47:47 AM(UTC-5)




                                      From: 12159102154@s.whatsapp.net Lisa (owner)
                                      To: 447900171112@s.whatsapp.net Danny Tommo

                                      Of course. There also needs to be a plan of speakers and costs. Gregg is gone and DP
                                      likes to know what he is up against beforehand. So we will need to know estimated costs
                                      speakers location etc.

                                         Participant                 Delivered             Read                 Played
                                         447900171112@s.whats 3/3/2019 8:51:18
                                         app.net Danny Tommo AM(UTC-5)


                                      Status: Sent
                                      Platform: Mobile

                                                                                                              3/3/2019 8:51:17 AM(UTC-5)




                                      From: 12159102154@s.whatsapp.net Lisa (owner)
                                      To: 447900171112@s.whatsapp.net Danny Tommo

                                      Pipes will be in the office tomorrow. Get me what you can by then. What tommy is thinking
                                      and I’ll go from there.

                                         Participant                 Delivered             Read                 Played
                                         447900171112@s.whats 3/3/2019 8:52:32
                                         app.net Danny Tommo AM(UTC-5)


                                      Status: Sent
                                      Platform: Mobile

                                                                                                              3/3/2019 8:52:31 AM(UTC-5)




                                                                                                                                           1130
                   Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 393 of 446
                                                        From: 12159102154@s.whatsapp.net Lisa (owner)
                                                        To: 447900171112@s.whatsapp.net Danny Tommo

                                                        I assume you will be home today. Do yourself a favor and delete all of our
                                                        messages.

                                                           Participant                   Delivered                Read                    Played
                                                           447900171112@s.wh             3/3/2019 9:10:12
                                                           atsapp.net Danny              AM(UTC-5)
                                                           Tommo


                                                       Status: Sent
                                                       Platform: Mobile

                                                                                                                                       3/3/2019 9:10:09 AM(UTC-5)




447900171112@s.whatsapp.net Danny Tommo

Just deleted everything, and I'll get you the info asap
Status: Read
Platform: Mobile

                                                        3/3/2019 9:17:45 AM(UTC-5)




447900171112@s.whatsapp.net Danny Tommo
Attachments:




 Size: 66242
 File name: 0ff1bdda-b90b-4fbd-b4ce-5cbeef54e7f3.opus
 Path:
 https://mmg.whatsapp.net/d/f/Am2Knn08mBIXwD1OFyi_VQu5K4fqIAH1lSUOGn8WEt
 aX.enc
 0ff1bdda-b90b-4fbd-b4ce-5cbeef54e7f3.opus

Platform: Mobile

                                           3/3/2019 9:53:00 AM(UTC-5)




                                                                                            From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                                            To: 447900171112@s.whatsapp.net Danny Tommo

                                                                                            Happy to oblige.

                                                                                              Participant        Delivered      Read               Played
                                                                                              447900171112 3/3/2019
                                                                                              @s.whatsapp. 10:15:33
                                                                                              net Danny    AM(UTC-5)
                                                                                              Tommo


                                                                                           Status: Sent
                                                                                           Platform: Mobile

                                                                                                                                       3/3/2019 9:55:36 AM(UTC-5)




                                                                         From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                         To: 447900171112@s.whatsapp.net Danny Tommo

                                                                         But seriously stop making me look bad to save your ass. Ya?

                                                                           Participant               Delivered           Read                Played
                                                                           447900171112@s. 3/3/2019 10:15:33
                                                                           whatsapp.net    AM(UTC-5)
                                                                           Danny Tommo


                                                                      Status: Sent
                                                                      Platform: Mobile

                                                                                                                                       3/3/2019 9:56:35 AM(UTC-5)




                                                                                                                                                                    1131
                   Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 394 of 446
                                      From: 12159102154@s.whatsapp.net Lisa (owner)
                                      To: 447900171112@s.whatsapp.net Danny Tommo

                                      Why don’t you start manning up and being honest and start from scratch. If you want to
                                      have a good relationship with her going forward that is the only way.

                                         Participant            Delivered                      Read                 Played
                                         447900171112@s.whats 3/3/2019 10:15:34
                                         app.net Danny Tommo AM(UTC-5)


                                      Status: Sent
                                      Platform: Mobile

                                                                                                                3/3/2019 10:02:07 AM(UTC-5)




                                      From: 12159102154@s.whatsapp.net Lisa (owner)
                                      To: 447900171112@s.whatsapp.net Danny Tommo

                                      And honestly I’d prefer to be out of all of this. It’s been shit since I’ve met you. You have
                                      only hurt all those that walk in your path. And now I’m being the sacrificial lamb to save your
                                      ass. How do I deserve even being in all of this? Every day for the last 3 days I’ve been
                                      woken up at 3 or 5 am with this shit. So please don’t screw me over in this process. I have
                                      been nothing but good to everyone and I’m the one getting the shit end of the deal over and
                                      over.

                                         Participant            Delivered                      Read                 Played
                                         447900171112@s.whats 3/3/2019 10:15:34
                                         app.net Danny Tommo AM(UTC-5)


                                      Status: Sent
                                      Platform: Mobile

                                                                                                                3/3/2019 10:14:24 AM(UTC-5)




447900171112@s.whatsapp.net Danny Tommo

I understand, from today we won't be speaking about any of this again. I promise x
Status: Read
Platform: Mobile

                                                           3/3/2019 10:16:30 AM(UTC-5)




                                                                            From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                            To: 447900171112@s.whatsapp.net Danny Tommo

                                                                            Raheem just wrote me an apology.

                                                                               Participant       Delivered   Read            Played
                                                                               447900171112 3/3/2019
                                                                               @s.whatsapp. 2:14:04
                                                                               net Danny    PM(UTC-5)
                                                                               Tommo


                                                                            Status: Sent
                                                                            Platform: Mobile

                                                                                                                3/3/2019 12:01:50 PM(UTC-5)




447900171112@s.whatsapp.net Danny Tommo

Fuck him !! Only because the party is over !!!
Status: Read
Platform: Mobile

                                        3/3/2019 2:14:28 PM(UTC-5)




                                                                                                                                              1132
Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 395 of 446
                                                       From: 12159102154@s.whatsapp.net Lisa (owner)
                                                       To: 447900171112@s.whatsapp.net Danny Tommo

                                                       Exactly. I’m fuming.

                                                          Participant       Delivered       Read             Played
                                                          447900171112 3/3/2019
                                                          @s.whatsapp. 2:14:42
                                                          net Danny    PM(UTC-5)
                                                          Tommo


                                                       Status: Sent
                                                       Platform: Mobile

                                                                                                   3/3/2019 2:14:41 PM(UTC-5)




                                                       From: 12159102154@s.whatsapp.net Lisa (owner)
                                                       To: 447900171112@s.whatsapp.net Danny Tommo
                                                       Attachments:




                                                        Title: I can’t take much more of her bipolar disorder.
                                                        Size: 156252
                                                        File name: 00f28434-c64a-46bd-af41-6cfd1a359890.jpg
                                                        Path: https://mmg-
                                                        fna.whatsapp.net/d/f/AklaqFKiV2HCOLq8mLnME_ndb5cifpUJGb4CGnueRoTZ.enc
                                                        00f28434-c64a-46bd-af41-6cfd1a359890.jpg


                                                          Participant       Delivered       Read             Played
                                                          447900171112 3/3/2019
                                                          @s.whatsapp. 2:53:25
                                                          net Danny    PM(UTC-5)
                                                          Tommo


                                                       Status: Sent
                                                       Platform: Mobile

                                                                                                   3/3/2019 2:53:24 PM(UTC-5)




                From: 12159102154@s.whatsapp.net Lisa (owner)
                To: 447900171112@s.whatsapp.net Danny Tommo

                I’m the fucking abnormal one right? I don’t stay with a guy that sleeps with my stepmom.
                I’m not the one that can’t function like a normal adult.

                I have had absolutely enough of the threats too. She gives me one more....I’m getting really
                really pissed.

                   Participant            Delivered                       Read                      Played
                   447900171112@s.whats 3/3/2019 4:00:53
                   app.net Danny Tommo PM(UTC-5)


                Status: Sent
                Platform: Mobile

                                                                                                   3/3/2019 2:56:28 PM(UTC-5)




                                     From: 12159102154@s.whatsapp.net Lisa (owner)
                                     To: 447900171112@s.whatsapp.net Danny Tommo

                                     Must be exhausting to blame everyone else for your issues.

                                       Participant             Delivered            Read                 Played
                                       447900171112@s. 3/3/2019 4:00:53
                                       whatsapp.net    PM(UTC-5)
                                       Danny Tommo


                                    Status: Sent
                                    Platform: Mobile

                                                                                                   3/3/2019 3:00:57 PM(UTC-5)



                                                                                                                                1133
                   Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 396 of 446
447900171112@s.whatsapp.net Danny Tommo

Lisa this needs to all go away, Tommy's address has just been put back online for everyone
to see. We now have a massive problem, just keep her blocked
Status: Read
Platform: Mobile

                                                                        3/3/2019 4:03:13 PM(UTC-5)




                                                                           From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                           To: 447900171112@s.whatsapp.net Danny Tommo

                                                                           She’s blocked. And I saw.

                                                                             Participant     Delivered     Read            Played
                                                                             447900171112 3/3/2019
                                                                             @s.whatsapp. 4:03:44
                                                                             net Danny    PM(UTC-5)
                                                                             Tommo


                                                                          Status: Sent
                                                                          Platform: Mobile

                                                                                                                  3/3/2019 4:03:43 PM(UTC-5)




                                                                           From: 12159102154@s.whatsapp.net Lisa (owner)

                                                                           Let me know what he needs from us.
                                                                          Status: Sent
                                                                          Platform: Mobile

                                                                                                                  3/3/2019 4:03:54 PM(UTC-5)




447900171112@s.whatsapp.net Danny Tommo

We need to concentrate, it's just got very serious
Status: Read
Platform: Mobile

                                           3/3/2019 4:03:59 PM(UTC-5)




                                                                           From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                           To: 447900171112@s.whatsapp.net Danny Tommo

                                                                           I agree.

                                                                             Participant     Delivered     Read            Played
                                                                             447900171112 3/3/2019
                                                                             @s.whatsapp. 4:04:09
                                                                             net Danny    PM(UTC-5)
                                                                             Tommo


                                                                          Status: Sent
                                                                          Platform: Mobile

                                                                                                                  3/3/2019 4:04:08 PM(UTC-5)




                                                                           From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                           To: 447900171112@s.whatsapp.net Danny Tommo

                                                                           I just got annoyed for a min

                                                                             Participant     Delivered     Read            Played
                                                                             447900171112 3/3/2019
                                                                             @s.whatsapp. 4:04:37
                                                                             net Danny    PM(UTC-5)
                                                                             Tommo


                                                                          Status: Sent
                                                                          Platform: Mobile

                                                                                                                  3/3/2019 4:04:36 PM(UTC-5)



                                                                                                                                               1134
                   Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 397 of 446
                                                       From: 12159102154@s.whatsapp.net Lisa (owner)
                                                       To: 447900171112@s.whatsapp.net Danny Tommo

                                                       He needs to sell his house and move to a house with gated security

                                                          Participant         Delivered          Read          Played
                                                          447900171112@s. 3/3/2019 4:05:35
                                                          whatsapp.net Danny PM(UTC-5)
                                                          Tommo


                                                       Status: Sent
                                                       Platform: Mobile

                                                                                                          3/3/2019 4:05:34 PM(UTC-5)




447900171112@s.whatsapp.net Danny Tommo

I know mate not good
Status: Read
Platform: Mobile

                                 3/3/2019 5:37:20 PM(UTC-5)




                                    From: 12159102154@s.whatsapp.net Lisa (owner)
                                    To: 447900171112@s.whatsapp.net Danny Tommo

                                    Mate. That ms twice now. You have never called me that ever. this is gonna be fun. You
                                    can just leave it out.

                                       Participant                Delivered               Read             Played
                                       447900171112@s.whats 3/3/2019 5:41:02
                                       app.net Danny Tommo PM(UTC-5)


                                    Status: Sent
                                    Platform: Mobile

                                                                                                          3/3/2019 5:41:01 PM(UTC-5)




447900171112@s.whatsapp.net Danny Tommo


Status: Read
Platform: Mobile

                                 3/3/2019 6:03:17 PM(UTC-5)




447900171112@s.whatsapp.net Danny Tommo

Sorry
Status: Read
Platform: Mobile

                                 3/3/2019 6:03:18 PM(UTC-5)




447900171112@s.whatsapp.net Danny Tommo

Lol
Status: Read
Platform: Mobile

                                 3/3/2019 6:03:19 PM(UTC-5)




                                                                                                                                       1135
                   Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 398 of 446
                                                                         From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                         To: 447900171112@s.whatsapp.net Danny Tommo

                                                                         Send me the link of them going to Tommy’s house

                                                                            Participant     Delivered       Read           Played
                                                                            447900171112 3/3/2019 7:00:20
                                                                            @s.whatsapp.ne PM(UTC-5)
                                                                            t Danny Tommo


                                                                         Status: Sent
                                                                         Platform: Mobile

                                                                                                                   3/3/2019 6:37:39 PM(UTC-5)




    Forwarded
447900171112@s.whatsapp.net Danny Tommo
Attachments:




 Size: 141354
 File name: 09da0bc6-bf6b-4a7b-baf9-270f114121b5.jpg
 Path: https://mmg-
 fna.whatsapp.net/d/f/AssNYjPt87IYCZoPK2pEvW8A_7sRvw9etxOrUaqMzFDm.enc
 09da0bc6-bf6b-4a7b-baf9-270f114121b5.jpg

Status: Read
Platform: Mobile

                                           3/3/2019 7:06:49 PM(UTC-5)




    Forwarded
447900171112@s.whatsapp.net Danny Tommo
Attachments:




 Size: 64756
 File name: 4b4b2df0-9dd1-4a3a-abdd-10130d39910a.jpg
 Path: https://mmg-
 fna.whatsapp.net/d/f/Anvw5TUb9BQrIDk1tqBole5mNYjskzYhzW7pe96gwOUD.enc
 4b4b2df0-9dd1-4a3a-abdd-10130d39910a.jpg

Status: Read
Platform: Mobile

                                           3/3/2019 7:06:50 PM(UTC-5)




    Forwarded
447900171112@s.whatsapp.net Danny Tommo
Attachments:




 Size: 95361
 File name: 05ae2a5e-afd5-4c89-9a64-333055acccac.jpg
 Path: https://mmg-
 fna.whatsapp.net/d/f/AguRGeofvMRGkTG7Ob_3VvGh6L0VbvnvAbJ5jzl92bTQ.enc
 05ae2a5e-afd5-4c89-9a64-333055acccac.jpg

Status: Read
Platform: Mobile

                                           3/3/2019 7:06:50 PM(UTC-5)




                                                                                                                                                1136
                   Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 399 of 446
    Forwarded
447900171112@s.whatsapp.net Danny Tommo
Attachments:




 Size: 126227
 File name: 5945ada4-1e39-4bd2-9ed8-7010f5140ea9.jpg
 Path: https://mmg-fna.whatsapp.net/d/f/AlSv82iXYMSGU1wrjQ5CK-
 jm9TjD4RVcOKRXC_Vc3Wmc.enc
 5945ada4-1e39-4bd2-9ed8-7010f5140ea9.jpg

Status: Read
Platform: Mobile

                                              3/3/2019 7:06:50 PM(UTC-5)




    Forwarded
447900171112@s.whatsapp.net Danny Tommo
Attachments:




 Size: 83185
 File name: e64408eb-0290-4392-8457-e3c2d367fea2.jpg
 Path: https://mmg-fna.whatsapp.net/d/f/At8SNmrhl2BPWVQHQsI0dc36-FAybeK7c--
 9CsNOGCrU.enc
 e64408eb-0290-4392-8457-e3c2d367fea2.jpg

Status: Read
Platform: Mobile

                                              3/3/2019 7:06:51 PM(UTC-5)




    Forwarded
447900171112@s.whatsapp.net Danny Tommo
Attachments:




 Size: 71812
 File name: 2e6a75b2-f9bb-4855-baa3-06e8c55880ef.jpg
 Path: https://mmg-
 fna.whatsapp.net/d/f/ArLaNAamGHCM4qwm4f8874uZN2mogGRaMAzGsMylebcS.enc
 2e6a75b2-f9bb-4855-baa3-06e8c55880ef.jpg

Status: Read
Platform: Mobile

                                              3/3/2019 7:06:51 PM(UTC-5)




                                                                                          1137
                   Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 400 of 446
    Forwarded
447900171112@s.whatsapp.net Danny Tommo
Attachments:




 Size: 107033
 File name: 5ffb2b72-b5aa-4265-b656-1341ef6df71b.jpg
 Path: https://mmg-
 fna.whatsapp.net/d/f/ApFCRmmBd2LCZDK58njxuK3Oo8PVnqlFWLrwnDnVI-QG.enc
 5ffb2b72-b5aa-4265-b656-1341ef6df71b.jpg

Status: Read
Platform: Mobile

                                          3/3/2019 7:06:51 PM(UTC-5)




447900171112@s.whatsapp.net Danny Tommo

This is the guy
Status: Read
Platform: Mobile

                                          3/3/2019 7:06:54 PM(UTC-5)




                                                                         From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                         To: 447900171112@s.whatsapp.net Danny Tommo

                                                                         Where is the video

                                                                            Participant     Delivered   Read             Played
                                                                            447900171112 3/3/2019
                                                                            @s.whatsapp. 7:07:06
                                                                            net Danny    PM(UTC-5)
                                                                            Tommo


                                                                         Status: Sent
                                                                         Platform: Mobile

                                                                                                               3/3/2019 7:07:05 PM(UTC-5)




447900171112@s.whatsapp.net Danny Tommo

Go to Mike stursbury twitter go down
Status: Read
Platform: Mobile

                                          3/3/2019 7:07:41 PM(UTC-5)




                                                                         From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                         To: 447900171112@s.whatsapp.net Danny Tommo

                                                                         Is this it? https://youtu.be/nBsYS97PZXs

                                                                            Participant     Delivered   Read             Played
                                                                            447900171112 3/3/2019
                                                                            @s.whatsapp. 7:08:07
                                                                            net Danny    PM(UTC-5)
                                                                            Tommo


                                                                         Status: Sent
                                                                         Platform: Mobile

                                                                                                               3/3/2019 7:08:06 PM(UTC-5)




                                                                                                                                            1138
                   Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 401 of 446
                                                                                   From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                                   To: 447900171112@s.whatsapp.net Danny Tommo

                                                                                   At least they didn’t show the house or Jenna

                                                                                        Participant       Delivered          Read           Played
                                                                                        447900171112 3/3/2019
                                                                                        @s.whatsapp.n 7:09:59
                                                                                        et Danny      PM(UTC-5)
                                                                                        Tommo


                                                                                   Status: Sent
                                                                                   Platform: Mobile

                                                                                                                                    3/3/2019 7:09:57 PM(UTC-5)




                                                                     From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                     To: 447900171112@s.whatsapp.net Danny Tommo

                                                                     How can we get at this guy without tommy getting in trouble

                                                                          Participant             Delivered           Read                Played
                                                                          447900171112@s. 3/3/2019 7:11:31
                                                                          whatsapp.net    PM(UTC-5)
                                                                          Danny Tommo


                                                                    Status: Sent
                                                                    Platform: Mobile

                                                                                                                                    3/3/2019 7:11:30 PM(UTC-5)




447900171112@s.whatsapp.net Danny Tommo
Attachments:




 Size: 48115
 File name: 27e0e323-f418-424e-bbbb-7e92585ca161.mp4
 Path: https://mmg-fna.whatsapp.net/d/f/At-
 39WVLyOm_7AgBren1FqDyzrupZSlwPH5u-en0i0aT.enc
 27e0e323-f418-424e-bbbb-7e92585ca161.mp4

Status: Read
Platform: Mobile

                                             3/4/2019 3:43:59 AM(UTC-5)




System Message System Message

Missed Voice Call
Platform: Mobile

                                             3/4/2019 4:40:16 AM(UTC-5)




System Message System Message

Missed Voice Call
Platform: Mobile

                                             3/4/2019 5:16:08 AM(UTC-5)




447900171112@s.whatsapp.net Danny Tommo

https://youtu.be/D1TnBGEGCdc
Status: Read
Platform: Mobile

                                             3/4/2019 5:46:01 AM(UTC-5)




                                                                                                                                                                 1139
                   Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 402 of 446
                                                         From: 12159102154@s.whatsapp.net Lisa (owner)
                                                         To: 447900171112@s.whatsapp.net Danny Tommo

                                                         https://www.theguardian.com/world/2019/mar/03/new-ukip-members-shifting-party-
                                                         far-right
                                                         Attachments:




                                                          Title: Revealed: Ukip membership surge shifts party to far right
                                                          Size: 5357
                                                          File name: fc0e634e-ee9b-4123-9b4a-caa95e675b1b.thumb
                                                          fc0e634e-ee9b-4123-9b4a-caa95e675b1b.thumb


                                                            Participant                    Delivered                         Read                 Played
                                                            447900171112@s.wha 3/4/2019 6:01:45
                                                            tsapp.net Danny    AM(UTC-5)
                                                            Tommo


                                                         Status: Sent
                                                         Platform: Mobile

                                                                                                                                                3/4/2019 6:01:42 AM(UTC-5)




                                                                                                 From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                                                 To: 447900171112@s.whatsapp.net Danny Tommo

                                                                                                 Tell Nigel and Raheem to suck it.

                                                                                                    Participant              Delivered   Read              Played
                                                                                                    447900171112 3/4/2019
                                                                                                    @s.whatsapp. 6:01:58
                                                                                                    net Danny    AM(UTC-5)
                                                                                                    Tommo


                                                                                                Status: Sent
                                                                                                Platform: Mobile

                                                                                                                                                3/4/2019 6:01:56 AM(UTC-5)




                                                               From: 12159102154@s.whatsapp.net Lisa (owner)
                                                               To: 447900171112@s.whatsapp.net Danny Tommo

                                                               Ask tommy if he did a podcast with Delingpole or if it was just an interview

                                                                   Participant                  Delivered                       Read               Played
                                                                   447900171112@s.wh 3/4/2019 6:27:46
                                                                   atsapp.net Danny  AM(UTC-5)
                                                                   Tommo


                                                              Status: Sent
                                                              Platform: Mobile

                                                                                                                                                3/4/2019 6:27:45 AM(UTC-5)




447900171112@s.whatsapp.net Danny Tommo
Attachments:




 Size: 21254
 File name: 08a769ac-9156-4900-89b1-17b730ecdd13.opus
 Path: https://mmg.whatsapp.net/d/f/Ak_MMHEsdQkzKh2Hr07p0NRtRWIfJcG2os5h-U-
 E-wEl.enc
 08a769ac-9156-4900-89b1-17b730ecdd13.opus

Platform: Mobile

                                            3/4/2019 6:31:20 AM(UTC-5)




                                                                                                                                                                             1140
Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 403 of 446
                                                              From: 12159102154@s.whatsapp.net Lisa (owner)
                                                              To: 447900171112@s.whatsapp.net Danny Tommo
                                                              Attachments:




                                                               Size: 143083
                                                               File name: c0e354eb-b116-481f-b5c4-5e95f2f7d37b.jpg
                                                               Path: https://mmg-fna.whatsapp.net/d/f/ApnIkOKQivO2yh1ovaJeRgeTGB-
                                                               ai6o6j2QkmH8rwCbK.enc
                                                               c0e354eb-b116-481f-b5c4-5e95f2f7d37b.jpg


                                                                 Participant        Delivered         Read                Played
                                                                 447900171112 3/4/2019                3/4/2019
                                                                 @s.whatsapp. 2:13:42                 2:21:30
                                                                 net Danny    PM(UTC-5)               PM(UTC-5)
                                                                 Tommo


                                                              Status: Sent
                                                              Platform: Mobile

                                                                                                             3/4/2019 1:38:00 PM(UTC-5)




                From: 12159102154@s.whatsapp.net Lisa (owner)
                To: 447900171112@s.whatsapp.net Danny Tommo

                The lawyer was in today and we have an Israeli looking into hacking your data. He can
                apparently pull from inactive accounts.

                   Participant                    Delivered                      Read                         Played
                   447900171112@s.whats 3/4/2019 2:13:42                         3/4/2019 2:21:30
                   app.net Danny Tommo PM(UTC-5)                                 PM(UTC-5)


                Status: Sent
                Platform: Mobile

                                                                                                             3/4/2019 1:38:12 PM(UTC-5)




                                                              From: 12159102154@s.whatsapp.net Lisa (owner)
                                                              To: 447900171112@s.whatsapp.net Danny Tommo

                                                               You deleted this message

                                                                 Participant        Delivered         Read                Played
                                                                 447900171112 3/4/2019
                                                                 @s.whatsapp. 2:13:42
                                                                 net Danny    PM(UTC-5)
                                                                 Tommo


                                                              Status: Sent
                                                              Platform: Mobile

                                                                                                             3/4/2019 1:38:12 PM(UTC-5)




                               From: 12159102154@s.whatsapp.net Lisa (owner)
                               To: 447900171112@s.whatsapp.net Danny Tommo

                               We have a little issue. But let’s ask shillman directly before you go to Jones.

                                  Participant             Delivered                     Read                     Played
                                  447900171112@s.wh 3/4/2019 2:13:42                    3/4/2019 2:21:30
                                  atsapp.net Danny  PM(UTC-5)                           PM(UTC-5)
                                  Tommo


                               Status: Sent
                               Platform: Mobile

                                                                                                             3/4/2019 1:38:49 PM(UTC-5)




                                                                                                                                          1141
                   Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 404 of 446
447900171112@s.whatsapp.net Danny Tommo
Attachments:




 Size: 48190
 File name: 40572d77-9459-46d5-a549-fd54b7b45fff.opus
 Path: https://mmg.whatsapp.net/d/f/ApEMu1JeKVzGAzBNiodaFcC-
 30HYqkWzPGI03ywyifi2.enc
 40572d77-9459-46d5-a549-fd54b7b45fff.opus

Platform: Mobile

                                             3/4/2019 2:30:47 PM(UTC-5)




                                                   From: 12159102154@s.whatsapp.net Lisa (owner)
                                                   To: 447900171112@s.whatsapp.net Danny Tommo

                                                   It’s a demo no. Legal fund yes. However we can go to shillman first directly before tommy
                                                   goes to jones.

                                                      Participant            Delivered                Read                     Played
                                                      447900171112@s.whats 3/4/2019 3:14:08           3/4/2019 3:14:39
                                                      app.net Danny Tommo PM(UTC-5)                   PM(UTC-5)


                                                  Status: Sent
                                                  Platform: Mobile

                                                                                                                             3/4/2019 2:59:49 PM(UTC-5)




                                                                       From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                       To: 447900171112@s.whatsapp.net Danny Tommo

                                                                       I have a plan. I’m just need tommy to speak with me first.

                                                                          Participant         Delivered          Read               Played
                                                                          447900171112@s. 3/4/2019 3:14:09       3/4/2019 3:14:39
                                                                          whatsapp.net    PM(UTC-5)              PM(UTC-5)
                                                                          Danny Tommo


                                                                      Status: Sent
                                                                      Platform: Mobile

                                                                                                                             3/4/2019 3:00:17 PM(UTC-5)




                                                 From: 12159102154@s.whatsapp.net Lisa (owner)
                                                 To: 447900171112@s.whatsapp.net Danny Tommo

                                                 I sent tommy shillmans contact info. He can either call him and thank him for his previous
                                                 support and talk about what happened with the censorship and his plans or I can write an
                                                 email and send it out for him

                                                    Participant             Delivered                 Read                    Played
                                                    447900171112@s.whats                              3/4/2019 3:15:41
                                                    app.net Danny Tommo                               PM(UTC-5)


                                                 Status: Sent
                                                 Platform: Mobile

                                                                                                                             3/4/2019 3:15:39 PM(UTC-5)




                                                                                                                                                          1142
                   Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 405 of 446
                                                                      From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                      To: 447900171112@s.whatsapp.net Danny Tommo

                                                                      We have a hacker trying to get his data from FB as a work around

                                                                         Participant             Delivered              Read                  Played
                                                                         447900171112@s.                                3/4/2019 3:16:10
                                                                         whatsapp.net                                   PM(UTC-5)
                                                                         Danny Tommo


                                                                      Status: Sent
                                                                      Platform: Mobile

                                                                                                                                         3/4/2019 3:16:08 PM(UTC-5)




447900171112@s.whatsapp.net Danny Tommo
Attachments:




 Size: 160576
 File name: 89de2771-4ca4-4104-a933-c403370716ba.opus
 Path:
 https://mmg.whatsapp.net/d/f/AhstvUOFir13h8Z60gUdjL0KVhin9fX_2KRZ7Wj96qWR.
 enc
 89de2771-4ca4-4104-a933-c403370716ba.opus

Platform: Mobile

                                             3/4/2019 3:16:35 PM(UTC-5)




                                                                                            From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                                            To: 447900171112@s.whatsapp.net Danny Tommo

                                                                                            Just ring me.

                                                                                               Participant        Delivered       Read             Played
                                                                                               447900171112 3/4/2019              3/4/2019
                                                                                               @s.whatsapp. 3:18:02               3:34:12
                                                                                               net Danny    PM(UTC-5)             PM(UTC-5)
                                                                                               Tommo


                                                                                            Status: Sent
                                                                                            Platform: Mobile

                                                                                                                                         3/4/2019 3:17:59 PM(UTC-5)




                                                From: 12159102154@s.whatsapp.net Lisa (owner)
                                                To: 447900171112@s.whatsapp.net Danny Tommo

                                                Apparently you can’t just download it when the account is deactivated. Can you try your
                                                hand at it on your old account?

                                                    Participant                 Delivered                      Read                       Played
                                                    447900171112@s.whats 3/4/2019 3:18:51                      3/4/2019 3:34:12
                                                    app.net Danny Tommo PM(UTC-5)                              PM(UTC-5)


                                                Status: Sent
                                                Platform: Mobile

                                                                                                                                         3/4/2019 3:18:50 PM(UTC-5)




                                                                                                                                                                      1143
                   Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 406 of 446
                                                       From: 12159102154@s.whatsapp.net Lisa (owner)
                                                       To: 447900171112@s.whatsapp.net Danny Tommo

                                                       I emailed the Facebook congressional liaison a day ago requesting the data and no
                                                       response yet

                                                             Participant          Delivered               Read                        Played
                                                             447900171112@s.what 3/4/2019 3:19:24         3/4/2019 3:34:12
                                                             sapp.net Danny      PM(UTC-5)                PM(UTC-5)
                                                             Tommo


                                                      Status: Sent
                                                      Platform: Mobile

                                                                                                                                    3/4/2019 3:19:22 PM(UTC-5)




                                                                                       From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                                       To: 447900171112@s.whatsapp.net Danny Tommo

                                                                                       Spoke to tommy

                                                                                          Participant     Delivered          Read              Played
                                                                                          447900171112                       3/4/2019
                                                                                          @s.whatsapp.                       3:34:12
                                                                                          net Danny                          PM(UTC-5)
                                                                                          Tommo


                                                                                       Status: Sent
                                                                                       Platform: Mobile

                                                                                                                                    3/4/2019 3:28:53 PM(UTC-5)




447900171112@s.whatsapp.net Danny Tommo
Attachments:




 Size: 54555
 File name: 66509602-65b0-4222-aace-47c6dc19804a.opus
 Path: https://mmg.whatsapp.net/d/f/Ap3OmPSGuOXI1CP4zzeLY-
 6eUxK4IebXm6VQ0FZjxgLe.enc
 66509602-65b0-4222-aace-47c6dc19804a.opus

Platform: Mobile

                                             3/4/2019 3:34:55 PM(UTC-5)




                                                                                       From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                                       To: 447900171112@s.whatsapp.net Danny Tommo

                                                                                       Can you look at it

                                                                                          Participant     Delivered          Read              Played
                                                                                          447900171112 3/4/2019              3/4/2019
                                                                                          @s.whatsapp. 3:35:37               6:01:14
                                                                                          net Danny    PM(UTC-5)             PM(UTC-5)
                                                                                          Tommo


                                                                                       Status: Sent
                                                                                       Platform: Mobile

                                                                                                                                    3/4/2019 3:35:36 PM(UTC-5)




                                                                                                                                                                 1144
Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 407 of 446
                                     From: 12159102154@s.whatsapp.net Lisa (owner)
                                     To: 447900171112@s.whatsapp.net Danny Tommo
                                     Attachments:




                                      Size: 9870
                                      File name: 77ea8931-c6b4-4d19-8345-d2aa02f19655.opus
                                      Path:
                                      https://mmg.whatsapp.net/d/f/Aql9J6D66AtxuFcY1itkPP_LAHnvUTv1BgyWBn4N-
                                      Di7.enc
                                      77ea8931-c6b4-4d19-8345-d2aa02f19655.opus


                                        Participant       Delivered         Read              Played
                                        447900171112 3/4/2019               3/4/2019
                                        @s.whatsapp. 3:36:34                6:01:14
                                        net Danny    PM(UTC-5)              PM(UTC-5)
                                        Tommo


                                     Status: Sent
                                     Platform: Mobile

                                                                                   3/4/2019 3:36:30 PM(UTC-5)




                                     From: 12159102154@s.whatsapp.net Lisa (owner)
                                     To: 447900171112@s.whatsapp.net Danny Tommo
                                     Attachments:




                                      Size: 15852
                                      File name: 36343e6b-6ba2-43b2-bdc0-f409c38a90df.opus
                                      Path:
                                      https://mmg.whatsapp.net/d/f/AgStJkrvIy5pcR1UhPPeR81SzKdogJtjdiGqmwcuseBk.e
                                      nc
                                      36343e6b-6ba2-43b2-bdc0-f409c38a90df.opus


                                        Participant       Delivered         Read              Played
                                        447900171112 3/4/2019               3/4/2019
                                        @s.whatsapp. 3:36:40                6:01:14
                                        net Danny    PM(UTC-5)              PM(UTC-5)
                                        Tommo


                                     Status: Sent
                                     Platform: Mobile

                                                                                   3/4/2019 3:36:39 PM(UTC-5)




                                     From: 12159102154@s.whatsapp.net Lisa (owner)
                                     To: 447900171112@s.whatsapp.net Danny Tommo

                                     I asked tommy to give you his login info

                                        Participant       Delivered         Read              Played
                                        447900171112 3/4/2019               3/4/2019
                                        @s.whatsapp. 3:52:30                6:01:14
                                        net Danny    PM(UTC-5)              PM(UTC-5)
                                        Tommo


                                     Status: Sent
                                     Platform: Mobile

                                                                                   3/4/2019 3:52:29 PM(UTC-5)




                                                                                                                    1145
                   Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 408 of 446
                                                                             From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                             To: 447900171112@s.whatsapp.net Danny Tommo

                                                                             Make sure you ask tommy for the passwords.

                                                                                   Participant    Delivered         Read              Played
                                                                                   447900171112 3/5/2019            3/5/2019
                                                                                   @s.whatsapp.n 10:59:22           11:07:16
                                                                                   et Danny      AM(UTC-5)          AM(UTC-5)
                                                                                   Tommo


                                                                             Status: Sent
                                                                             Platform: Mobile

                                                                                                                           3/5/2019 10:59:21 AM(UTC-5)




                                    From: 12159102154@s.whatsapp.net Lisa (owner)
                                    To: 447900171112@s.whatsapp.net Danny Tommo

                                    Again I just sent a message to tommy about the password to his FB so you can try and get
                                    the data. The lawyers need it ASAP. I know he has a lot going on but you need to stay on
                                    him too!

                                       Participant                    Delivered                  Read                        Played
                                       447900171112@s.whats 3/5/2019 1:30:26                     3/5/2019 1:30:30
                                       app.net Danny Tommo PM(UTC-5)                             PM(UTC-5)


                                    Status: Sent
                                    Platform: Mobile

                                                                                                                            3/5/2019 1:30:24 PM(UTC-5)




447900171112@s.whatsapp.net Danny Tommo

I'll message him now
Status: Read
Platform: Mobile

                                 3/5/2019 1:30:52 PM(UTC-5)




                                                   From: 12159102154@s.whatsapp.net Lisa (owner)
                                                   To: 447900171112@s.whatsapp.net Danny Tommo

                                                   Fb
                                                   stephenyaxlennon@btinternet.com
                                                   jenna271182

                                                   See if you can pull anything

                                                       Participant                Delivered             Read                   Played
                                                       447900171112@s.wh 3/5/2019 2:39:46               3/5/2019 3:31:30
                                                       atsapp.net Danny  PM(UTC-5)                      PM(UTC-5)
                                                       Tommo


                                                   Status: Sent
                                                   Platform: Mobile

                                                                                                                            3/5/2019 2:39:44 PM(UTC-5)




447900171112@s.whatsapp.net Danny Tommo

OK brilliant
Status: Read
Platform: Mobile

                                 3/5/2019 3:31:38 PM(UTC-5)




                                                                                                                                                         1146
                   Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 409 of 446
                                                                           From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                           To: 447900171112@s.whatsapp.net Danny Tommo

                                                                           Since you take for fucking ever. I tried and can’t get shit

                                                                                 Participant             Delivered            Read                Played
                                                                                 447900171112@s. 3/5/2019 3:31:43             3/5/2019 3:37:16
                                                                                 whatsapp.net    PM(UTC-5)                    PM(UTC-5)
                                                                                 Danny Tommo


                                                                           Status: Sent
                                                                           Platform: Mobile

                                                                                                                                            3/5/2019 3:31:42 PM(UTC-5)




447900171112@s.whatsapp.net Danny Tommo

OK I'll have a go when I get to Luton just driving
Status: Read
Platform: Mobile

                                                        3/5/2019 3:37:30 PM(UTC-5)




447900171112@s.whatsapp.net Danny Tommo
Attachments:




 Size: 25113
 File name: 170fc73a-50f4-4f0c-a215-b4e71cf48a73.opus
 Path:
 https://mmg.whatsapp.net/d/f/Apxsl4k5VCVcl0i937T84beqdzl8wvKs4ZspvyqvTvhJ.enc
 170fc73a-50f4-4f0c-a215-b4e71cf48a73.opus

Platform: Mobile

                                              3/5/2019 5:43:06 PM(UTC-5)




                                                                                          From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                                          To: 447900171112@s.whatsapp.net Danny Tommo

                                                                                          I have the best way to make sure that Happens.

                                                                                               Participant      Delivered            Read           Played
                                                                                               447900171112 3/5/2019 5:48:05 3/6/2019 6:49:17
                                                                                               @s.whatsapp.ne PM(UTC-5)      AM(UTC-5)
                                                                                               t Danny Tommo


                                                                                          Status: Sent
                                                                                          Platform: Mobile

                                                                                                                                            3/5/2019 5:48:04 PM(UTC-5)




                                                                     From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                     To: 447900171112@s.whatsapp.net Danny Tommo

                                                                     This will be the absolute last time you make me look like an asshole.

                                                                        Participant                 Delivered               Read                 Played
                                                                        447900171112@s.w 3/5/2019 5:49:59                   3/6/2019 6:49:17
                                                                        hatsapp.net Danny PM(UTC-5)                         AM(UTC-5)
                                                                        Tommo


                                                                     Status: Sent
                                                                     Platform: Mobile

                                                                                                                                            3/5/2019 5:49:57 PM(UTC-5)




                                                                                                                                                                         1147
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                                       From: 12159102154@s.whatsapp.net Lisa (owner)
                                       To: 447900171112@s.whatsapp.net Danny Tommo

                                       There is only so much one person can take and I’m about to snap.

                                          Participant                Delivered              Read                   Played
                                          447900171112@s.            3/5/2019 5:55:32       3/6/2019 6:49:17
                                          whatsapp.net               PM(UTC-5)              AM(UTC-5)
                                          Danny Tommo


                                       Status: Sent
                                       Platform: Mobile

                                                                                                              3/5/2019 5:55:31 PM(UTC-5)




                                                                From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                To: 447900171112@s.whatsapp.net Danny Tommo

                                                                WhatsApp Chat - Jaz Bishop
                                                                Attachments:




                                                                 Size: 856788
                                                                 File name: 8a3c5b09-2d00-4097-a10e-b8da2c694d0f.zip
                                                                 Path: https://mmg-
                                                                 fna.whatsapp.net/d/f/AjVZKZbVvao6WmxbwBOSx7bplpinG6QQ5cfennybu4qy.enc
                                                                 8a3c5b09-2d00-4097-a10e-b8da2c694d0f.zip


                                                                   Participant       Delivered         Read             Played
                                                                   447900171112 3/6/2019               3/6/2019
                                                                   @s.whatsapp. 3:46:09                6:49:17
                                                                   net Danny    AM(UTC-5)              AM(UTC-5)
                                                                   Tommo


                                                                Status: Sent
                                                                Platform: Mobile

                                                                                                              3/5/2019 9:26:01 PM(UTC-5)




                                 From: 12159102154@s.whatsapp.net Lisa (owner)
                                 To: 447900171112@s.whatsapp.net Danny Tommo

                                 There is our whole conversation I couldn’t have been better to her or you.

                                    Participant                 Delivered                 Read                    Played
                                    447900171112@s.w            3/6/2019 3:46:09          3/6/2019 6:49:17
                                    hatsapp.net Danny           AM(UTC-5)                 AM(UTC-5)
                                    Tommo


                                 Status: Sent
                                 Platform: Mobile

                                                                                                              3/5/2019 9:26:59 PM(UTC-5)




                From: 12159102154@s.whatsapp.net Lisa (owner)
                To: 447900171112@s.whatsapp.net Danny Tommo

                I hate to bother you but you’re the only one with the truck Did I leave a bag in there with my
                make up can you please check

                   Participant                      Delivered                      Read                        Played
                   447900171112@s.whats 4/30/2019 4:10:08                          4/30/2019 4:30:37
                   app.net Danny Tommo PM(UTC-4)                                   PM(UTC-4)


                Status: Sent
                Platform: Mobile

                                                                                                             4/30/2019 4:10:06 PM(UTC-4)




                                                                                                                                           1148
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                                                                          From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                          To: 447900171112@s.whatsapp.net Danny Tommo

                                                                          Who has the van?!

                                                                             Participant        Delivered       Read             Played
                                                                             447900171112 4/30/2019             4/30/2019
                                                                             @s.whatsapp. 4:16:12               4:30:37
                                                                             net Danny    PM(UTC-4)             PM(UTC-4)
                                                                             Tommo


                                                                          Status: Sent
                                                                          Platform: Mobile

                                                                                                                   4/30/2019 4:16:11 PM(UTC-4)




                                                                          From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                          To: 447900171112@s.whatsapp.net Danny Tommo

                                                                          I need my makeup and deodorant

                                                                             Participant        Delivered       Read             Played
                                                                             447900171112 4/30/2019             4/30/2019
                                                                             @s.whatsapp. 4:16:19               4:30:37
                                                                             net Danny    PM(UTC-4)             PM(UTC-4)
                                                                             Tommo


                                                                          Status: Sent
                                                                          Platform: Mobile

                                                                                                                   4/30/2019 4:16:18 PM(UTC-4)




                                    From: 12159102154@s.whatsapp.net Lisa (owner)
                                    To: 447900171112@s.whatsapp.net Danny Tommo

                                    This shit has to stop. You are making it uncomfortable for everyone. I didn’t tell Jaz you
                                    messaged me on Twitter when she asked because I don’t want anymore drama. Ffs I’m at
                                    my limit. I’m well over it although I don’t appreciate you going around telling everyone that I
                                    was obsessed with you because I wasn’t. I just always wanted to help you and I didn’t do
                                    anything wrong. I thought we were going to put all of this behind us. It’s not fair to Tommy.

                                    Seriously. I don’t have any hard feelings.

                                      Participant             Delivered                      Read                       Played
                                      447900171112@s.whats 5/1/2019 5:19:30                  5/1/2019 5:23:34
                                      app.net Danny Tommo PM(UTC-4)                          PM(UTC-4)


                                   Status: Sent
                                   Platform: Mobile

                                                                                                                       5/1/2019 4:42:52 PM(UTC-4)




System Message System Message

Missed Voice Call
Platform: Mobile

                                 5/3/2019 7:52:33 PM(UTC-4)




System Message System Message

Missed Voice Call
Platform: Mobile

                                 5/3/2019 7:55:30 PM(UTC-4)




System Message System Message

Missed Voice Call
Platform: Mobile

                                 5/3/2019 8:01:21 PM(UTC-4)



                                                                                                                                                    1149
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       EXHIBIT 105
      Messages between
       Plaintiff and J.
           Bishop
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Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 417 of 446
Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 418 of 446
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     EXHIBIT 106
    Messages between
     Plaintiff and T.
       Robinson.
               Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 426 of 446



Also Katie Hopkins was also looking to do a speaking tour for 2020. She mentioned your name. MEF wants to do an event when you are here and the
Bridget Gabriel thing soundsvery interesting. Let's make this happen.
Check your email. Big donor and friends with Hilary till another huge donor sent &message to our legal team.
MEF is looking to take Facebook to court on your behalf. Thoughts? I'll forward you t he emails. Let me know what you think.
I sent the message to Daniel about the legal fund. I will stay on that and the visa stuff. But after all of that I'm going to walk away from all of this. I recently
found out some potentially messy things that have to deal with demos MEF and I need to back away until I figure it all out. And If I tell MEF which I think
I'm obligated to it's not good. Plus I have jaz harassing me. I'm out.
No. I'm sure you know about the jaz and danny shit. I knew money didn't add up after the first derno but it looks like he kept 7k for himself. It MEF finds
out I knew and didn't tell them I'm fucked. III tell them it's not good for you and future money. It's all so messy. And I don't know what to do.
So MEF gave him 30,000 for the demo. The last one didn't cost that much and look at the difference. He isgoing to have to get reciepts and bank
statements.
Looks like you have the green light for MEF legal support. Ezra also got my friend will to cover the event. Amy wants to come to cover it too. Let me know
what you need from MEF. you want to put us in contact with your legal team or send avant for hinds. I'm meeting with Daniel today at 4
MEF and DP can always get you in
FYI. For now because of Gregg I'm keeping it quite from MEF.
5 women here including me are suing MEF
It's hard because sometimes I like Daniel I think he such a great guy and I do love MEF'swork and all. The Greg is manipulating Daniel and is trying to get all
of us out. So we have to protect ourselves

Schedule for tomorrow:

2:00pm your time
DANN Wilack
Skype-. Skype: oandc bureau

3:10pm Radio with MEF
I will call you and conference you in.

3:45 huge radio show. Trump listens. I'll send you info.

4:30 a bigger radio show. Waiting to confirm.

And then I'll leave you alone.
us should be MEFF stuff.
Put in the search bar Tommy robinson. Don't hit an account. Anybody that's mentioned him will show up and look under latest not top
And I didn't know about the money that he took from MEF until you told me. It was always in the back of my mind because it didn't add up and the whole
vmney and you thing but he said you were crazy and would do anything to destroy him and I wanted to believe him. Now that I know I'm obligated to tell
my work. What do I do? That's theft.
That's 7 thousand dollars he stole from MEF and Tommy.
But not that he got it from the MEF money.
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   EXHIBIT 107
   Message from
Plaintiff to D. Pipes
             Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 428 of 446
From: Lisa Barbounis <barbounis@meforum.org>
Sent: Thursday, May 16, 2019 5:02 AM EDT
To: Daniel Pipes <pipes@meforum.org>; Gregg Roman <Roman@meforum.org>
Subject: Fwd: Guardian enquiry re Tommy Robinson
Sending this to just you and Gregg.

I was on l, and requested in writing, a vacation with my family to England and Ireland. I stopped in England to see Tommy
and introduce my family to him. I went to 3 of his rallies so they could see what it was like. I am home.

As you know I do occasionally volunteer my time to help him with little things such as answering emails on TR.news and the
Press box for votetommyrobinson.com. I use my maiden name specifically to keep things separate.

Neither MEF nor Tommy paid me any money for my official family vacation. That includes travel and accommodation.
Anything I have done for Tommy is strictly on a personal volunteer basis.


     Resent-From: <Barbounis@meforum.org>
     From: Josh Halliday <josh.halliday@theguardian.com>
     Date: May 16, 2019 at 3:11:12 AM EDT
     To: Daniel Pipes <daniel.pipes@gmail.com>, Gregg Roman <Roman@meforum.org>, Lisa Barbounis
     <Barbounis@meforum.org>
     Subject: Guardian enquiry re Tommy Robinson


     Morning all,

     I'm getting in touch as we are looking to run a piece on Tommy Robinson's MEP election campaign and I am
     seeking clarification on the role of Lisa Barbounis, who has been present on the campaign trail for about two
     weeks. I would be grateful if you could help with the following:

     • What is Ms Barbounis' role on Tommy Robinson's campaign?
     • Has she provided any advice or other services to the campaign?
     • Who funded Ms Barbounis' travel and accommodation costs for her time on the campaign?
     • Has the Middle East Forum made any financial or other donation to Tommy Robinson's campaign?
     • Is the Middle East Forum still funding Tommy Robinson's legal fees in his ongoing contempt of court case?

     I would be grateful for a response by 10pm UK time (6pm EDT) today.

     Many thanks,
     Josh
     --
     Josh Halliday
     North of England correspondent
     Guardian News & Media
     -----
     josh.halliday@theguardian.com
     -----
     twitter: @joshhalliday
     ------




     Kings Place, 90 York Way,
     London N1 9GU
     theguardian.com
     -----
     Download the Guardian app for Android and iOS



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    EXHIBIT 108
    Message from
  Plaintiff to T. Giles
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                                  U.S. Operation Proposal to
                                            Terry Giles
                                     From TheRebel.Media


TheRebel.media is a fearless source of news, opinion, and activism that you won't find anywhere else!
TheRebel is different because of how our supporters participate in shaping everything we do. Through a
mix of online engagement, commenting, advocacy, and events, we don’t just report the news, we
participate in it.


In August of 2018, TheRebel crossed the million-subscriber mark on YouTube. As of December 28th, we
have 1,116,236 YouTube subscribers, which is up by 250,034 from 2017. We have more YouTube
subscribers than any other news network in Canada, including the CBC state broadcaster, though they
have recently poured millions of dollars into marketing their YouTube channel and may catch up before
2019 is over.


The Rebel has 172,000 Facebook followers and 158,000 Twitter followers, and individual Rebel
personalities have over 1 million followers on their own social media accounts. The total number of
people who have interacted with The Rebel — whether through our social media or through our petitions
— is 3,467,182 and growing daily. If Rebel fans were a Canadian province, it would be bigger than
Manitoba, Saskatchewan, and Nova Scotia — combined!


However, almost half of the viewers of the Rebel’s videos are American, even though we’re based in
Canada. And that’s without really trying — one of our strategic decisions when we launched in 2015 was
to stay out of the U.S. market.


But here we are in 2019, and other than Fox News on cable — which is aimed at older viewers, mainly
watching on their TV sets — there really isn’t a conservative video presence in the U.S. online. The Blaze
and CRTV are mainly behind a paywall; the Daily Caller has invested in video, but they haven’t yet found
their stride; and Breitbart has practically ignored the medium. Infowars was entertaining but was too far
out there for many conservatives — and they’ve been largely de-platformed.
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With a bit of effort, and some careful talent recruitment, we could easily ramp up our U.S. presence, while
taking advantage of our existing infrastructure, which is mainly located in low-cost Canada (e.g. we pay
many of our costs in 75¢ dollars).


TheRebel.media seeks $1 million to expand our operation in the U.S. We believe that our successful
model will continue its success in the U.S. and has the potential to make an impact in the political battles
of 2019 and 2020.


With a starting operating budget of $1 million TheRebel would:


    •    Invest in U.S. editorial talent
             o   A Washington, D.C. reporter, covering politics.
                         Potential talent: Pardes Seleh
             o   A southern California-based reporter, ideally with some Spanish language facility, to
                 cover immigration and the wall, including lots of on-the-ground reporting from either side
                 of the border.
             o   For example, a Spanish speaker would have been ideal for this project.
                         www.CaravanReports.com
                         Ryan Saavedra of Daily Wire
             o   A Silicon Valley-based reporter focused on tech, censorship, privacy and online political
                 bias.
                         Ideal choice would be Allum Bokhari, who currently writes for Breitbart (and is a
                          regular guest on our channel).
             o   A political reporter, perhaps New York City, to cover the shift in the Democratic Party
                         The rise of hard-left personalities
                         Alexandria Ocasio-Cortez
                         The 2020 contenders
                         How the election of Ilhan Omar in Minnesota and Rashida Tlaib of Michigan mark
                          the end of the “golden age” for Jews in the Democrats, and how that party is
                          moving away from Israel (and towards outright anti-Semitism) like the UK Labour
                          Party. Canada is a case study in how Jews ended fifty years of voting/donating
                          liberal, when the conservative party embraced Israel and the left renounced it —
                          not only is this important but also very politically fruitful.
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         o   Possibly: an L.A.-based political humorist, in the style of Gavin McInnes, rebutting cultural
             memes that are churned out by the left
                     https://www.youtube.com/watch?v=Vg_GrEEcS4k


         o   Possibly: a full-time meme-creator (e.g. shareable Facebook, Instagram and Twitter
             memes, both still and video)


         o   At least one U.S.-based assignment editor to manage the U.S. talent, likely based in L.A.
             or Washington


     Cost estimate: talent here is nearly $500K/year, plus there would be expenses (including
     occasional freelance cameramen and some equipment).


•    Other U.S. expansion positions
         o   PR manager — someone who would pitch our U.S. talent as guests on mainstream TV
             and radio talk shows, to talk about their Rebel stories
         o   Possibly the same position: coalitions manager — someone who would push out stories
             to interested conservative NGOs, politicians, activists, to encourage organic sharing “by
             tribe”


         o   U.S. campaigns manager — someone who would work with editorial talent on “social
             commerce” projects, like booking billboards, commissioning opinion polls, etc.


         o   Donor development/grant application — someone who would promote the Rebel to U.S.-
             based foundations and high-value donors, as well as manage any affinity or loyalty
             programs (using NationBuilder data)


         o   Legal/compliance — possible position, or budget for contractor lawyers for tax and
             election compliance, including possible 501(c)3 or 527 SuperPAC structures


     Cost estimate: $350K


•    Talent recruitment
         o   Always look for new talent; we believe in non-journalists.
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            o    Internship manager — on the lookout for young talent, especially from campus activists


            o    Annual student video journalism conference and gala awards night — I’ve done
                 something like this before: www.JosephHoweInstitute.ca


        Cost Estimate: $150K


That’s $1 million. It would be partly offset by YouTube ads (perhaps $100,000/year), and hopefully
election- and media-focused donors could support much of the rest. Our constant social commerce
crowdfunding could work in the U.S., though that would take time to ramp up. But there is no reason why
a strong U.S. team couldn’t pay for itself in a year.


With any additional funding we will set aside a budget for online ads, based on what our detailed analytics
suggest are our strengths. That could require a manager and we would consider a full-time e-mail writer
to promote social commerce.


We would replicate the Rebel’s already successful business model which is outlined below.


How TheRebel.media Crowdfunds


Unlike most Canadian media, The Rebel is an
independent start-up that receives no government
funds whatsoever. It relies on a crowdfunding model,
where thousands of ordinary people support it through
small contributions. No single donor has given more
than 2% of the Rebel’s funds. The average gift is $63.


The Rebel does two types of crowdfunding:
crowdfunding for its own business operations and
campaigns, and crowdfunding for external charities.


Internal crowdfunding includes annual capital
campaigns, equipment, studios, apps and general
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support. It also covers specific projects, like public interest legal work, political issue campaigns, and
journalistic travel. It also supports the hiring of journalistic staff, including student interns.


In the past fiscal year, the Rebel has crowdfunded $2.245 million for these business operations, which
nearly covers the $2.830 million in expenses associated with
those costs. Rebel's crowdfunding terms of service direct that if a
particular project is oversubscribed, funds may be put towards the
overhead associated with that project, or to similar projects. We
call this process "social commerce"; others call it "pay it forward".
It's how the Rebel pays the bills.


In addition to crowdfunding its own business operations, the Rebel
also crowdfunds for selected bona fide charities. This is done on
third-party crowdfunding websites like Indiegogo and
Generosity.com for maximum transparency. 100% of the net
proceeds from these third-party sites is passed on to the recipient,
with no other Rebel expenses claimed.


In addition, in 2018 we crowdfunded the legal fees for Tommy
Robinson’s successful judicial appeal in the UK. For reasons of solicitor-client privilege, we will not
disclose the amount of those funds, but they have been disbursed as per the terms outlined in this video.
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  EXHIBIT 109
Memo from Plaintiff
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                             MIDDLE EAST FORUM

                                     MEMORANDUM


TO:            Dr. Pipes, Gregg
FROM:          Lisa Barbounis
DATE:          <AUTODATE>
SUBJECT:       England trip

My main activity was meeting with the Tommy Robinson team to discuss TR future plans for his
trip to the US, his US visa, upcoming projects in the UK and subsequent court cases. I also had
time to fit in meetings with a journalist, foreign correspondent, and a potential donor.
Tommy Robinson
The meeting took place at the Four Seasons Hotel in London from 3:00pm until 7:30pm.
       Present in the meeting:
       Tommy, Tommy’s two solicitors - John Carson and John Kaye
       UKIP advisor Peter Mcilvenna
       Terry Giles
       Ezra showed up toward the end of the meeting to discuss his involvement.
Terry is actively working with Senator Cruz to advance Tommy’s visa. He is mainly concerned
with bringing Tommy and his family to Houston, by getting a visa; getting them into a new
house/school/life; and getting him onto the speaking circuit, including evangelical churches.
However, the current charges, although civil as opposed to criminal, still carry the potential of
jail time which impedes the visa process.
The solicitors informed us that there is an option to settle with “time served” but Tommy is
against taking that route, on principle, and wants to fight the charges. We all agreed that to get
the outstanding charges from hanging over Tommy’s head and to advance our collective plans
for him in the US he should try to settle. Tommy seemed reluctant but said he would think it
over.
On May 3rd there will be a hearing to see if the Attorney General’s decision to proceed to trial
will be accepted by the courts. Carson said that any other case would be thrown out at this stage
but because it is “Tommy” they anticipate it proceeding to trial.
Terry asked to be an official advisor on the case, and they granted him access to the entire file so
that he may report back to Homeland Security.
We briefly spoke about a potential Facebook suit. Tommy had new information about how to
get around Facebook censorship. Because of the conflict in Northern Ireland discriminating
against political beliefs is illegal. He plans to open some type of operation – TR.news Northern
Ireland and reopen a Facebook page once that is complete. If he gets banned again at that point,
he can also take advantage of Ireland’s discrimination laws.
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Terry Giles


[Background on Terry Giles - https://www.texastribune.org/2015/01/22/ben-carsons-campaign-
chairman-has-colorful-career/]
Although his specific interest is getting Tommy Robinson to America his general interest is in
ringing the alarm about radical Islam (and having Tommy as a voice in America to do that).
Peter Mcilvenna says that Mr. Giles was concerned about the larger issue of Islam before he met
Tommy; so, he is obviously not just 100% Tommy focused. That could mean he’s interested in
supporting MEF in general.
I spent an hour with Mr. Giles and UKIP advisor Peter Mcilvenna. Peter and I have now met
several times before during UKIP meetings. He was the person who introduced Mr. Giles to
Tommy.
Giles was very interested in my educational/career background and relationship to Tommy. I
spent about 30 minutes telling him about MEF and our projects, staff and fellows. He said that he
thinks Tommy could have a big impact in the US in warning citizens about the threats of Islam.
He said he is worried that should Tommy gain more notoriety that “his personality may change”.
I said that I didn’t think that would be the case to which he oddly replied, “I saw it happen with
Ben Carson.”
He said he was impressed with me and the work of MEF and that if Tommy does make it to
America, he hopes that I would head up Tommy’s team here to insure others don’t use Tommy
and he doesn’t lose his authenticity.
He sent me a follow up email thanking me.
       “It was a pleasure meeting you in person last Friday. Thank you for all you are doing for
       Tommy and his family. He clearly holds you in high regard.”
The next time we do an event in Texas he should absolutely be invited.


Matt Bradley
Matt Bradley is a foreign correspondent for Matt Bradley of MSNBC and NBC News in London.
We met for coffee in London.
Bradley has previously quoted Aymenn but was less familiar with MEF. I went over all our
projects, fellows and Dr. Pipes. He was most impressed with Pipes and said he would be
interested in quoting him in his work. We said that we would keep in touch and he would reach
out if he needed a quote or information and I should pass along anything that I have that would
be of interest to him.


David Kirkpatrick
David is a journalist for the NY Times in London. We met for coffee. Again, I went over all our
projects, fellows and Dr. Pipes. He is very interested in our work and we agreed to keep in touch.
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       EXHIBIT 110
       Message from D.
           Pipes
              Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 440 of 446
From: Daniel Pipes <pipes@meforum.org>
Sent: Tuesday, March 26, 2019 2:25 PM EDT
To: Lisa Barbounis <Barbounis@meforum.org>
CC: Gregg Roman <Roman@meforum.org>
Subject: Re: memo on my England trip
  This message was sent from outside the company by someone with a display name matching a user in your organisation. Please do not click links or open
  attachments unless you recognise the source of this email and know the content is safe.

Thanks for the report.

It's all good with the very substantial exception of helping Tommy Robinson come to the United States, which I am very, very
much against. He has a potential leadership role in the UK - he's already advisor to the head of UKIP and I've heard talk of
his running for MEP in case Brexit does not happen - which cannot be replicated in the United States. Without riling up Mr
Giles, please do not be party to this effort and please do convey to TR my strong view that he should not quit the UK.
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   EXHIBIT 111
   Message from
Plaintiff to D. Pipes
             Case 2:19-cv-05030-JDW Document 111-3 Filed 03/02/21 Page 442 of 446
From: Lisa Barbounis <barbounis@meforum.org>
Sent: Tuesday, March 26, 2019 2:36 PM EDT
To: Daniel Pipes <pipes@meforum.org>
Subject: Re: memo on my England trip
I also advised against him coming permanently to the US. Once he realized that he couldn’t go back to the UK if he
 declared asylum he was much less interested.

I’m meant doing a speaking tour here is what I’m interested in. Not moving here permanently. I should have been more
clear.



On Mar 26, 2019, at 2:25 PM, Daniel Pipes <pipes@meforum.org> wrote:


        This message was sent from outside the company by someone with a display name matching a user in your organisation. Please do not click
        links or open attachments unless you recognise the source of this email and know the content is safe.

     Thanks for the report.

     It's all good with the very substantial exception of helping Tommy Robinson come to the United States, which I
     am very, very much against. He has a potential leadership role in the UK - he's already advisor to the head of
     UKIP and I've heard talk of his running for MEP in case Brexit does not happen - which cannot be replicated in
     the United States. Without riling up Mr Giles, please do not be party to this effort and please do convey to TR my
     strong view that he should not quit the UK.
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   EXHIBIT 112
     Plaintiff's
Correspondence with
   A. Mekelburg
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   EXHIBIT 113
 Tweet from Plaintiff
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